Case 2:24-cv-01608-WSS   Document 37-11   Filed 02/14/25   Page 1 of 132




                         Exhibit 7
    Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 2 of 132
                             10.28.24 - Larry Reid Live


·

·

· · THOMAS DEXTER JAKES

· · v.

· · DUANE YOUNGBLOOD

·

·

· · · · · · · · · · · · · · ·VIDEO RECORDING

· · · · · · · FILE NAME:· · ·Larry Reid Live YouTube Video

· · · · · · · DATE TAKEN:· · October 28, 2024

·

·

·

·

·

·

·

·

·

·

·

·

· · Transcribed By:· Sarah Albaladejo

·

·


                 U.S. Legal Support | www.uslegalsupport.com                  ·
     Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 3 of 132
                              10.28.24 - Larry Reid Live


·1· · · · · · · · · · · · INDEX TO EXAMINATION

·2

·3

·4· · · · · · · · · · · · · · · · · · · · · · · ·PAGE

·5· Proceedings· · · · · · · · · · · · · · · · · · ·3

·6· Certificate of Transcriptionist· · · · · · · ·101

·7

·8

·9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25


                  U.S. Legal Support | www.uslegalsupport.com                  2
                                                                                   YVer1f
   Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 4 of 132
                            10.28.24 - Larry Reid Live


·1· · · · · · UNIDENTIFIED SPEAKER:· Multimedia personality, comedic

·2· commentator, songwriter recording artist, spiritual leader,

·3· author and actor, Larry D. Reid is the founder of The MBN

·4· Network, owner of LDR Enterprises based out of Atlanta, Georgia

·5· and the spiritual leader of the Reformation Church of Atlanta.

·6· You can catch Larry Reid on the BET Plus original series Kingdom

·7· Business and on American Gangster Trap Queens streaming online

·8· at bet.plus.

·9· · · · · · The MBN Network is a nonprofit organization based in

10· Atlanta, Georgia.· We are a streaming radio and ministry network

11· funded by a network of partners that are professionals,

12· technicians, entrepreneurs and entertainers from around the

13· world.

14· · · · · · Become a member of Patreon today at

15· patreon.com/larryreidlive to gain access to all that The MBN

16· Network has to offer.· On Sundays, tune in for prayer, prophecy

17· and coaching call available for patreon members only.· Join in

18· on the morning meditation and prayer call open to the public

19· Monday through Friday.· On Monday evenings, catch the digital

20· entertainment news show, Larry Reid Live as Dr. Reid discusses

21· an array of topics with a raw, humorous and controversial

22· approach.· Get informed and inspired on Tier Two Tuesdays, for

23· Tier Two patron members only.· Wednesday night breakdown with

24· Dr. Reid, the virtual prophets, pastoral counselors and coaches

25· available for Tier Two patreon members only.· Participate in


                U.S. Legal Support | www.uslegalsupport.com                  3
                                                                                 YVer1f
   Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 5 of 132
                            10.28.24 - Larry Reid Live


·1· Therapy Thursdays and Financial Fridays for all tiers inside of

·2· patreon only.· Saturdays, rest and be with your family.· Become

·3· a member today by logging on to patreon.com/larryreidlive today.

·4· · · · · · MS. WATERS:· Even though he has not always been

·5· protected, he's always been a protector.

·6· · · · · · MR. REID:· Broken people saw that sigma and done what

·7· they thought they needed to do to the request that I was making.

·8· And they just chose improperly.

·9· · · · · · MR. T. REID:· He never told me nothing.· I knew

10· nothing about it.

11· · · · · · MS. PARKS:· I feel like everyone in my family in some

12· form or way has been fondled or molested or raped in some form

13· of fashion.

14· · · · · · MR. REID:· I couldn't stand how God was in me because

15· I was that.

16· · · · · · MR. BRYANT:· There was tolerated versus celebrated.

17· · · · · · MS. HUCKS:· It's a wrong way and right way to do

18· everything.· And Larry always seemed to choose the wrong way.

19· · · · · · MR. REID:· Yes, I was drugged and raped.· That

20· happened when I was 17 years old.· Misfits have an ability to

21· stick out.· But if the misfit accept that they absolutely cannot

22· fit in, then they become someone with the next --

23· · · · · · (YouTube ads played.)

24· · · · · · UNIDENTIFIED SPEAKER:· Church Critic by Dr. Larry D.

25· Reid, an examination of the Larry Reid Live show perspective.


                  U.S. Legal Support | www.uslegalsupport.com                4
                                                                                 YVer1f
   Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 6 of 132
                            10.28.24 - Larry Reid Live


·1· Purchased a copy today by logging on to larryreidlive.com.

·2· That's larryreidlive.com.

·3· · · · · · UNIDENTIFIED SPEAKER:· Stay connected to Larry Reid

·4· Live.· Take a moment and like the Facebook page.· Subscribe to

·5· the YouTube page and hit the bell.· Text LRL to 404-999-7527.

·6· That's the words LRL to 404-999-7527 and get notified when we go

·7· live.· Become a member of patreon.· Log onto

·8· patreon.com/larryreidlive.· Sign up, then download the patreon

·9· app and turn on your notifications.· Get connected today.

10· · · · · · (YouTube ads played.)

11· · · · · · MR. REID:· All right.· Welcome to Larry Reid Live.

12· And my name is Larry D. Reid.· And I'm the host of this show,

13· Larry Live, which is your most favorite digital entertainment

14· news and talk show that is out here on the social media streets.

15· · · · · · Now, this is what I want for you to do.· I want you to

16· tell all of your friends, all of your loved ones right now that

17· we're about to have a conversation, especially those that have

18· suffered from any kind of abuse, particularly sexual abuse.

19· Anyone that has been the victim of sexual abuse, tell them to

20· come on over, we're going to have a conversation.

21· · · · · · I do want to say it is possible that in the

22· conversation you could get triggered as you begin to remember

23· what you've been through, what happened to you or someone that

24· you were connected to.· But it's a conversation that I feel like

25· it's long overdue for us to have.· We sort of have had the


                U.S. Legal Support | www.uslegalsupport.com                  5
                                                                                 YVer1f
   Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 7 of 132
                            10.28.24 - Larry Reid Live


·1· conversation before on this platform, just by me sharing my

·2· whole story.· And then also, if you watch the documentary

·3· Misfit, what is that called?· I just -- I -- from Mis -- from --

·4· from Misfit Mystic, something I call the documentary, but it's

·5· my documentary.

·6· · · · · · And in there my oldest sister really begin to share

·7· some of her story, which she still isn't really sharing a lot of

·8· that.· But I think this conversation is going to be really,

·9· really good.· So I need all of you to do something for me.

10· Everybody that's watching, I need for you to hit like.· And let

11· me tell you why you're hitting like, whether you're on YouTube

12· or Facebook, so that the rest of the people, ain't this crazy?

13· · · · · · The rest of the people who have hit like or subscribe,

14· which is literally about seven or 800,000 people that have hit

15· like and follow on my Facebook and my YouTube page.· When you

16· come in live, I need you to hit like and engage.· When I come on

17· live, I need you to hit like and engage.· And the reason being

18· is because to let those people know that I'm on.· Now, you would

19· think that if they hit subscribe and like, that then social

20· media will let them know.· Well, what that's what they did many

21· years ago.· That's not how social media is now.· It's very

22· controlled.· It's no longer organic.· You have robot software,

23· AI and a few humans that are pushing your stuff out according to

24· how people like it, share it.· It has nothing to do with the

25· people that are following you anymore.· It's just how that is.


                U.S. Legal Support | www.uslegalsupport.com                  6
                                                                                 YVer1f
   Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 8 of 132
                            10.28.24 - Larry Reid Live


·1· · · · · · Of course, a you're super poplar, the people they want

·2· to know every time you post, so they turn the alerts on.· And

·3· you guys did that.· But they turned all of my alerts off because

·4· I got in trouble.· I didn't really do nothing that bad, but

·5· somebody thought I did, so I got in trouble.

·6· · · · · · So now, you have to hover back over my page on

·7· Facebook and YouTube and then choose notify me every time he

·8· posts, every time he live, notify me so that then I can know and

·9· engage with his content.· So I really need for you guys to do

10· that.· Right now, nobody got a notification.· If you got a

11· notification from social media and you're in the chat, put in a

12· chat you got a notification.· I'm going to show you right here

13· how this works now.

14· · · · · · Oh, yeah, the documentary highlight that from

15· Ms. Stacy.· I'm sorry, I missed it up right now.· The

16· document -- I want you to do, go and watch it's called Misfit to

17· Mystic, the Story of Larry D. Reid.· And you can find that on

18· YouTube.· Thank you so much for that, Stacy.

19· · · · · · All right.· So we're about to get started as soon as I

20· see -- you got a notification, Derek.· Courtney Chapman got it.

21· Felicia Hacode (phonetically) did.· How are you doing?             I

22· remember you.· We played with your name.· Nester did.· Okay.             I

23· feel you got a notification.· You got all the notifications.· So

24· you got the YouTube, the Facebook and my text?· Okay.· Okay.             I

25· can't tell you got it, but stream yard is not been giving the


                U.S. Legal Support | www.uslegalsupport.com                      7
                                                                                     YVer1f
   Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 9 of 132
                            10.28.24 - Larry Reid Live


·1· proper numbers.· We found that out for Facebook.· There's like,

·2· it's shielding my live views, so you can't see how many people

·3· are watching live.· Then, I sign off and I see all this stuff.

·4· I'm like, why didn't it show me all those people when I was on?

·5· · · · · · All right.· So today we're just going to -- this is

·6· not an update on what's happening in the world.· I'm going to do

·7· that later on.· If I don't, don't hold it to me.· Charge it to

·8· my head, not to my heart.· But for the next three days, I'm

·9· going to be live.· So today it's live on YouTube and Facebook

10· right now.· Please Facebook hit like and share.· Tomorrow night,

11· I'll be live inside patreon where Bishop Carltons Pearson,

12· Bishop Carlton Pearson's only white and spiritual son, who is my

13· brother.· And we're going to be talking about harmful theology

14· and healing from that and just discussing what that is and how

15· to identify it.· Because you need to know how to identify

16· harmful theology.· And the conversation would help you heal from

17· it.

18· · · · · · Then Wednesday, I'm in patreon again.· And I'm in

19· there discussing what I began to discuss on Sunday morning, but

20· I could not finish.· Kendall, do you remember what that was?

21· · · · · · UNIDENTIFIED SPEAKER:· Talking about --

22· · · · · · MR. REID:· Oh, you -- it's too late.

23· · · · · · UNIDENTIFIED SPEAKER:· I said it.

24· · · · · · MR. REID:· You said it late.

25· · · · · · UNIDENTIFIED SPEAKER:· No, I didn't.· I said --


                U.S. Legal Support | www.uslegalsupport.com                  8
                                                                                 YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 10 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. REID:· I feel like it was late.

·2· · · · · · UNIDENTIFIED SPEAKER:· You didn't give me a chance.

·3· · · · · · MR. REID:· All right.

·4· · · · · · (YouTube ads played.)

·5· · · · · · MR. REID:· This is what we're discussing on Wednesday.

·6· We started discussing that on Sunday morning.· Take a screen

·7· shot.· We started re -- discussing it on Sunday morning, hacking

·8· your programming and conditioning, understanding, rewiring and

·9· reconditioning your mind.· You got to get your mind fit and

10· ready for the future.· There is a future that is calling you.

11· Are you're a fit for it?· Well, I can help you get fit for that

12· future.· Only a futurist can.· And we are having an electric

13· conversation aligning with the divine.· So join us on Wednesday.

14· Amazing conversation.· So we're going to be doing that on

15· Wednesday.· So it's for the next three days.· And shoot, and

16· then Wednesday morning at 8:00 a.m. I'll be with you for

17· intercessory prayer.· Remember, prayer goes on Tuesday through

18· Friday.· I do Wednesday and Friday.· My cousin Latrice she does

19· Tuesday and Thursday.· So if you want to be a part of that

20· prayer community, you can be a part of that.· Become a patreon

21· right now.· Patreon.com/larryreidlive.

22· · · · · · Last Wednesday you all missed it.· We talked about AI,

23· crypto currencies, MainOne, Ethereum and Bitcoin.· And we also

24· discussed investment, real estate investment.· I began to share

25· about my investments in Dubai.· It was an electric conversation


                U.S. Legal Support | www.uslegalsupport.com                  9
                                                                                 YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 11 of 132
                           10.28.24 - Larry Reid Live


·1· and we began it with Armando Pante, I can't say his last name.

·2· But Pantaleo.· Pan -- Pantoya, Armando, from the author of

·3· Strategic Millionaire, who is a multimillionaire, all because of

·4· stock marketing AI and tech and energy investments.· And he was

·5· with us and he answered the questions.· And that was great.· You

·6· need to go back and listen to that.· It -- so join patreon.· You

·7· join patreon, you can go back and listen to that whole spiel.

·8· And there's everything that has been posted, educational and

·9· inspirational and empowering since May of 2019.· So when you

10· sign up to my patreon, you're not just getting the current right

11· now of whatever we're spitting out now, but you can go back to

12· all of the experts that I've had.· Even Carlton Pearson's stuff

13· that's in there and Bishop Joy and then so many other people

14· that we did stuff privately in patreon.· You -- you get access

15· to all of that.· So do yourself a favor and go on over there.

16· All right.

17· · · · · · All right.· Are you all ready to have the

18· conversation?· We're about to have the conversation.· What city

19· and what state are you guys watching from?· Put your city and

20· your state in there.· Hey, Joy, how are you doing?· Joy says,

21· best investment you will ever make.· I mean, you -- 12 hours.

22· It -- it don't make sense, really, but I try to keep it to where

23· anybody can be a part of it, anybody that wants to be.· I love

24· intercessory prayer.· So you've participated.

25· · · · · · What's up -- hey, Tice.· Love watching your content.


                 U.S. Legal Support | www.uslegalsupport.com                 10
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 12 of 132
                           10.28.24 - Larry Reid Live


·1· Let me tell you.· I've turned so many people onto you just

·2· because I'll be playing you while I'm doing something else.· And

·3· they say who is that?· He funny.· You don't -- you don't even

·4· have to do nothing funny.· You just talking and being your

·5· regular self.· It's hilarious, which is the my favorite kind of

·6· funny.· Jersey, Chattanooga, Tennessee, Indianapolis, Gastonia,

·7· Athens, Georgia.· Norfolk, Virginia.· Fresno, California.· Nola,

·8· hey baby.· Making Georgia.· Philly.· Atlanta, Baltimore,

·9· Detroit.· Lynbrook, New York.· You see, we coast to coast.

10· Pittsburgh.· Tallahassee, Florida.· Baton Rouge, Louisiana.

11· Ontario, Toronto.· I like how you all do Texas and Canada.

12· Easton, where's that?· Pennsylvania.· Fairview, Georgia, way

13· down there it absolutely is.· My life has -- has been changed.

14· I love that.· I love that.· You got talent, man.· Giselle,

15· that's where you live at, Lancaster, Texas.· Columbia, Maryland.

16· Jacksonville, Florida.· Chicago.· You got to be -- wear a

17· bulletproof vest in Chicago.· Sun go down, put on a bulletproof

18· vest.· Mississippi, Memphis.

19· · · · · · Look at that.· Hey, cousin Karen.· Karen was one of

20· the first people to invest in the building of this platform and

21· of our studios.· She -- I called for eight thou -- for $8.88.

22· She done $8,888.88.· So Karen Reid, thank you so much for your

23· investment.· And whenever you come to the city, hit me up so you

24· can come and look and tour the studio, okay.· Latina, how you

25· doing Latina.· You in Columbus, Ohio.· You over there with


                U.S. Legal Support | www.uslegalsupport.com                  11
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 13 of 132
                           10.28.24 - Larry Reid Live


·1· Rod Parsley.

·2· · · · · · (YouTube ads played.)

·3· · · · · · MR. REID:· We're here (indiscernible.)· Let me not do

·4· that tonight.· Hey, Houston, Texas.· You over there where

·5· Pastor Keion don't know his Bible Henderson.· That's who you

·6· with.· Pastor Keion don't know Bible Henderson, but we love

·7· them.· But he ain't know what the hell he be talking about.

·8· Talking about you can't be blessed and giving to the poor.· What

·9· the hell.· That's right CJ, we are global, abso-dern-lutely.

10· And global citizens and investors are coming up out of my

11· patreon and I'm so excited and very proud.· Hey Elena, how

12· you're doing.· Okay, Seattle, Washington.

13· · · · · · Well, our guest is in the green room.· And we are

14· about to have the conversation, but I need every last one of you

15· guys to hit like, okay, don't play with me now.· I might show up

16· at your house and go to cussing.· Go -- go ahead and hit that

17· like.· Hit that like quick now.· Jesus is on the way back.· Hit

18· that -- hit that like quick.· All right.· You can take that

19· down.

20· · · · · · All right.· So let me tell you what happened.· Someone

21· sent me an email, I want to say the end of last year.· And they

22· began to explain to me how it was terribly important that I

23· speak with this black man that all of his life he's been a

24· minister inside of the church.· And how he found himself in a

25· situation where he had been arrested and charged.· And I said,


                U.S. Legal Support | www.uslegalsupport.com                  12
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 14 of 132
                           10.28.24 - Larry Reid Live


·1· okay, because this was a back and forth.· So sometimes people

·2· like to leak out the story to me.· So I'm like, okay, so what

·3· about this I need -- this sounds like everybody.· I mean, the

·4· last five/six years, it's like how many pastors we know been

·5· got -- got arrested and back in church and back in church and

·6· preachers and black men, you know.· So it was like, okay, I

·7· don't really see the important.

·8· · · · · · But he began to tell me about how his charge was about

·9· something in the world of sexual abuse, molestation something, I

10· don't know what it was.· Well, something like that.· And I said,

11· okay, that's interesting.· They said, but Larry, he is an honest

12· person and he just tells it like it is.· So that intrigued me.

13· The last time I heard someone that had been accused of a crime

14· or convicted of a crime talk very open and honest -- honestly,

15· whether it was on TV or streaming had been many years.· And I

16· got interested.

17· · · · · · I couldn't speak to him as much and as long as I

18· wanted to, but we were able to have a few conversations.· And

19· that's when I realized, I said, okay, this is a very honest guy

20· who did something bad.· How did he get there?· And when I began

21· to hear his story, I said, I think -- I think LR Ellis will want

22· to meet him and hear his story.· And they are parts of his story

23· that I'm going to here for the first time with you guys.

24· · · · · · So go ahead get your drink.· Go ahead and call your

25· friends because it's going to be one of those conversations.


                U.S. Legal Support | www.uslegalsupport.com                  13
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 15 of 132
                           10.28.24 - Larry Reid Live


·1· It's going to be raw.· It's going to be very honest.· It's going

·2· to be very real.· And for some of you, it may be healing to just

·3· hear somebody else's journey from being abused, to them becoming

·4· the abuser, to then turning around and helping inspire others to

·5· change, whether you are the abused or the abuser.· I don't see

·6· this type work much.· I -- I can't even think of another person

·7· that is doing this type of ministry.· I can't think of another

·8· person that is having this kind of conversation.· So that's why

·9· I was intrigued.

10· · · · · · So you mean to tell me somebody's going to tell me in

11· detail as much as I can bear and as much as they want to, what

12· they did as an abuser and they're going to also tell me their

13· story about being abused.· And you're telling me that this

14· person is now using their life to inspire the abused and abusers

15· to make change?· I said, I'm sold.· I am sold.· Because I ain't

16· heard it.· If you've heard it, if you've seen it, tell me in the

17· chat.· I ain't heard it.· I ain't seen it.

18· · · · · · Typically, when somebody has been convicted of a

19· crime, they might tell how they got there a little bit, but they

20· certainly don't turn around and say, I'm going to use my journey

21· from being the abused to them becoming the abuser, now to

22· radically change and influence the life of those who are either

23· the abuse or have been abused.· I haven't seen that.· I'm saying

24· never.· Lola Sterling says never.· I ain't.· If you have --

25· Cristal Williams says never.


                U.S. Legal Support | www.uslegalsupport.com                  14
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 16 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · (YouTube ads played.)

·2· · · · · · MR. REID:· Who else?· I understand that.· So that's

·3· why I brought it here, because I want to hear him.· And I'm

·4· going to start asking about being the abuser, because I want to

·5· talk about that.· And then -- everybody's saying never.· No.

·6· No.· I ain't saying -- because that's -- that's three phases of

·7· your life.· You're using all three phases to cause change in

·8· somebody.· That's powerful.· It's bold and, you know, because

·9· somebody's going to judge them, especially when you get into the

10· abuser conversation.· We all going to be looking like, because

11· how many have you been abused?· Raise your hand if you've been

12· abused.· I have.· I'm not talking about something you enjoyed.

13· That's about something you did not like.· You may later on

14· enjoyed it or found out that you enjoyed it.· But it was against

15· your will.· You were not a willing participant.· Look at all the

16· hands going up.· And see, in the Black community, it's -- I

17· ain't White, so I only can speak for us.· It just seems like to

18· me, maybe we talk about it, but I don't know.· It just seems

19· like it's just rampant.· So many people saying I have.

20· · · · · · Yeah, so it's going to be interesting.· So you -- so,

21· I wanted to give you, like this trigger warning because you're

22· probably going to go through your own life while we're having

23· this conversation about his.· Okay.· I'm already blessed.                I

24· could sign off.· I mean, look, because just thinking about from

25· the abused to the abuser to now an advocate for both to change.


                U.S. Legal Support | www.uslegalsupport.com                      15
                                                                                      YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 17 of 132
                           10.28.24 - Larry Reid Live


·1· Abused.· Abuse.· Advocate.· That's powerful.· I -- I haven't

·2· seen that.· So let's get ready to have a conversation for the

·3· first time.

·4· · · · · · Ladies and gentlemen, I introduced to you,

·5· Duane Youngblood.· And it's so good to have you here --

·6· · · · · · MR. YOUNGBLOOD:· Yes, sir.

·7· · · · · · MR. REID:· -- Duane.· And let me tell you why.· And

·8· you was in a green room, so you heard me.· Is because it's so

·9· bold.

10· · · · · · MR. YOUNGBLOOD:· Mm-hmm.

11· · · · · · MR. REID:· I had never seen this.· I've never seen

12· someone who was abused become an abuser, I've seen that a lot.

13· But then turn around and become an advocate.

14· · · · · · MR. YOUNGBLOOD:· Yeah.

15· · · · · · MR. REID:· It's powerful.· And -- and may -- may God

16· continue to be with you and strengthen you as you are walking

17· every aspect of this out because you're just now getting out of

18· jail, is that correct?

19· · · · · · MR. YOUNGBLOOD:· Yes.· I -- I've had a few experiences

20· with that in my process, which I'll gladly talk about.· But yes,

21· I was in prison for a violation of a pro -- probation and

22· parole.· And so, I had to spend nine more months in there.· And

23· so, I've been released from that just in the last few months.

24· So, yes.

25· · · · · · MR. REID:· So -- so Duane, you said for a violation of


                  U.S. Legal Support | www.uslegalsupport.com                16
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 18 of 132
                           10.28.24 - Larry Reid Live


·1· parole, how did you violate the parole?

·2· · · · · · MR. YOUNGBLOOD:· Well, here's something in the whole

·3· entire process.· I'm in the State of Pennsylvania.· When you are

·4· convicted and you serve time, you can go see the parole board

·5· and they make a decision.· The parole board paroled me on my

·6· minimum.· But then there are various stipulations that you have

·7· to go through in order to stay on the streets.

·8· · · · · · One of the stipulations that I had, among the many

·9· that I had, had something to do with not having any

10· communication or conversation with various individuals.· And one

11· person reached out to my secretary with a long story, very

12· grievous, painful story.· I listened to the story.· Should not

13· have listened to it.· It was part of my upbringing to put other

14· people ahead of myself.· And by doing that and keeping it from

15· them, in the conditions that I have, I have to take polygraph

16· tests.· So in taking a polygraph test, this came up.· And so,

17· this is a reason for a violation.

18· · · · · · Now, I'm grateful because it was also part of my

19· entire process of getting over the way in which I had been doing

20· things as far as prioritizing other people over myself.

21· Therefore, not being able to help anybody.

22· · · · · · (YouTube ads played.)

23· · · · · · MR. REID:· So the violation was just communicating

24· with someone you -- you weren't supposed to be?

25· · · · · · MR. YOUNGBLOOD:· Absolutely.· Right.· Right.


                U.S. Legal Support | www.uslegalsupport.com                  17
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 19 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. REID:· So what's the -- what was the stipulation

·2· there -- okay.

·3· · · · · · First of all, tell me what was the crime you was

·4· convicted of?

·5· · · · · · MR. YOUNGBLOOD:· Yes.· So in 2006, I was arrested for

·6· a -- SA charge from something that did -- happened in 2002.· So

·7· October 31, 2002, I, as a pastor, was counseling someone who was

·8· a member of my congregation under age individual.

·9· · · · · · MR. REID:· How old were they?

10· · · · · · MR. YOUNGBLOOD:· Say -- 15.

11· · · · · · MR. REID:· Okay.

12· · · · · · MR. YOUNGBLOOD:· 15 years of age at the time.· Crossed

13· the line.· This was a 15-year-old male, crossed the line with

14· the individual.· This was a sadly 15-minute destructive

15· experience in my life and their life.· That was 2002, October of

16· 2002.· This thing went back and forth for several years.· And in

17· 2006, I was arrested on this particular charge.· And at the time

18· that -- of my arrest, I was given seven years probation and one

19· year house arrest.

20· · · · · · In the seventh year of that, I was then charged with a

21· corruption of minors because I had -- had conversation with an

22· individual who was sharing with me things that they were going

23· through, things of that nature.· But they were also under age

24· and I was not to have that conversation.

25· · · · · · MR. REID:· How old were they?


                U.S. Legal Support | www.uslegalsupport.com                  18
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 20 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. YOUNGBLOOD:· They were 17 at the time.· So the --

·2· having that conversation triggered the stipulation that gave the

·3· judge the ability to revoke my street time.· So my street time

·4· was revoked.· And they then sentenced me under the original

·5· guideline for SA, which in Pennsylvania was five to ten years.

·6· · · · · · So in 2014, I began serving a five to ten year

·7· sentence --

·8· · · · · · MR. REID:· Wow.

·9· · · · · · MR. YOUNGBLOOD:· -- for what happened in 2002.

10· · · · · · MR. REID:· Now, what -- when you -- you said 15 minute

11· in 2002.· So --

12· · · · · · MR. YOUNGBLOOD:· Yes.

13· · · · · · MR. REID:· -- was it -- what was -- what -- I mean, I

14· can do a lot of things in 15 minutes.· But -- but what happened?

15· · · · · · MR. YOUNGBLOOD:· Okay.· So what transpired was, and

16· this was a complete bad setup.· So I received information from a

17· lady in our congregation telling me that her son had written in

18· his journal.· And in his writing in his journal, he was writing

19· about doing things inappropriate with another person.· She

20· brought the journal.· She asked if I would talk.· Inwardly, when

21· she told me, I knew this is a conversation I did not need to

22· have.

23· · · · · · But as we do when you are carrying poison, what I did

24· was that particular day I sent my secretary home early so

25· that -- that this was also crazy.· This was a bible class night


                  U.S. Legal Support | www.uslegalsupport.com                19
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 21 of 132
                           10.28.24 - Larry Reid Live


·1· in my church.· And so, this meeting is happening just a half

·2· hour before my bible study is to start.· The person comes into

·3· my office.· We're having a conversation.· I speak to them about

·4· making the decision whether they wanted to be homosexual or not

·5· homosexual.· And then, really, just leading this person down the

·6· path of the poison.

·7· · · · · · Ultimately, they acknowledged that they did want to be

·8· homosexual.· And from that, it led to me saying to them, well,

·9· you know what, you can step back into the back office.· They

10· stepped back into the back office.· And in the back office, we

11· had mutual touching of one another.· And that absolutely was a

12· crime.· And it was the wrong thing for me to have done.             I

13· then --

14· · · · · · MR. REID:· And I'm sorry to ask you a question, but I

15· want to really understand.

16· · · · · · MR. YOUNGBLOOD:· It's all right.

17· · · · · · MR. REID:· So you already was told about this person

18· in your ministry who -- oh, so -- okay.· And that's another

19· thing.· You was a pastor and you had --

20· · · · · · MR. YOUNGBLOOD:· Yes, I was.

21· · · · · · MR. REID:· -- been serving for many years.· So it's --

22· it's your nature to get into these type of conversations.

23· · · · · · MR. YOUNGBLOOD:· All the time.

24· · · · · · MR. REID:· But the -- had you had a situation like

25· this before where somebody that was saying gender loving, wanted


                U.S. Legal Support | www.uslegalsupport.com                  20
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 22 of 132
                           10.28.24 - Larry Reid Live


·1· to be free, wanted to be delivered or was exploring and trying

·2· to figure out you've talked to them before?

·3· · · · · · MR. YOUNGBLOOD:· No.· I -- in my history, I didn't

·4· have many conversations with people who wanted to be free and

·5· whatnot.· My experience was more along the lines of knowing

·6· people, meeting people, talking to people.· Very rarely was

·7· someone in my congregation saying that they were saying gender

·8· loving and they wanted to be free.

·9· · · · · · The game that I was a very serious participant in was

10· you knew who people were and you knew what people were doing.

11· And if you wanted to do it, that was what you did, keeping it

12· secretly.· These two words that I love now, secret or pu --

13· secret or private.· I was trained in secret.· It -- it was to be

14· secret.· And in secret, there are things that you just did.· And

15· it had nothing to do with trying to help someone navigate.

16· · · · · · In 2002, I was nowhere near trying to help.

17· · · · · · (YouTube ads played.)

18· · · · · · MR. YOUNGBLOOD:· Anyone navigate in any way, shape or

19· form in a healthy direction as it related to their sexual --

20· sexual identity or sexuality because I hadn't even considered

21· what was going on in my own life.

22· · · · · · MR. REID:· Okay.· Thank you.· And I hope you don't

23· feel like I'm asking too many questions.

24· · · · · · MR. YOUNGBLOOD:· Oh, ask whatever you choose.

25· · · · · · MR. REID:· Yes, because I have to understand.· And


                U.S. Legal Support | www.uslegalsupport.com                  21
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 23 of 132
                           10.28.24 - Larry Reid Live


·1· that make me understand.

·2· · · · · · So here you are inwardly already being same gender

·3· loving on some level, bisexual or something.· And it's a secret.

·4· And it's just what you do with those that know up in the -- I

·5· mean, because you're in that church world.· So I get that.· And

·6· then this fits in you or wants to come and tell you and the

·7· parent had already told you.

·8· · · · · · So for those who feel like, okay, you took an

·9· opportunity.· I'm playing a devil's advocate.· You took an

10· opportunity when you're given secret information that was in

11· somebody's journal and now they're coming to you and in the same

12· conversation to help you all to -- to know each other, how does

13· it get to that?

14· · · · · · MR. YOUNGBLOOD:· Oh.· Honestly, the sadness of it,

15· again, very short conversation.· Most of what is going on in my

16· life in 2002 and prior to that is on auto pilot.· It is not even

17· something that I've got to do a lot of planning and thinking.            I

18· have learned how to express the need that I have for male love

19· and male attention very secretly without ever having to go

20· through some deep planning.

21· · · · · · The sad part for me, considering that time of my life,

22· was how much this was on auto pilot.· And so, there wasn't a lot

23· to consider at the time in 2002, because, again, this was simply

24· me going with what felt right at the time, which was the norm

25· for at that time.


                U.S. Legal Support | www.uslegalsupport.com                  22
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 24 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. REID:· So there really wasn't a lot of thought

·2· about it because it was --

·3· · · · · · MR. YOUNGBLOOD:· No.

·4· · · · · · MR. REID:· -- when -- when it came to that type of

·5· exchange, that's the way it went.

·6· · · · · · Now, let me say this.· I understand that.· I know that

·7· from experience.

·8· · · · · · MR. YOUNGBLOOD:· Mm-hmm.

·9· · · · · · MR. REID:· And this is the reason why I don't fool up

10· in my personal life with many church, same gender loving people

11· and single church women.· Because they all move just alike.

12· The -- the same gender loving men in the church, it is so toxic

13· the way that they go about hooking up, meeting up.· It's just --

14· and I know it's hard for people to believe, but it -- I've seen

15· it firsthand.

16· · · · · · I remember one of -- a family friend came down from

17· New York and they went to a club with my siblings, one of my

18· siblings.· They weren't there five minutes and they was in the

19· bathroom.· But this is a straight club, but she was bi.· And

20· they just locked eyes and went to the bathroom and they started

21· that -- for those of you that don't know, that -- that's a world

22· that you don't know unless somebody tell you or show you.· So I

23· understand how quick that can happen.· However --

24· · · · · · MR. YOUNGBLOOD:· Yeah.

25· · · · · · MR. REID:· -- I'm -- I'm also -- I'm putting myself in


                U.S. Legal Support | www.uslegalsupport.com                  23
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 25 of 132
                           10.28.24 - Larry Reid Live


·1· your shoes and I'm trying to understand.· That quick.· Was there

·2· conversations prior?

·3· · · · · · MR. YOUNGBLOOD:· None.· Not one conversation prior.

·4· It happened so quickly.· But I'm going to tell you something.

·5· It's just my internal belief.

·6· · · · · · I had been asking God for something since 1997 that I

·7· couldn't find.· And when I look at how things played out after

·8· that, I totally understand how something can seemingly be quick,

·9· but at the same time, it is a critical moment in your life.

10· · · · · · Now, so much has changed even with that situation,

11· that person, all of it up to this point today.· But in 2002,

12· that short window was the very window for me to slide into the

13· very thing that would change the entire course of my life.· And

14· I had no clue that it would do this, but it did.· It changed the

15· course of my life.· And so, it was the most worse thing to do as

16· a leader and as a pastor.· I certainly didn't help the person

17· that day.· I didn't help myself that day.· I didn't help my

18· family that day.· I didn't help my church that day.· And to be

19· honest with you, I wasn't really able to do that anyway.· Even

20· when it looked like I was helping them, I wasn't helping them

21· because you can't give people what you don't have.

22· · · · · · And so, I'm very aware of what now, looking back, I

23· was unable to do.· Oh, I was trying.· I was trying hard to do

24· it.· Had a very good congregation, very successful ministry in

25· the city, but at the same time, once I stepped off that stage,


                U.S. Legal Support | www.uslegalsupport.com                  24
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 26 of 132
                           10.28.24 - Larry Reid Live


·1· it was just totally different for me.· On stage, it was

·2· wonderful.· But off the stage, it was a complex life because I

·3· was carrying so much poison that I simply didn't know what to do

·4· with it.

·5· · · · · · (YouTube ads played.)

·6· · · · · · MR. REID:· That -- and I know you're just telling your

·7· story, but I'm -- I'm getting chills about something because I'm

·8· thinking about how many pastors, preachers, leaders that are

·9· watching us that has the same propensity and they have gotten

10· away with it several times.· And it is now their way of life.

11· · · · · · And how you are sort of pulling the cover on that

12· because --

13· · · · · · MR. YOUNGBLOOD:· Well --

14· · · · · · MR. REID:· -- what you just said is, although it

15· looked like I was helping --

16· · · · · · MR. YOUNGBLOOD:· Wasn't.

17· · · · · · MR. REID:· -- because I know -- I saw a clip.· Nigger,

18· you can preach.· And you -- you moving the gifts.· So, that --

19· for the pew and for the pool pit, this conversation right there

20· in that moment is like an ah-huh.· So the man, the woman and the

21· pool pit is moving in their gift the same way you moving yours.

22· They're just in the pool pit at church.

23· · · · · · MR. YOUNGBLOOD:· Yeah.

24· · · · · · MR. REID:· They held to a higher regard.

25· · · · · · MR. YOUNGBLOOD:· Yes.


                 U.S. Legal Support | www.uslegalsupport.com                 25
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 27 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. REID:· Absolutely.

·2· · · · · · MR. YOUNGBLOOD:· Yeah.

·3· · · · · · MR. REID:· But in the -- in the realm of the gifting,

·4· it's the exact same.

·5· · · · · · MR. YOUNGBLOOD:· Well, I -- I -- I'm sorry.

·6· · · · · · MR. REID:· Go ahead.

·7· · · · · · MR. YOUNGBLOOD:· I see -- I see the -- I see all that

·8· as a problem.· And I wrote a book called Rejected to the Stage.

·9· And one of the things that I have found to be very, very true in

10· the African American church primarily, is that a lot of our

11· leaders have deep insecurities, hurts, wounds, abuses that

12· really have led to what we would call disqualifying behaviors.

13· · · · · · However, the gift naturally has opened up the stage.

14· So if you're like me, you thrived on the stage because you've

15· been rejected to the stage.· You -- the rejection in your life,

16· the craziness of your life has made you only feel comfortable

17· with the mic.· Only feel comfortable with the stage.· When

18· people are applauding you and clapping and calling you Bishop

19· and -- and saying you're the man of God.· And when you walk in

20· the room, everybody's standing up.· It is doing some damage.

21· · · · · · I remember writing this book after Whitney Houston

22· died because I looked at it, how could someone be so powerful on

23· the stage and die in the bathtub?· And I understood it.

24· Personally, I got it because for real, you can kill yourself

25· almost trying to maintain your stage life when, in reality, who


                U.S. Legal Support | www.uslegalsupport.com                  26
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 28 of 132
                           10.28.24 - Larry Reid Live


·1· you are as a person is nothing like what these people think you

·2· are on the stage.· And the Black church has made it worse

·3· because we literally want the stage person.

·4· · · · · · And even though we claim we see our leaders as humans,

·5· we don't see them as humans.· Half the time they don't see

·6· themselves as humans.· And so, the whole system is set up in a

·7· way that is going to cause tragedy after tragedy and trauma

·8· after trauma.· And tonight, I'm here really saying to you that

·9· this is a system failure.· Because guarantee you, whether they

10· watch this tonight live or watch this by video, there's a whole

11· lot of men out there listening to me tonight.· And you know that

12· you are something serious on that stage, but the moment you walk

13· down, your inability to be that same person kicks in and it is

14· just the protection around you.

15· · · · · · So Larry, when you said that they've gotten away with

16· it, nobody gets away.· Everything in life has its cause and its

17· effect.· And so, it may not come through the courts or the

18· police.· It may simply come through you being miserable, not

19· having peace.· It may be the private drugs that you're having to

20· use or the crazy sex that you're having to carry on to try to be

21· okay.· But the reality is, this thing never produces the best

22· behavior and the best lives.

23· · · · · · MR. REID:· If you came here tonight to just say that

24· it's enough.· I -- I -- you talk about pulling the cover off of

25· church cancer.· God Almighty.


                U.S. Legal Support | www.uslegalsupport.com                  27
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 29 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · Listen, are we all taking a breath?· Let's take a

·2· breath because that was a lot.

·3· · · · · · MR. YOUNGBLOOD:· Yeah.

·4· · · · · · MR. REID:· That's -- that's a lot to -- to -- to admit

·5· to our sales about our church that we love.

·6· · · · · · MR. YOUNGBLOOD:· Yeah.

·7· · · · · · MR. REID:· And we love the church.

·8· · · · · · MR. YOUNGBLOOD:· Yeah.

·9· · · · · · MR. REID:· But there are some things that need reform.

10· · · · · · MR. YOUNGBLOOD:· Yeah.

11· · · · · · MR. REID:· And we need to look at occurrences like

12· what Duane Youngblood has walked through.· And we need to learn

13· from it.

14· · · · · · MR. YOUNGBLOOD:· Yes.· Yes, we do.

15· · · · · · MR. REID:· And like you said, which I love that you

16· brought that out, because I was going to circle back and say

17· that nobody gets away.· The universe says this and it's in our

18· bibles different -- many different ways.· You reap what you sow.

19· And what you plant is --

20· · · · · · MR. YOUNGBLOOD:· It's coming up.

21· · · · · · MR. REID:· And that -- that's for everybody involved.

22· · · · · · MR. YOUNGBLOOD:· Yes, sir.

23· · · · · · MR. REID:· Okay.· I think -- I had a few more

24· questions about that incident, but I think -- I think we are

25· naturally have moved away from that.· But I am interested in


                U.S. Legal Support | www.uslegalsupport.com                  28
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 30 of 132
                           10.28.24 - Larry Reid Live


·1· this.· You're -- you're married?

·2· · · · · · MR. YOUNGBLOOD:· Yeah.

·3· · · · · · MR. REID:· You were -- you were married then?

·4· · · · · · MR. YOUNGBLOOD:· Yes.

·5· · · · · · MR. REID:· How -- it's the same woman you married to

·6· now that you were married to then?

·7· · · · · · MR. YOUNGBLOOD:· Yes.

·8· · · · · · MR. REID:· How is she?

·9· · · · · · MR. YOUNGBLOOD:· My wife is a highly supportive

10· person.· However --

11· · · · · · (YouTube ads played.)

12· · · · · · MR. YOUNGBLOOD:· She's a human.· And as a human, she

13· needed to navigate through all that was going on.· There's

14· something that is very important to me, and I think it's very,

15· very important to her.· People get together for -- for reasons.

16· My wife and I have been together since we were young, in our

17· early 20s.· I was in my early 20s and she was in her late teens

18· when we got married.

19· · · · · · We got together in a time where the best counsel they

20· could give us was don't buy a king size bed.· There was not a

21· lot of attention to the fact that there were two trauma kids

22· coming together getting married.· And a year later I started

23· pastoring a church.· And so, she is in her process --

24· · · · · · MR. REID:· Wait a minute.· That's my life.· That's my

25· life.· That's my life.· That's what happened to me.· So you


                U.S. Legal Support | www.uslegalsupport.com                  29
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 31 of 132
                           10.28.24 - Larry Reid Live


·1· all -- we all are friends.

·2· · · · · · MR. YOUNGBLOOD:· Oh, yes.· I would say 1000 percent.

·3· · · · · · MR. REID:· Yeah.

·4· · · · · · MR. YOUNGBLOOD:· I would say 1000 percent friends.             I

·5· would do anything in this world for that woman.

·6· · · · · · MR. REID:· Yeah.

·7· · · · · · MR. YOUNGBLOOD:· Because she has proven herself to be

·8· an absolute great friend in my life.· And so, there's process to

·9· walk through just as individuals.· Then there's process to go

10· through as friends.· Then, there's process to go through as a

11· couple.· And so, I'm grateful for the opportunity to walk out

12· process in a totally different way than what we've seen in

13· church.

14· · · · · · MR. REID:· Let me ask you.· I want to know about that.

15· First of all, let me say this.· That's what happened to me.

16· I -- I started pastoring the same year I got married.

17· · · · · · MR. YOUNGBLOOD:· Oh.

18· · · · · · MR. REID:· It was a -- it was a mess, but --

19· · · · · · MR. YOUNGBLOOD:· I feel for you.

20· · · · · · MR. REID:· -- thank God -- thank God we're still

21· friends and we good.

22· · · · · · MR. YOUNGBLOOD:· Yes.

23· · · · · · MR. REID:· And -- and divorcing was the -- was a gift

24· to our relationship.· But it was the end of our marriage

25· contract that was --


                U.S. Legal Support | www.uslegalsupport.com                  30
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 32 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. YOUNGBLOOD:· Yes.

·2· · · · · · MR. REID:· -- really messing --

·3· · · · · · MR. YOUNGBLOOD:· Yeah.

·4· · · · · · MR. REID:· -- our relationship up.

·5· · · · · · MR. YOUNGBLOOD:· Yeah.

·6· · · · · · MR. REID:· I'm getting too old to go the -- the tag

·7· stuff in my head because I go back to it and I be done and

·8· forgot.· Oh, this is what it was.

·9· · · · · · How does it feel to tell the truth?

10· · · · · · MR. YOUNGBLOOD:· Oh, listen.· Let me tell you

11· something.· What I get to do every day is, I don't have to

12· remember what I last said because telling the truth -- and,

13· again, I believe this.· I believe that all I got is a

14· perspective.· I don't -- I don't ever believe that I have the

15· truth.· I got my perspective on it, though.· And I have a right

16· to share that perspective.· And I got a right to respect every

17· other human having a right to share theirs.

18· · · · · · And I'm excited because as I have come forward and

19· evolved and moved forward, I have found there was a peace that I

20· couldn't remember except when I was a kid in sharing my truth.

21· I have a peace now.· I don't wonder.· I'm not in a hurry.

22· Thanks to my sister, who is just unbelievable as well.· She's

23· been amazing in my life.· But she's helped me get to the moment.

24· You know, I was always in the future and in the past.· But she's

25· helped me realize, you're missing something because you're not


                U.S. Legal Support | www.uslegalsupport.com                  31
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 33 of 132
                           10.28.24 - Larry Reid Live


·1· here.· I could never be here.

·2· · · · · · I was always somewhere else.· Even when -- they'd be

·3· celebrating things or we'd be having our conference at the

·4· church and I was onto the next thing because something about me

·5· could never be settled and at peace without a whole lot of

·6· function.

·7· · · · · · And that's what a lot of people do.· They -- they

·8· think they can cover their frustration with function.· You cover

·9· your frustration with activity.· But if you just sit down a

10· minute and can connect with yourself, you'll find that there is

11· a path to get away from what is killing you and got you doing

12· all kinds of stuff to look a certain way for people who don't

13· even care.

14· · · · · · MR. REID:· You done did it again.· You're talking

15· to -- you're talking to a leader out there right now.

16· · · · · · MR. YOUNGBLOOD:· Yeah.

17· · · · · · MR. REID:· Oh, I know what you're talking about.· Been

18· there, done that.· Because being in -- and I say this, the

19· reality is, when you're not present, you're not in the presence

20· of God.

21· · · · · · MR. YOUNGBLOOD:· That's right.· That's right.

22· · · · · · MR. REID:· But that's the whole other conversation.

23· Let's move from that.

24· · · · · · Okay.· How old were you when this incident happened in

25· 2002?


                 U.S. Legal Support | www.uslegalsupport.com                 32
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 34 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. YOUNGBLOOD:· Oh, now you're going to make me take

·2· out -- so -- so -- okay.· So that -- that's 22 years ago.

·3· · · · · · MR. REID:· Ah-huh.

·4· · · · · · MR. YOUNGBLOOD:· I'm 57 today.· So we need to go

·5· back -- go back.

·6· · · · · · MR. REID:· Okay.

·7· · · · · · MR. YOUNGBLOOD:· 30 -- 36.

·8· · · · · · MR. REID:· Okay.· You were 36.

·9· · · · · · MR. YOUNGBLOOD:· I was around 36 years old.

10· · · · · · MR. REID:· Okay.· Got it.· All right.· I just wanted

11· to know that, just from my rolodex in my mind.

12· · · · · · All right.· So now what's interesting me --

13· interesting to me, it sounds like this whole process made you

14· also come clear more publicly maybe you already had that

15· personally and in your marriage, about being on some level

16· attracted to the same sex.

17· · · · · · (YouTube ads played.)

18· · · · · · MR. REID:· When did you know you were attracted to the

19· same sex?· What age were you?

20· · · · · · MR. YOUNGBLOOD:· Oh, probably maybe ten, 11 that I can

21· remember.· Because most of the things for me before that are

22· kind of gone.· But I've always felt some level of -- let me --

23· let me -- let me say -- say this.· Because I like to help with

24· these types of words.

25· · · · · · So I used to, as a boy, look at boys as the other.


                U.S. Legal Support | www.uslegalsupport.com                  33
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 35 of 132
                           10.28.24 - Larry Reid Live


·1· And when people say same gender loving and things of that

·2· nature, it's really the fact that something in me was looking at

·3· him and seeing the other.· I, as a -- this is my personal story.

·4· I never thought I matched up.· I never thought I was equal to

·5· him.· So I always was drawn to him because he had what I didn't

·6· have.· It makes no difference of how gifted and how anointed --

·7· · · · · · MR. REID:· Duane, wait.· Wait.· Wait.· Wait.· Wait.

·8· Wait.

·9· · · · · · MR. YOUNGBLOOD:· Yeah.· Yeah.· Yeah.

10· · · · · · MR. REID:· I don't know if you guys got what I just

11· got.· That I have not ever heard articulated, but I have --

12· Jesera's in here.· She's a therapist.· I have dealt with --

13· somebody said, pause, sir, you're moving too fast.

14· · · · · · Just -- you're dropping nugget after nugget.· And it's

15· going into our pain body and our past and it's shaking us up.

16· So you got to give me a minute.

17· · · · · · You just articulated the reason why, and this is not

18· all same gender loving people.· But I have met and talked to

19· because you all got to remember, my degree is in therapy, my

20· master's.· So I've had thousands of hours.· So many men who

21· began to sleep with other men because they saw the man as what

22· they needed to be.· They measured their chest by his chest, his

23· arms by their arms.· Their legs by their legs.

24· · · · · · And so, they went to explore what everybody else

25· called a man because within themselves they did --


                U.S. Legal Support | www.uslegalsupport.com                  34
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 36 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. YOUNGBLOOD:· Didn't see it.

·2· · · · · · MR. REID:· -- feel like it.

·3· · · · · · MR. YOUNGBLOOD:· That's right.· That's right.

·4· · · · · · MR. REID:· I feel like I need to cuss.· Are you f-ing

·5· kidding me?

·6· · · · · · MR. YOUNGBLOOD:· Yes, sir.· That's it.

·7· · · · · · MR. REID:· The way you just articulated that.

·8· · · · · · MR. YOUNGBLOOD:· That's it.

·9· · · · · · So -- so I want to say this that I think it's very

10· important.· I'm not discussing who you're going to like

11· tomorrow.· But I will say this to everybody listening to me.

12· When we say a same sex attraction, I think people just gloss

13· over this too fast because in reality, you're not really drawn

14· to your own self.· We -- we spend all of our time talking about

15· who you like.· And we've not stopped long enough to say it's not

16· really a same sex attract -- I don't care even if we're talking

17· about heterosexual.· You're really not in a place to like

18· because you don't like.

19· · · · · · MR. REID:· Yeah.· You don't like --

20· · · · · · MR. YOUNGBLOOD:· You don't like.

21· · · · · · MR. REID:· Yeah.

22· · · · · · MR. YOUNGBLOOD:· So you're -- so even if you got that,

23· it may not be because you like.· It may be because of your

24· dislike.· And the dislike is most often in my own self.

25· · · · · · MR. REID:· Absolutely.· Not many men I know who are


                  U.S. Legal Support | www.uslegalsupport.com                35
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 37 of 132
                           10.28.24 - Larry Reid Live


·1· seem to be heterosexual men sleep with a lot of women, but I

·2· know they hate women.

·3· · · · · · MR. YOUNGBLOOD:· I --

·4· · · · · · MR. REID:· I know they hate women.· It's because they

·5· hate what their mom, their grandma, their sister did to them --

·6· · · · · · MR. YOUNGBLOOD:· Yeah.

·7· · · · · · MR. REID:· -- said to them.

·8· · · · · · MR. YOUNGBLOOD:· Yeah.

·9· · · · · · MR. REID:· So sleeping with the woman is conquering

10· her -- the women --

11· · · · · · MR. YOUNGBLOOD:· Yes.

12· · · · · · MR. REID:· And getting them back.

13· · · · · · MR. YOUNGBLOOD:· Yes.

14· · · · · · MR. REID:· And that whole thing makes them erected,

15· hard --

16· · · · · · MR. YOUNGBLOOD:· Yeah.

17· · · · · · MR. REID:· -- sexually turned on to get them back.

18· But the woman don't know that he really don't like you.

19· · · · · · MR. YOUNGBLOOD:· And he ain't with you.

20· · · · · · MR. REID:· Oh, Lord.· There's so much in this.· This

21· is the -- this is conver-dern-sation.

22· · · · · · MR. YOUNGBLOOD:· This is a conver-dern-sation.

23· · · · · · MR. REID:· You said it like the White people.· It's

24· dern, not darn.

25· · · · · · MR. YOUNGBLOOD:· Conver-dern.· I saw your spelling of


                U.S. Legal Support | www.uslegalsupport.com                  36
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 38 of 132
                           10.28.24 - Larry Reid Live


·1· it.

·2· · · · · · MR. REID:· My bishop do the same thing.· My bishop --

·3· you two aren't going to charm school mess up your nigger.

·4· Bishop is the -- you know, you can hear all this in charm

·5· school.· You know, so I'm -- I'm like it's not darn.· You're

·6· talking about Larry conver-dern.

·7· · · · · · MR. YOUNGBLOOD:· Dern.

·8· · · · · · MR. REID:· You killed it.· It's dern.· Okay.· All

·9· right.· So breathe.· All right.

10· · · · · · Tyese, I know when you go live, you -- you go --

11· you're going to go through all of this.· That -- we're moving

12· quick.· But there whole shows we can do on like six different

13· things he's already said.· Okay.· All right.· So --

14· · · · · · (YouTube ads played.)

15· · · · · · MR. REID:· This, you're around ten, 11.· You looked at

16· the other that was better than you and pick up from there.· I'm

17· sorry.

18· · · · · · MR. YOUNGBLOOD:· Well, I have to -- I really need to

19· go into why this began this way in my story, my life.

20· · · · · · Okay.· Now, this is -- this is very complex stuff

21· because this goes more to the abuse side.

22· · · · · · MR. REID:· Okay.

23· · · · · · MR. YOUNGBLOOD:· Okay.· So at nine years of age --

24· first, let me say that I am the third child of four to my

25· parents.· My father is -- is a pastor who's a Bishop.· He was


                U.S. Legal Support | www.uslegalsupport.com                  37
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 39 of 132
                           10.28.24 - Larry Reid Live


·1· the vice Bishop of the organization that I grew up in, Greater

·2· Emmanuel.· And my father has since passed on two years ago.· And

·3· I did his eulogy and love him dearly understanding now his

·4· humanity.

·5· · · · · · But when I was nine years of age, at the time, my

·6· older sister and older brother would leave the home to go to

·7· school.· And would be left in the home would be me, my younger

·8· sister, who was 13 months younger than me and my dad.

·9· · · · · · Well, one morning I'm in my bedroom, which was right

10· beneath my younger sister's bedroom.· We had common ductwork

11· that went through my bedroom to hers and up to the upstairs

12· hallway.· And I could hear her up there or anybody up there.

13· · · · · · And one morning before school, I heard her crying out.

14· And she was saying, no, stop, don't do that.· Stop.· Don't do

15· and just -- it's just repeated.· Now.· I -- I can't even

16· describe the fear that came over me because initially, I thought

17· someone had broken into our home and had entered my sister's

18· room.· I can't even recall what I did on the first day except

19· just staying in fear.

20· · · · · · But again, I would hear this again.· And eventually, I

21· would step out.· One of the very few days I would step out of my

22· bed and step out of my room and look up the stairwell to see

23· what was happening, if I could see anything, make some noise, do

24· whatever I could do.· And what I saw was my dad coming out of

25· his bedroom with his robe open.· He had no clothes on and he was


                U.S. Legal Support | www.uslegalsupport.com                  38
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 40 of 132
                           10.28.24 - Larry Reid Live


·1· going into my sister's room.

·2· · · · · · And what I was hearing most Tuesdays through Fridays

·3· from the time I was nine to the time I was 14, was him sexually

·4· abusing her.· I laid in my bed so many mornings in fear.· And

·5· when I tell you, I mean the kind of fear were I literally

·6· couldn't get myself to step foot out of my bed.· Many days my

·7· dad would drive me and that same sister to school.· I was

·8· sitting in the back seat and he wouldn't speak to me.· And I

·9· took that wrong.· I took that as some kind of rejection,

10· something's wrong with me.· I -- I now understand it was his

11· shame.· But back then, a kid, nine-year old, ten-year-old, I'm

12· interpreting that something is wrong with me as a man, that my

13· dad doesn't want to talk to me.· Something's wrong with me as a

14· boy.

15· · · · · · Then, the biggest mistake I made between age nine and

16· 14 was I concluded and reinforced that I had failed that sister.

17· I never told anybody.· I never did anything.· I never said

18· nothing to him.· And I didn't even tell her until I was 36 years

19· old that I even knew that anything had ever even happened.

20· · · · · · And so it started me on this journey of I got to take

21· care of everybody.· I got to be there for everybody.· I got to

22· do for everybody.· And I started doing this in overdrive.· But

23· at the same time, because I was rejecting this man who was

24· supposed to be my future, I started looking for some man to love

25· me.· And I started looking around in any way, any place, any --


                U.S. Legal Support | www.uslegalsupport.com                  39
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 41 of 132
                           10.28.24 - Larry Reid Live


·1· and it just heightened the interest because I'm weak.· I can't

·2· help her.· I'm weak.· I didn't do anything.· I didn't tell

·3· anybody.· I'm -- I'm letting her suffer.· And let me just say

·4· this, not only did it affect nine to 14, but that same sister

·5· and I did not have a relationship until this year.· This year in

·6· January, I made a decision that I'm going to go -- cross this

·7· bridge and I'm going to reach out to her.· She had been in tears

·8· and frustrations and wondering what -- because me and my older

·9· sister have a great relationship, but this younger sister, I

10· couldn't even make myself call her and talk to her because I so

11· was gripped when I had failed her.

12· · · · · · So imagine that guy pastoring or -- or leading or

13· talking to people who inwardly feels he's got to take care of

14· everybody.· He's going to do for everybody.· And he is a failure

15· and he is weak.· These were all my fears.· And those fears were

16· leading me down this crazy path that began in a very

17· unfortunately human house, but a home filled with that type of

18· abuse that has written a major script on my life as a boy.

19· · · · · · MR. REID:· I really feel that however your life has

20· been prior to now, that here moving forward, it's going to be

21· way better because you better.· And there are things that you're

22· articulating that only a person who has walked through what they

23· went through.

24· · · · · · (YouTube ads played.)

25· · · · · · MR. REID:· And look for the lessons, look for the


                U.S. Legal Support | www.uslegalsupport.com                  40
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 42 of 132
                           10.28.24 - Larry Reid Live


·1· wisdom because what you're sharing tonight, I'm -- you -- you

·2· see.· Wow.· It's pointing to so many things.

·3· · · · · · Now, why didn't you and that sister have a

·4· relationship?· You in the same house.· And also where was your

·5· mom?

·6· · · · · · MR. YOUNGBLOOD:· My mom -- well, my mother was working

·7· six to two Tuesday through Saturday.· So Sundays and Mondays she

·8· was home and this didn't happen.· But for the -- again, for

·9· those five years, I -- that I could remember, my sister has a --

10· a broader story, but for the five years that I could remember,

11· she was already gone to work.· And so, we would be there with my

12· dad most mornings.· And so, this was what was -- was -- was

13· happening.· And it was deafening.· I can't even describe to you

14· how -- how destructive inwardly my own thoughts around that.

15· · · · · · I never saw nothing.· But I could have told you

16· exactly what happened because my imagination just got ruined.

17· It was so destructive because in church, we were being taught

18· how you deal with authority and what you don't say to authority

19· and on and on and on and on.· And then coming home and I'm

20· seeing this, my dad at the time was the assistant pastor of the

21· church.· And --

22· · · · · · MR. REID:· Wow.

23· · · · · · MR. YOUNGBLOOD:· -- it just went on.· And so, there

24· was a whole lot, again, I -- I say this with -- with -- with all

25· sincerity, I'm thankful to God that I now understand his


                U.S. Legal Support | www.uslegalsupport.com                  41
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 43 of 132
                           10.28.24 - Larry Reid Live


·1· humanity.· But back then, I totally said, wait a minute.· You

·2· are the Bishop, you're the dah, dah and I went down this laundry

·3· list.

·4· · · · · · But I'm going to tell you something that I made a huge

·5· mistake at that stage of my life.· And I pray that you watching

·6· tonight don't make this mistake.· I kicked my father out my

·7· heart for my own protection.· I kicked him out.· And I later

·8· learned in the healing process from a wonderful author,

·9· Mark Wollen.· My sister recommended I read this book.· It didn't

10· start with you.· He said that when you kick your parents out

11· your heart for the negative things they were doing, those things

12· find their way into your heart.

13· · · · · · MR. REID:· I always say, if you don't forgive your mom

14· and dad of the father fracture, the momma drama and trauma, you

15· will become them.

16· · · · · · MR. YOUNGBLOOD:· Yeah.

17· · · · · · MR. REID:· Right.· Man, I don't -- if you're watching

18· and you've kicked your parents out of your heart.· First of all,

19· I understand it.

20· · · · · · MR. YOUNGBLOOD:· Yes.

21· · · · · · MR. REID:· And I get it.· So don't feel wrong or even

22· bad.· You had -- you did what you had to do in order to move on.

23· · · · · · MR. YOUNGBLOOD:· That's right.

24· · · · · · MR. REID:· So now you know --

25· · · · · · MR. YOUNGBLOOD:· That's right.


                U.S. Legal Support | www.uslegalsupport.com                  42
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 44 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. REID:· -- that you are doing something that harms

·2· you --

·3· · · · · · MR. YOUNGBLOOD:· That's right.

·4· · · · · · MR. REID:· -- and your future and your future

·5· children.

·6· · · · · · MR. YOUNGBLOOD:· That's right.

·7· · · · · · MR. REID:· So correct that.· My nephew just said, glad

·8· I fixed that.

·9· · · · · · MR. YOUNGBLOOD:· Yeah.· And one of the things that I

10· found for me was, I took their picture, both of my parents

11· photo.· And every morning I looked at that photo and I said to

12· God, I thank you for giving me these parents.

13· · · · · · MR. REID:· Wow.

14· · · · · · MR. YOUNGBLOOD:· Now, I -- and I -- and there's

15· some -- some things I really want to make sure that I do share

16· in tonight.· And so, I -- I want -- but I want to say this right

17· here.· God says -- this is scripture.· God says he's the god of

18· Abraham, Isaac and Jacob.

19· · · · · · MR. REID:· Yeah.

20· · · · · · MR. YOUNGBLOOD:· And in my healing process, I realized

21· something.· I realize that the tragedy of Black church

22· primarily, that -- that loves to talk about spiritual fathers.

23· The spiritual father takes me out of my DNA and out of my

24· genealogy.· And God says he's the god of Abraham, Isaac and

25· Jacob.· I don't how jacked up your Abraham is.


                U.S. Legal Support | www.uslegalsupport.com                  43
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 45 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. REID:· Yeah.

·2· · · · · · MR. YOUNGBLOOD:· This DNA is the DNA I'm going to send

·3· your promise through.· And so somehow we're going to have to

·4· look and see what God was intending in spite of what humans may

·5· have done.· And my healing certainly was catapulted when I

·6· started saying, thank you for the human, Moses Youngblood.

·7· Thank you for the human, Sarah Youngblood.· Thank you that

·8· Duane Youngblood is a human.· And I started looking into my

·9· genealogy to see what treasures, what pearls, what diamonds,

10· what gold were you sending me.

11· · · · · · See, because what the enemy wants to do to you is

12· he'll make you look away from your family.

13· · · · · · (YouTube ads played.)

14· · · · · · MR. YOUNGBLOOD:· And now, you're looking at your

15· pastor or you're looking at the this person and the community

16· leader.· And God sent your stuff through your Abraham, Isaac,

17· Jacob.· And so, it's important, Larry, that's important I get

18· stirred up when I think about that God didn't do me no harm by

19· giving me that man as a parent, even though that man had his

20· drama and his issues and his unresolved pain.· God didn't do me

21· no harm by birthing me into that family.· And it took me a long

22· time for me to get there.

23· · · · · · MR. REID:· It took me a long time too.· It took

24· decades.· And that's the reason why I was able to say the things

25· that I said.


                U.S. Legal Support | www.uslegalsupport.com                  44
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 46 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · Right now in the chat, everyone, I want you to write

·2· and mean it, God did not do me any harm by bringing me through

·3· and put whatever your family last name is --

·4· · · · · · MR. YOUNGBLOOD:· Yes.

·5· · · · · · MR. REID:· -- blank family.· God did not do me any

·6· harm by bringing me through, blank family.· The blank family.

·7· Put that in there.· If this ain't -- if I know some healing

·8· that's happening, right now and some ah-huh moments and just

·9· rethinking your thoughts and some actions, that's powerful.

10· · · · · · And your -- one of your -- your brother and your

11· sister in the chat saying how they love you and -- and, man,

12· when I'm telling you, it -- it's for me, you're the picture of

13· someone who goes through something like this and go through it

14· right.· Meaning, you're -- have exhausted everything out of this

15· journey for you to return the information because you're --

16· you're about to go into your returning years.· The first 30

17· years of our life is the learning years.· The next 30 years is

18· the earning years.· And then the last 30 years is the returning

19· years when you start returning what it is that you have learned

20· to help the next that are now coming.· And my God, you're doing

21· that awesomely now.

22· · · · · · So now, you're in the church.

23· · · · · · MR. YOUNGBLOOD:· Yeah.

24· · · · · · MR. REID:· And you're coming up in the church and you

25· know that you are attracted to -- to men.· And now you start


                U.S. Legal Support | www.uslegalsupport.com                  45
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 47 of 132
                           10.28.24 - Larry Reid Live


·1· working in the church.· When did you start preaching?· And when

·2· did you realize wait a minute, there are other people in the

·3· church who like men like me?

·4· · · · · · MR. YOUNGBLOOD:· Well, let me tell you.· It's been a

·5· horrible journey with that question for me, as far as all that

·6· related to.

·7· · · · · · I started preaching probably around 8/17/18.

·8· · · · · · MR. REID:· Me too.

·9· · · · · · MR. YOUNGBLOOD:· Nothing official.· It was very

10· interesting.· My brother, who you're seeing maybe in the chat

11· tonight.· My brother had what they would call a, you know, his

12· first night of preaching.· And my -- my -- that particular

13· night, my grandfather was our pastor and my dad was the

14· assistant pastor.· And my father was very, very fearful that my

15· grandparents might be trying to create some kind of attention

16· because my grandmother was saying, well, maybe Duane wants to

17· preach tonight too.· And my dad said, no, no, no.· This is going

18· to be Richard's night, he's going to preach.

19· · · · · · And so, my brother preached and -- and we were happy

20· and celebrated him having that initial message.· Well, what

21· happened with me, we were in the middle of a Sunday morning

22· service.· And I was leading what we had back then, testimony

23· service.· And somehow just ended up exerting the people and my

24· grandfather got up and said, what he said today was what I was

25· going to preach.· And that's how my preaching ministry literally


                  U.S. Legal Support | www.uslegalsupport.com                46
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 48 of 132
                           10.28.24 - Larry Reid Live


·1· began.· I never had an official opening.

·2· · · · · · But as far as coming to connect with people in the

·3· church and things of that nature, the -- these are -- you know,

·4· I was in Greater Emmanuel at the time.· Greater Emmanuel was led

·5· by Bishop Quander Wilson.· And Bishop Quander Wilson's one of

·6· the most respected, highly energized kingdom teaching back in

·7· that day.· And a lot of people didn't do it, but he was.· And

·8· so, it was -- it was special if you got to hear him preach.

·9· · · · · · And so, when I was 16 years of age, I got my driver's

10· license.· And Bishop Wilson was preaching at our church for

11· revival for three days.· And after the first night of the

12· revival, he goes up to my dad and he says to my father, can your

13· son drive?· And I was within an earshot of hearing the

14· conversation.· And my -- my dad said, yeah, he just got his

15· license.· And he says, oh, he says, well, you know what, tonight

16· I'm going to go back to Columbus, is where he lived in Columbus.

17· I'm going to go back to Columbus and I would love to take him

18· along, let him drive.· And my dad looked at me and he says,

19· yeah, he can.

20· · · · · · Now, you have to understand, from my perspective.              I

21· am looking at this man, my father, through the lens that I have

22· had with him, totally you don't deserve to be in this place.

23· And I -- I don't want to hear you.· And I'm so glad to get away

24· from you.· So this is the most exciting news I have ever heard

25· in my life is that this chief apostle is getting ready to --


                U.S. Legal Support | www.uslegalsupport.com                      47
                                                                                      YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 49 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · (YouTube ads played.)

·2· · · · · · MR. YOUNGBLOOD:· Take me with him on a journey back to

·3· his home.· And I get the ride in the car and it -- so it was

·4· exciting.· So we did.· He agreed.· And -- and I got in the

·5· vehicle.· We drove back to Columbus.· It was late.· He did all

·6· the driving back.

·7· · · · · · When we got to his home, we pulled up.· Big, beautiful

·8· white home.· And we got in the home, went upstairs.· It's late

·9· already.· And he's saying, well, I don't know which room you

10· want to go in.· There's five big bedrooms.· He said, the bedroom

11· at the end of the hall has the biggest bed and the big TV.· And,

12· man, I'm 16 years of age.· You know where I'm going.· And I

13· said, well, thank you.· Well, Bishop, you know, I'm going to

14· take that room.· And so, I walked in there.· It's late.· I put

15· him -- put on my night clothes.· Put my bag away.· And I get in

16· the bed and I'm start watching the television.

17· · · · · · About an hour or so later, the door opens and in comes

18· Bishop Wilson.· And he comes in and he changes his clothes.· And

19· in that moment I realize this is his room.· And something in my

20· heart just dropped.· I -- I can't even tell you.· The same fear

21· that I felt all those years with my father every morning.                I

22· felt that same fear come over me again, but I -- I -- I lost all

23· ability to say anything.

24· · · · · · So he got his clothes changed and climbed in that bed

25· with me.· And he said to me, don't worry, happy is not going to


                U.S. Legal Support | www.uslegalsupport.com                      48
                                                                                      YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 50 of 132
                           10.28.24 - Larry Reid Live


·1· hurt you.· And I'm -- I'm just like, I just got to go to sleep.

·2· · · · · · So I went to sleep.· And about an hour or so into my

·3· sleep, I'm awakened by his hands on my genitalia.· And when I

·4· woke up, he started speaking in tongues like he had been praying

·5· for me.· I realized, number one, this person has something with

·6· men.· It -- it -- whatever it is he had, but it was the most

·7· uncomfortable experience.· And I'm thinking, here's my dad,

·8· here's this in -- in between him.· I didn't even talk about it.

·9· When I was 12 I was also raped.

10· · · · · · But here is this man who is the head of our

11· organization touching me in his home.· And it's just the two of

12· us.· So I rode over like I was asleep, laid there.· Couldn't

13· fall asleep.· In the morning, he said, I got to do a little

14· travel, let's do something.· And we would then get back in the

15· vehicle and head back to Pittsburgh.· When we got back in his

16· vehicle and we drove a little bit.· And he says, I got to pick

17· up somebody.

18· · · · · · And he picked up Elder Brian Keith Williams, a very

19· well known person out in social meeting.· Now, Bishop Brian

20· Keith Williams.· And when he got to the car, he said, let me sit

21· up in the front with the Bishop.· And I was so glad to get in

22· the back seat.· And I sat there in that back seat in pain and

23· hurt and confused because I drove back to our home church and he

24· preached and he prophesied.· And I went home more damaged, but

25· certain that what I had been feeling about men and all this kind


                U.S. Legal Support | www.uslegalsupport.com                  49
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 51 of 132
                           10.28.24 - Larry Reid Live


·1· of stuff, that this was something that was pretty broad.· But I

·2· now understand that even though this was -- I mean, this was

·3· totally abuse as I was 16 years of age.

·4· · · · · · So I knew that there were guys that had this same

·5· situation.· But my problem was the fact that it was the leaders

·6· that had this -- that was also damaging to me as a person.

·7· · · · · · MR. REID:· Okay.· All right.· We need a little breath.

·8· And I just feel like we're just getting started.· But I feel

·9· like I can't take no more.· Oh my God.

10· · · · · · Now you said something.· And we're going to get back

11· to this story.· But let's back up a little bit.· You said that

12· you were raped.

13· · · · · · MR. YOUNGBLOOD:· Yes.

14· · · · · · MR. REID:· Okay.· Can you tell me about that?

15· · · · · · MR. YOUNGBLOOD:· Yeah.· At age 12, I won a singing

16· competition in my city.· It was called the Brimar Awards.· It

17· was held at soldiers and sailors hall, very large facility at

18· the time for hosting events.· And I was in the competition,

19· along with my mother.· I was in as the male vocalist.· She was

20· in as the female vocalist.· And I won the competition.· And part

21· of winning the competition, there was two phases.· You had to

22· then -- you were going to sing for a television recording that

23· was going to happen and you were going to do a tour.· And there

24· were several parts of this that was involved.

25· · · · · · And so, I needed someone that could be a part of that


                U.S. Legal Support | www.uslegalsupport.com                  50
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 52 of 132
                           10.28.24 - Larry Reid Live


·1· with me.· But in the meantime, right when that happened, my

·2· mother got a phone call from an evangelist, Christine McCaskill,

·3· who she was an evangelist that travel preaching.· And I love her

·4· to death, you know.· Oh, man, I can't even describe the love I

·5· have for this lady.

·6· · · · · · So she asked my mother could I travel with her

·7· singing.· And my mother gave her the okay.· So we went to

·8· Philadelphia to meet her.· And from Philly, she took me to

·9· Baltimore to a youth conference.

10· · · · · · (YouTube ads played.)

11· · · · · · MR. YOUNGBLOOD:· And when I got to Baltimore, she

12· managed to say, you know what, you all need to hear them sing.

13· That Saturday morning, they put me on the schedule to sing.

14· After I was done singing, I was invited to the coordinator of

15· the conference's hotel room where they were having a repass.

16· And when I got up to the hotel room, there were two rooms.· And

17· they were adjoining.· On one side was all the people who were on

18· the program, whatever.· And on the other side, unbeknown to me

19· at the time, was the coordinator alone.· And he was allowing

20· people in one at a time to do their greetings with them.

21· · · · · · So he -- I -- I came over when they called me.· He

22· immediately, hey little Youngblood.· Picked me up and put me on

23· his lap.· And I hate to use the word lap for a man, but his lap.

24· And when he set me on his lap, what I felt immediately let me

25· know, this is not good.· In that moment, a few seconds later,


                U.S. Legal Support | www.uslegalsupport.com                  51
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 53 of 132
                           10.28.24 - Larry Reid Live


·1· the phone rang in his room.· And it was Evangelist McCaskill.

·2· And she asked to speak to me.· I got on the phone and she said,

·3· get out of that room right now and get downstairs.

·4· · · · · · And then when I got downstairs, she lit into me.· And

·5· she said, don't you ever leave me again.· I didn't know what she

·6· knew, and I never told her what had happened.· But we left there

·7· and went to Atlantic City.· And in Atlantic City, she was

·8· preaching for two weeks, two different churches.· And in one of

·9· the locations they put me in a home.· And in the home they put

10· me in, there was one of the family members, a person who was a

11· part of the church, who was in the home, a male, who came into

12· my room at one, 2:00 in the morning, woke me up.· Did sexual

13· things to me that should not have happened.· This, I never told

14· her about that.· She actually asked me about it before she

15· passed.

16· · · · · · Then, I came back home now needing to prepare for this

17· tour.· And my mother has found the person to play for me during

18· the tour.· I go to their home at one time to rehearse alone.

19· And they take me on a tour of their home.· And the tour ends in

20· their bedroom.· And that is where I am raped.· I then come back

21· home to my mother.· I don't want to sing.· So for two years I

22· really didn't do anymore singing.· And my -- my mother couldn't

23· understand what -- why don't you?· But there was so much

24· because, again, this was the exact same time that this stuff was

25· still going on with my sister.


                U.S. Legal Support | www.uslegalsupport.com                  52
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 54 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · So this is going with my sister in the mornings.· And

·2· this thing happened to me.· I can't go to my dad.· I -- I'm not

·3· going to tell my mom.· And so, I just buried this stuff

·4· internal.· Now, I don't want -- I don't want you to think that

·5· at the same time that this all is going on, I started having

·6· little interactions, as well with guys myself because all this

·7· stuff is happening and I began to explore some sexual things

·8· myself.

·9· · · · · · But, yes, that -- that particular summer of being

10· 12 years of age, I experienced three different scenarios with

11· three different leading people who I absolutely was violated by

12· at 12 years of age.· Then again, I -- I shared with you about

13· the -- at 16 years of age and what was going on at our home.· So

14· it's been a lot.

15· · · · · · MR. REID:· And when the situation happened between

16· Bishop Quander Wilson and yourself, how old were you?

17· · · · · · MR. YOUNGBLOOD:· 15.· I just got my driver's license.

18· I was 16.· Had gone to his home.· And it was -- it was extremely

19· devastating.

20· · · · · · MR. REID:· Question.

21· · · · · · MR. YOUNGBLOOD:· Yes.

22· · · · · · MR. REID:· Did that happen to you again after the

23· situation with Bishop Wilson?

24· · · · · · MR. YOUNGBLOOD:· Yes.· Yes.· I've been through that

25· again.


                U.S. Legal Support | www.uslegalsupport.com                  53
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 55 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · This was -- I was now 18, 19 years of age.· And what

·2· had happened is, Brian Keith Williams, who I see is in the chat.

·3· Brian Keith Williams would come to -- he came to my graduation

·4· service and preached.· My mother is -- was very fond of

·5· Brian Keith Williams and I was very fond of Brian.· So she

·6· invited him to preach for my graduation service.· And he came in

·7· and preached.· And then, he came and he was preaching for us

·8· again.· And while he was preaching for us, there was scheduled

·9· to be a revival starting in our city by Bishop TD Jakes.· And

10· so, Bishop TD Jakes was brought to our church by Bishop Wade

11· Jones, who was the master of a Greater Emmanuel Church in

12· Pittsburgh at the time.· He brought him to our church.· And he

13· was there the night that Brian Keith Williams was preaching.

14· And -- and we didn't know who this person was, but -- but

15· apparently Bishop Williams did know him.· And he -- he gave a --

16· an -- an, you know, endorsement about how he could preach.· And

17· Bishop Jakes got up and said a few words.

18· · · · · · And so, my parents had a rule, if you live in their

19· home, you're going to their church services they went to.· So we

20· went.· And he started coming in to preach twice a year at

21· Bishop Jones' church.· He was so popular that the church would

22· be full before he ever even got there, before the service even

23· started, the church is jam packed.· Unbelievable response to his

24· ministry.

25· · · · · · And so, myself and another elder who was a part of


                U.S. Legal Support | www.uslegalsupport.com                  54
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 56 of 132
                           10.28.24 - Larry Reid Live


·1· Bishop Jones' church who is still a part of that church now,

·2· we --

·3· · · · · · MR. REID:· (Indiscernible) Jones?

·4· · · · · · MR. YOUNGBLOOD:· No.· No.· This is Bishop -- say

·5· that -- Bishop Wade Jones.

·6· · · · · · MR. REID:· Wade Jones.

·7· · · · · · MR. YOUNGBLOOD:· Yes.

·8· · · · · · MR. REID:· Okay.· I know that.

·9· · · · · · MR. YOUNGBLOOD:· He -- he befriended -- we befriended

10· kind of close with Bishop Jakes.· And we decided in one of the

11· times he was there, it was going to be his birthday.· Now, I

12· remember like it was yesterday, his birthday is June the 9th.

13· · · · · · MR. REID:· Now, what's --

14· · · · · · MR. YOUNGBLOOD:· We're going to take him out.

15· · · · · · (YouTube ads played.)

16· · · · · · MR. REID:· What's your friend name again that you were

17· close to?

18· · · · · · MR. YOUNGBLOOD:· The person who was in that church,

19· his name is Harvey McDaniels.

20· · · · · · MR. REID:· Okay.· Harvey.

21· · · · · · MR. YOUNGBLOOD:· He and I were going to take Jakes out

22· to eat after he preached for his birthday.· And so, I was able

23· to convince my mother to let me drive her car, as I didn't have

24· a vehicle.· I said, well, you're -- we're going to take him out

25· to eat.· I'm going to drive your car.· And so we did.


                U.S. Legal Support | www.uslegalsupport.com                  55
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 57 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · We took him out to eat.· And it was decided after we

·2· were done taking him out to eat, that I would be the person to

·3· take him back to his sleeping place, which at the time was --

·4· there was a lady named sister Giles.· She always wanted to house

·5· and take care of him when he came to that church.

·6· · · · · · And so, I came in there.· Drove through for him to

·7· eat.· And then took him back to her home.· Well, after taking

·8· him back to her home, he says, come on in, let's talk.· And I

·9· still felt -- I -- I you can't even imagine being 18, 19 years

10· of age.· This person is killing it and they're saying to you,

11· come on in, let's talk.· And so I did.· I went in.· We sat down

12· at a very long dining room table in a room that she had.· And

13· for two hours it was unbelievable.· Pouring of heart, crying.

14· Him talking about my father.· We're talking about these

15· scenarios.· And I inwardly just knew I had finally found someone

16· who could get it.· Someone who understood.

17· · · · · · I'm sitting at this table and for the first time

18· talking to any man, I got tears coming down my face because

19· somebody gets me.· Somebody understood what I was going through.

20· · · · · · Well, after sitting there and having this long

21· discourse with him, I finally look at my watch and I'm like, oh,

22· my goodness, I got to go.· I got to get this car back to my

23· mother.· She's going to kill me.· So I said to Bishop I got to

24· get up.· And I got up from the table.· He got up from the table.

25· He walked around toward the way I had to exit quicker than I got


                U.S. Legal Support | www.uslegalsupport.com                  56
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 58 of 132
                           10.28.24 - Larry Reid Live


·1· over there.

·2· · · · · · And when I started to walk past him, he pulled me to

·3· himself, wrapped his arms around me and tried to kiss me.· And

·4· in that moment I literally died.· I -- I could not -- I -- I

·5· tell you -- to this -- to this day, I can't remember how I got

·6· out of that place.· But I remember driving home at all kinds of

·7· crazy thoughts and what in the world am I going to do now.· And

·8· I finally get home, get in the house, get in the bed.· I'm going

·9· to try to go to sleep.· And I get to sleep and get up in the

10· morning.

11· · · · · · And in the morning, I step into our bathroom and my

12· home phone rings.· My mother answers the phone, and she says to

13· me, Duane, it's Elder Jakes.· And I get on that phone.· And when

14· I get on that telephone, I can hear water.· He is sitting in a

15· bathtub.· And in that thing, he says to me, without any

16· hesitation, there's three things I need you to do.· The first

17· one is, when I come to Pittsburgh, you're going to be the only

18· person I sleep with.· The second one is, you can't sleep with

19· anybody else because I don't want to give my wife anything.· And

20· thirdly, I will take care of you the rest of your life.

21· · · · · · I can't to this day, remember how I got off that

22· phone, but I do know I made a decision that I wasn't going to

23· the service that night.· And eventually, I told my mother, I'm

24· not going to go to service tonight.· She says, no, no, no.· You

25· know, we got a rule in this house.· If we go, you go.· I never


                  U.S. Legal Support | www.uslegalsupport.com                57
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 59 of 132
                           10.28.24 - Larry Reid Live


·1· told her what he had done.· I went to church.· And the most

·2· humiliating thing imaginable happened that night at church.

·3· Bishop Jakes getting up to preach, speaks into that microphone.

·4· I'm going to ask young minister Youngblood to read for me.

·5· · · · · · And after all of that drama of the last 24 hours, I

·6· had to read before he preached.· And so, the there is so much

·7· more to me and Bishop Jakes and my family and Bishop Jakes.· And

·8· the -- the absolute destructive sexual damage, but this thing

·9· was so -- so extremely damaging.

10· · · · · · And I want to say this to you, Larry, that sitting

11· back and watching some of the things I've seen in 2024 and

12· things that I've heard, even heard him say, has been so

13· frustrating to me because the people who I've heard say things

14· publicly related to him and people who --

15· · · · · · (YouTube ads played.)

16· · · · · · MR. YOUNGBLOOD:· Actually come to me, the stories they

17· are telling me in 2024 is what I remember when I was 18 and 19

18· years old with the same person.· And so, it's hurtful because

19· for me, you know, of course, I'm abused.· But my God, I can only

20· imagine how many people may be listening tonight or hear this

21· again, you know, and you -- you might be on the cliff getting

22· ready to do something that destroys your life.· I will encourage

23· you tonight, don't hold back.· Don't believe the trash and the

24· garbage that touch not my anointed and do my prophet no harm.

25· Trust me, you are God's anointed.


                U.S. Legal Support | www.uslegalsupport.com                  58
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 60 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. REID:· Absolutely.

·2· · · · · · MR. YOUNGBLOOD:· You're the person that God cares

·3· about.· And so, this was -- this was tragic to me and I'm -- I

·4· was alone.· Again, alone.· And --

·5· · · · · · MR. REID:· I want to say this.

·6· · · · · · MR. YOUNGBLOOD:· -- the list goes on from there.

·7· · · · · · MR. REID:· I want to say this and give you a break

·8· because it's -- one thing I want to say.· It's amazing how

·9· you -- you telling your story feels -- and your story is a story

10· of pain.· It's a story of going from the abuse to the abuser to

11· now an advocate for both to experience change.

12· · · · · · MR. YOUNGBLOOD:· Yeah.

13· · · · · · MR. REID:· It's a painful story.· Because in my

14· opinion, I feel like you were passed around.· I know preachers.

15· And I know how they do women in 2024.· They talk.· And I just

16· feel like you were passed around.· I also can't help but to

17· highlight, and everyone that has been abused and accused my --

18· and including myself, knows that once you an -- are abused,

19· spiritually, there's this mark on you and people see it.· And

20· you got two different types of people when they see that mark.

21· Either they're going to do what Mother Kaskel did for you and

22· protect you or they are going to abuse you or violate you.

23· · · · · · MR. YOUNGBLOOD:· Yeah.

24· · · · · · MR. REID:· One or the other.

25· · · · · · MR. YOUNGBLOOD:· Yes.


                U.S. Legal Support | www.uslegalsupport.com                  59
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 61 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. REID:· I'm not going to call all those that

·2· violate you all these different kinds of names that --

·3· · · · · · MR. YOUNGBLOOD:· Right.

·4· · · · · · MR. REID:· -- I normally would say.

·5· · · · · · MR. YOUNGBLOOD:· Right.

·6· · · · · · MR. REID:· Because all predators and violators aren't

·7· the same.

·8· · · · · · MR. YOUNGBLOOD:· That's right.

·9· · · · · · MR. REID:· But it's clear by listening to you how you

10· got there.· If --

11· · · · · · MR. YOUNGBLOOD:· Yeah.

12· · · · · · MR. REID:· -- you hadn't experienced, I just believe

13· it, all of this, you wouldn't have had that bend to participate

14· in violating somebody else.

15· · · · · · MR. YOUNGBLOOD:· Well, it's poison.

16· · · · · · MR. REID:· Yeah.

17· · · · · · MR. YOUNGBLOOD:· It's a deposit of poison.· And as you

18· were saying, you -- you're looking for someplace, something.· My

19· gift was still working.· But oh, my God, was the pain growing.

20· And if you don't have a crash or an encounter, this thing

21· destroys you.· It will wipe you out because you can't make sense

22· of what you've been through.· It doesn't make sense.

23· · · · · · MR. REID:· You said you died the night that now who we

24· call Bishop TD Jakes, you died when that happened.· I want to

25· ask you a question.


                U.S. Legal Support | www.uslegalsupport.com                  60
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 62 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · Is it because of all of what you had been through and

·2· you looked at him in that moment as the savior to pull you out

·3· and your dreams died?· Or was it your hope in ever being

·4· different than you were died in that moment when he did to you,

·5· according to you, did to you what had already been done to you

·6· several times before?· And it sounds -- and I believe in my

·7· opinion, I won't -- there -- we don't -- none of us know except

·8· for you and TD Jakes and you and Bishop Quander Wilson and you

·9· and Mother Kaskel.· And some parts of your story has been

10· verified by Bishop Brian Keith Williams in the chat, you know,

11· so we know that you're not pulling this out of your bread

12· basket.· And this is -- there's some truth here because there

13· are other people to verify.

14· · · · · · Now, what -- what died -- I want to know, what --

15· what -- what died?· It sounds true because you went into that --

16· when -- when you have something traumatic like that, you go into

17· a black spot.

18· · · · · · MR. YOUNGBLOOD:· Yeah.

19· · · · · · MR. REID:· And you can't remember how you got out of

20· the house.· You just remember halfway driving home.· So it

21· sounds like -- this sounds very believable to me.· But I don't

22· know.· So tell me more about that.

23· · · · · · MR. YOUNGBLOOD:· Yeah.· Well, I lost the ability -- I

24· didn't know it, but I lost the ability to believe.· I stopped

25· believing.· All the stuff that we were saying --


                U.S. Legal Support | www.uslegalsupport.com                  61
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 63 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. REID:· Wow.

·2· · · · · · MR. YOUNGBLOOD:· -- all the stuff that we were

·3· preaching and teaching.· Remember, my dad is the pastor.

·4· Bishop Wilson is the chief apostle.· Here is the man who is

·5· leading revival.· And it dies because you -- you realize in

·6· these moments you don't understand what you're doing.· But

·7· you -- you start believing that what you said about hope, this

·8· just ain't going to happen for me.

·9· · · · · · (YouTube ads played.)

10· · · · · · MR. YOUNGBLOOD:· I thought maybe there'd be a place

11· that I'd be able to talk about what is real and get somebody to

12· give me whatever I need to get beyond it.· Because I'm telling

13· you, Larry, up to the point of TD Jakes, I could not re -- I

14· couldn't believe the life I had -- had.· And that night, I

15· thought, oh my, here is help.· We've managed to build this --

16· start building this relationship, this friendship and here is

17· help.· Here, I have no ability to really trust men, but here is

18· one who is proving to me across the table, you can trust me.

19· · · · · · And in a few minutes, totally violated.· And I'm going

20· to tell you something.· The thing that just further killed me

21· was the absolute arrogance to call me from a bathtub and to tell

22· me you're going to take care of me for the rest of my life.· And

23· I'm going to be your Pittsburgh boy, but I can't sleep with

24· nobody else because you don't want to give your wife something.

25· And so absolutely, it's devastation.


                U.S. Legal Support | www.uslegalsupport.com                  62
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 64 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · And as I moved forward in ministry, I had decisions to

·2· make because my gift and my ignorance allowed me to get right

·3· into pastoring with all this.· I'm -- I -- I'm -- I was --

·4· because I was more studious than my dad and more studious than

·5· my grandfather and very serious about my craft, whatever it was,

·6· I studied.· And so, it became pretty natural that, you know,

·7· Bishop Wilson started telling me and my brother that you all

·8· should move beyond -- your -- your dad should turn the church

·9· over to you all.

10· · · · · · So I always was inwardly feeling like there was

11· something more in me.· Well, instead of me taking it to the

12· place of getting healed, I started a church.

13· · · · · · MR. REID:· Wow.

14· · · · · · MR. YOUNGBLOOD:· It was a natural thing to do.· We're

15· going to do it different than them.

16· · · · · · MR. REID:· But it goes back to what you said about how

17· you couldn't stay in the present.· You only could do -- dwell --

18· walk in the past and -- and in the future, because the present

19· there was a lot of pain.· So you had to be occupied working.

20· · · · · · MR. YOUNGBLOOD:· That's right.· Always busy.

21· · · · · · MR. REID:· The -- there's so many pastors who -- who

22· do that and they live that and they think that's the norm, but

23· it's actually a trauma response.· And according to the National

24· Sexual Violence Resource Center, it states that one in five

25· women and one in every 71 men will be raped at some part in


                U.S. Legal Support | www.uslegalsupport.com                  63
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 65 of 132
                           10.28.24 - Larry Reid Live


·1· their -- at some time in their life.

·2· · · · · · MR. YOUNGBLOOD:· Yeah.

·3· · · · · · MR. REID:· I actually believe it's higher than that.

·4· Because men, we do not talk.· I think ours is like the women,

·5· one and five.· In fact, when I count ten people in my world,

·6· about four of them have been violated, molested or something

·7· when they were little, men and women.· So I fully believe that

·8· the cycle abuse studies show that approximately 30 percent of

·9· the individuals who were abused as children, they later end up

10· abusing others, whether it is intentional or it is something

11· that they do and then realize they have done it.

12· · · · · · So you're story just checks a whole lot of boxes for

13· me.· And then, when you factor in that 70 percent of those of us

14· who have been abused, especially be -- before the age of 25, had

15· that to happen to us before our brain has finished forming.

16· · · · · · MR. YOUNGBLOOD:· That's right.

17· · · · · · MR. REID:· So our brain literally forms around the

18· trauma and give us responses, give us desires, give us wants,

19· predilections, predispositions that are all coming out of the

20· trauma that we have experienced.

21· · · · · · MR. YOUNGBLOOD:· Yeah.

22· · · · · · MR. REID:· So your conversation, it's literally

23· peeling back all of the fog and all of the cloudiness to see

24· things clearly and talk about.· You know --

25· · · · · · MR. YOUNGBLOOD:· Yes.


                U.S. Legal Support | www.uslegalsupport.com                  64
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 66 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. REID:· -- I want to say to you, Duane

·2· Youngblood --

·3· · · · · · MR. YOUNGBLOOD:· Yes.

·4· · · · · · MR. REID:· -- we need your voice.· We need your

·5· ministry.· We need you to talk.· We need you on YouTube all the

·6· time.· We need you doing all of what you did tonight and just

·7· talk, talk, talk.· Because you're saying stuff that you can't

·8· get in a book.· This is coming out of your personal walk,

·9· prayer, life, study and sitting in whatever you have walked

10· through and exhausting all of the wisdom.· And you're just

11· giving it out to us.· And we want -- I want to say thank you for

12· that.

13· · · · · · MR. YOUNGBLOOD:· Absolutely.· You're welcome.

14· Absolutely.

15· · · · · · MR. REID:· Now, after the Jakes thing, how -- how did

16· life look for you then?· You told us about the 2002 situation.

17· You told us about, I think it was 2007, the 15-year-old and the

18· seven-year-old, the -- the talking and then the exchanges.

19· · · · · · MR. YOUNGBLOOD:· Right.

20· · · · · · MR. REID:· How -- what did you do after the Jakes?

21· Were there other instances where other bishops and other

22· pastors, talk to me about that?

23· · · · · · MR. YOUNGBLOOD:· Yeah.· So, after I started pastoring,

24· I had to make a decision, where was my church?· Because I just

25· felt our church had to be in an organization.· And so, we were


                  U.S. Legal Support | www.uslegalsupport.com                65
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 67 of 132
                           10.28.24 - Larry Reid Live


·1· in Greater Emmanuel under Quander Wilson.· I was doing

·2· everything inside me to stay.· And at the time that -- our

·3· church organization used to host something called Pentecost and

·4· I went.

·5· · · · · · (YouTube ads played.)

·6· · · · · · MR. YOUNGBLOOD:· And I was sitting on the second row.

·7· And our chief apostle, Quander Wilson, is up preaching.· My dad

·8· and Bishop Wade Jones are sitting in the pool pit.· And when

·9· Quander Wilson saw me, he started preaching on Absalom.· And I

10· sat there the most uncomfortable.· Out of the corner of my eye,

11· I'm watching my dad and Bishop Jones elbowing each other.· And I

12· was so angry that they would take this time to, in essence, say

13· that I was a son who had turned on his father.

14· · · · · · I recall after I had left and started a church,

15· Bishop Jones called me and told me that my dad had told him that

16· I had left and took some of the young people with me.· And I

17· drove to his home and sat there in tears telling him I would

18· never do anything to hurt my father.· It was no plan.· I had no

19· idea that they were going to leave.· And I didn't.· I had no

20· idea what people had -- had planned.· They had written their

21· letters.· I had no idea.

22· · · · · · But when that happened, and I went to Pentecost and

23· they did that, I knew I couldn't stay in Greater Emmanuel.· So,

24· the only thing that I knew was that a few years prior, another

25· person named Bishop Sherman Watkins, who's also in Columbus,


                U.S. Legal Support | www.uslegalsupport.com                  66
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 68 of 132
                           10.28.24 - Larry Reid Live


·1· Ohio, had left Greater Emmanuel and started his own

·2· organization.· The next --

·3· · · · · · MR. REID:· Now, Sherman Watkins is the light skinned

·4· man with the gray beard who wear the loud suits that Jake Soler

·5· (phonetically) used to emulate.· I think he's -- his spiritual

·6· father over --

·7· · · · · · MR. YOUNGBLOOD:· Right.

·8· · · · · · MR. REID:· -- Higher Ground Assemblies.

·9· · · · · · MR. YOUNGBLOOD:· Correct.· Correct.

10· · · · · · And so, I -- the -- that was the detriment for me in

11· considering going because Bishop Jakes was the vice Bishop.· So

12· I knew that if I joined Higher Ground, I was going to end up

13· seeing and having to deal with him on some level again.· But

14· inwardly, I knew I couldn't stay.· And everything in me at that

15· time in the area of knowledge, I didn't know nothing about being

16· independent or -- that just seemed so wrong.

17· · · · · · So, I decided that I would call Bishop Watkins, and I

18· did, and talked to him about wanting to join the organization.

19· And I -- he invited me to his home to have a talk about it.· And

20· I went up to his home.· And after being there for a very little

21· bit, he said, come on, let's go to the jacuzzi.· And he -- he

22· has a very nice home, much better in later years than it was at

23· that time.· He was still in the process of continuously adding

24· to it.· But we went into his garage where he had the jacuzzi and

25· had it all decorated.· And he cut all the lights off.· And we


                U.S. Legal Support | www.uslegalsupport.com                  67
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 69 of 132
                           10.28.24 - Larry Reid Live


·1· got in the jacuzzi.· And I immediately, again, this great fear

·2· came over me.· And he said to me, which was so comforting, he

·3· said, son, don't worry.· I know what you've been through and I'm

·4· not going to do anything like that to you.· And I was so shaken,

·5· but so at peace.· All of my antennas, I had a little fear in me,

·6· but antennas began to come down.

·7· · · · · · And in a discourse of time over time, I told

·8· Bishop Watkins what Bishop Jakes had done.

·9· · · · · · MR. REID:· Okay.

10· · · · · · MR. YOUNGBLOOD:· And I told him that I just -- I

11· can't -- I just can't connect with him.· Unbeknownst to me,

12· Bishop Watkins contacted Bishop Jakes.· Now, I'm giving

13· Bishop Watkins a -- his -- the way he explained it to me, he

14· contacted Bishop Jakes and told him he needed to come to my

15· church and preach for me.· Bishop Watkins really wanted us to

16· get things straight because as time would go along, I was like

17· his assistant, his right hand.· I did everything, planning all

18· of our -- the conferences and anything that was going on in the

19· organization, I was helping to put it together.

20· · · · · · Bishop Jakes was the vice Bishop.· He's nationally and

21· worldwide known and so it made sense for these two people in his

22· life to get along.· And so, I heard what he said.· And I said,

23· fine, if you're saying it, I'll -- I'll have him come.· My

24· church was absolutely not going to be a place for TD Jakes to

25· come.· But he agreed to come to it and he did.· He and his wife


                U.S. Legal Support | www.uslegalsupport.com                  68
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 70 of 132
                           10.28.24 - Larry Reid Live


·1· came.· My church, the only thing we had to do was get him a

·2· hotel.· He took care of everything else.

·3· · · · · · After the service was over, I took him and his wife to

·4· the hotel.· We had gotten them a suite.· His wife went and

·5· climbed in the bed and she fell asleep.· And when she fell

·6· asleep, I -- I looked at him and I said, why didn't you do what

·7· you did?· And this was what his response was to me.· These are

·8· words like etched in stone in my brain.· He said, my stock was

·9· rising and I would have had sex with anybody at that time.· And

10· that was to be my answer, it was to be what was going to be good

11· for me.

12· · · · · · And I just eventually phased myself out of that room

13· and out of any real good relationship with Bishop Jakes from

14· that point moving forward.· So, I spent 15 years in Higher

15· Ground, giving everything I had.· But in one of the years that I

16· was in Higher Ground, Bishop Watkins' wife passed.· And when she

17· passed, people were coming at him from every angle.· And my

18· protective nature over him and I believe his absolute concern

19· for me, we connected in that way, which was very positive.· At

20· this time, I'm calling him my spiritual dad.· And so, I said to

21· him, Bishop, I know the first two weeks of August every year is

22· your vacation and I know Sister Edna is gone.· I will go with

23· you on the vacation.

24· · · · · · And -- and -- and let me just say this as well, so you

25· know.· I -- I don't want to paint no picture like I was some


                U.S. Legal Support | www.uslegalsupport.com                  69
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 71 of 132
                           10.28.24 - Larry Reid Live


·1· holy (indiscernible) perfect guy.· I absolutely was not that

·2· person.· And Bishop Watkins, I shared with him some of my

·3· darkness and my dark side and some of my -- the -- the

·4· happenings that I did.· We got very unfortunately comfortable

·5· talking that -- that nonsense to each other.· So --

·6· · · · · · MR. REID:· But I -- but I do understand it because he

·7· had told you he had sort of given you such a feeling of security

·8· and safety because he put you in the hot tub with him and he was

·9· not trying to violate you --

10· · · · · · MR. YOUNGBLOOD:· Absolutely.

11· · · · · · MR. REID:· -- like everybody else.· So it makes sense

12· to me that you would be protective over him.· That you would

13· give yourself to -- I bet you all would have a more than what

14· would be --

15· · · · · · (YouTube ads played.)

16· · · · · · MR. REID:· Some would considered professional.· But

17· more than professional relationship because --

18· · · · · · MR. YOUNGBLOOD:· Yes.

19· · · · · · MR. REID:· -- you sort of trusted him and he --

20· · · · · · MR. YOUNGBLOOD:· Yeah.

21· · · · · · MR. REID:· -- clearly trusted you.

22· · · · · · MR. YOUNGBLOOD:· Yes.· Yes.

23· · · · · · And that year, he called me back.· And he said, I'm

24· good.· You know what, I decided I'm going to -- I'm going to

25· take you with me.· And I was excited.· We were going to go to


                  U.S. Legal Support | www.uslegalsupport.com                70
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 72 of 132
                           10.28.24 - Larry Reid Live


·1· Miami for a week and then to the Bahamas for a week.

·2· · · · · · So we got to -- I drove to Columbus and we flew down

·3· to Miami, stayed at the Fountainebleau Hotel, which was one of

·4· his favorites at the time.· And the first night we're there,

·5· Bishop Watkins loved to get massages.· So the first night we're

·6· there, he -- he -- he says, you want to get a massage?· And this

·7· was another thing about him when you're traveling with him or I

·8· traveled with him.· He's always paying for everything.· Just a

·9· very giving type person.· And so you want to get a massage?

10· Yes.· And we got -- the person from the hotel gave us both

11· massages.

12· · · · · · The next night, he said, you want to get another

13· massage?· I thought it was a lot because I'm like, man, you're

14· spending all this money.· But I have -- I said, okay.· Well, he

15· called and there was no one available.· And so, he looked at me

16· and he said, I can give you a massage.· And inwardly, I'm very

17· uncomfortable, but I don't think it's about him.· I think it's

18· about me.· I'm uncomfortable.· And eventually I say, okay.· Take

19· my clothes off, wrap a towel around, lay on the bed.· He begins

20· to give them massage.

21· · · · · · Eventually, he says to me, turn over.· They don't do

22· massages like this in Europe when you go overseas, he said, when

23· you go overseas.· And he started touching my genitals.· And I

24· jumped out the bed, threw on my clothes, went down to the beach

25· and walked around for a long time.


                U.S. Legal Support | www.uslegalsupport.com                  71
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 73 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · When I got back, he was very different because he knew

·2· something had happened and -- and maybe you're not going to be

·3· able to control it because we had -- had so many different

·4· conversations.· And I'm telling you, when we left there and went

·5· to the Bahamas, I was in a total different head space because

·6· now I now know there is no man in my story --

·7· · · · · · MR. REID:· Jesus.

·8· · · · · · MR. YOUNGBLOOD:· -- that I can trust with me.

·9· · · · · · MR. REID:· Jesus.

10· · · · · · MR. YOUNGBLOOD:· I mean, it -- it got to the point

11· just, you know, we talked about 2002 when I committed the SA and

12· 2006 when I got arrested.· But in 2005, I made a decision to

13· leave Higher Ground because I wanted something different for

14· myself.· I was in a major storm.· I talked to Bishop Watkins and

15· told him I'm being investigated.

16· · · · · · And I eventually wrote him a letter on Halloween that

17· I wanted to leave.· And I explained to him why I needed to get

18· out.· Well, several things had gone wrong in this whole

19· spiritual father thing and I was no better spiritual father.

20· But something was wrong because he -- he was on a trip in Vegas

21· in 2004.· He had got a massaged by somebody he said was very

22· attractive.· And he said he saved the number for me because he

23· knew I was going out there and all this kind of stuff.

24· · · · · · So when I was leaving, I -- I shared with him that I

25· just can't keep doing all of this.· I was offered to go to


                U.S. Legal Support | www.uslegalsupport.com                  72
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 74 of 132
                           10.28.24 - Larry Reid Live


·1· Brazil on a private plane, on a trip, because that's where all

·2· the boys are, is what I was told.· And so, I -- I was so sick of

·3· myself and knew that the -- always something's going to happen

·4· positive for me.· I got to get away from these folks.· And I

·5· left.

·6· · · · · · And when I left, they flipped the script.· And went to

·7· my jurisdiction where I was over several pastors in a

·8· jurisdiction and -- and told these people some seriously sad

·9· things.· In February of 2006, they shared it with the entire

10· organization about me.· And I got a prophesy that year said to

11· me that two men have tried to kill you, they shot you in the

12· head and looked down and thought you were dead and they left

13· you, but God says your name is hidden.· And actually, my name

14· means hidden.· They said, God's going to hide you and you're

15· going to reemerge.· And when you reemerge, these two men will

16· still be around.· And they're going to see you come back from

17· the dead.

18· · · · · · Now, I've been 18 years and I'm certain after what

19· they did back then, they felt that I was dead.· But I'm saying

20· this so everyone can hear me today, I have a zero desire to get

21· anybody back.· I don't want to see nobody hurt.· I don't want to

22· get no human back.· I don't want to see nobody's life destroyed.

23· No.· But I tell you what, I am so glad when I've been in

24· therapy, my therapist said, Duane, this is where you are right

25· now.· You are at the place where you need to share your story.


                U.S. Legal Support | www.uslegalsupport.com                  73
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 75 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. REID:· Yeah.

·2· · · · · · MR. YOUNGBLOOD:· So many people are going to benefit

·3· from you sharing it.· People who are right there in a situation

·4· right now where this kind of stuff is happening to them and

·5· maybe it's a spiritual father, it's someone in authority and

·6· they're just going on through the motions and -- and inwardly,

·7· they're feeling just like so destroyed.· You're going to help.

·8· Them and you're also going to help some of these people who are

·9· right there hurting people.· They're going to think that

10· you're -- these people -- this is what I realize.· When you're

11· in authority, the reason why people say yes to you is because

12· saying no to you is like saying no to God.

13· · · · · · MR. REID:· God, yeah.

14· · · · · · MR. YOUNGBLOOD:· And people can't tell God no.· So

15· I've got to deal with myself and know how to not cross these

16· lines.

17· · · · · · And so, my story of abuse and being an abuser, it's --

18· it's a story that just was a continuation of a process from nine

19· years of age all the way through these last ten years, which

20· have been serious building years.· The last four years in

21· therapy.· And the last one year, this year 2024, of really,

22· really, really coming to grips with how do you get out of this.

23· And the way you get out is you got to get back to being present

24· and connected with what's happening in -- in the moment.· And I

25· was able to be blessed with this.· It didn't start with you.


                U.S. Legal Support | www.uslegalsupport.com                  74
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 76 of 132
                           10.28.24 - Larry Reid Live


·1· And I -- I realize wow, Moses was my father.· And you know what,

·2· I'm claiming him.· I -- I -- I made a mistake because I thought

·3· I needed Quander Wilson, Bishop Jakes, Bishop Watkins.             I

·4· could've let those men be draping and curtains and anything they

·5· wanted to be in my life, but God had already given me everything

·6· I needed.

·7· · · · · · MR. REID:· Yeah.

·8· · · · · · MR. YOUNGBLOOD:· And I could just look past Moses and

·9· see the hand of God saying, I'm the God of Abraham, Isaac and

10· Jacob.· I've sent you something and I don't change my mind.              I

11· ain't changing my mind because you got abused.· I'm not changing

12· my mind because you messed up.· I'm not changing my mind because

13· they dropped you, you broke your leg, no, no, no.· I change not.

14· I don't change my mind.

15· · · · · · And so, I'm excited tonight.

16· · · · · · MR. REID:· Yeah.

17· · · · · · MR. YOUNGBLOOD:· I -- I have not known in my lifetime

18· leaders who treated me like I should have been treated no matter

19· what my story was.· But in spite of all of that, God didn't drop

20· me when somebody else did.

21· · · · · · (YouTube ads played.)

22· · · · · · MR. REID:· Absolutely.

23· · · · · · MR. YOUNGBLOOD:· So, I'm -- I'm excited.· I'm excited

24· as you can tell.

25· · · · · · MR. REID:· Yes.· The freedom to tell the truth.


                U.S. Legal Support | www.uslegalsupport.com                      75
                                                                                      YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 77 of 132
                           10.28.24 - Larry Reid Live


·1· That's what I see when I look at you.· And I don't feel anything

·2· that you said was said with any malice.

·3· · · · · · MR. YOUNGBLOOD:· No.· No.· No.

·4· · · · · · MR. REID:· I think --

·5· · · · · · MR. YOUNGBLOOD:· Not at all.

·6· · · · · · MR. REID:· -- I think the names that you call was just

·7· because they're part of the story.

·8· · · · · · MR. YOUNGBLOOD:· That's my story.

·9· · · · · · MR. REID:· Yeah, I -- I don't feel that at all.

10· And -- and you consistently take an ownership for the thing or

11· things that you have done.

12· · · · · · MR. YOUNGBLOOD:· Things.

13· · · · · · MR. REID:· Yeah.· I want to say it -- I want to say

14· something though.· And I'm pretty sure you -- you have something

15· to say about this.

16· · · · · · The -- it's easy for us because of just the climate

17· that we're in to say, right.· Quander Wilson, TD Jakes,

18· Sherman Watkins, you all are filth, yadda, yadda, yadda.· But I

19· just feel like they got a story too.

20· · · · · · MR. YOUNGBLOOD:· That's right.

21· · · · · · MR. REID:· And I think they did what they saw others

22· did.· And I want to say this too, and I got to be careful

23· because I have a name calling spirit too.· This whole can your

24· son drive for me is the oldest trick in the Black church.· It's

25· not use that much today.· But that I know five guys -- when he


                U.S. Legal Support | www.uslegalsupport.com                  76
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 78 of 132
                           10.28.24 - Larry Reid Live


·1· was telling his story and I could call -- do I -- should I call

·2· a name?· I am.

·3· · · · · · There is a particular -- I ain't going to call it a

·4· name, but I'm going to make it so clear when you know who it is.

·5· A prophet that's been a prophet for decades, who was one of the

·6· most leading prophets, prophetic voices who have so many

·7· prophesies on record of things that have came to pass, my mind,

·8· an absolute prophet.· Who was in that age group with

·9· Brian Keith Williams, Bishop TD Jakes made that same error.· And

10· there are three guys, one I'm very close to.· You all pull this

11· clip and send it to him.· Me and a few other preachers who just

12· honored this prophet.

13· · · · · · MR. YOUNGBLOOD:· Mm-hmm.

14· · · · · · MR. REID:· Mine is not direct, it's because

15· somebody -- my mental honors him a lot.· I can say that.· Who

16· did the exact same thing with all three to be his driver.· And

17· one of the ones that you did it to, because I know you

18· listening, told me everything.· And I know this person.· Just

19· like I sense from you, Duane, this person named nobody's a liar.

20· Now, he -- I can say some other stuff.· But he's not going to

21· lie on nobody.· Let me say it like that, because I -- I -- I --

22· he be lying.

23· · · · · · But no, I -- you think I don't know -- I'm like, okay.

24· I'm speaking for my friends a lot.· I mean, because I always

25· know.· And I'm like, why are you lying, I'm not going to do


                U.S. Legal Support | www.uslegalsupport.com                  77
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 79 of 132
                           10.28.24 - Larry Reid Live


·1· nothing to you?· Because I'm going to know your lie and still

·2· smile just like I don't know that yous a liar.

·3· · · · · · But anyway, he asked his mom for him to drive for him.

·4· I'm going to text it to you who it is.· So you -- so you just --

·5· I want you to know who it is.· Let me see.· Where your number

·6· at.· Here it is right here.

·7· · · · · · Do you -- you know this person?· I sent it to you.             I

·8· know you know them.

·9· · · · · · MR. YOUNGBLOOD:· Yes.

10· · · · · · MR. REID:· Okay.· Asked his mom to drive for him.· He

11· was young.· You know, see, they like them young.· When they got

12· the -- when the body's tight and it got that look.· And that

13· same thing.· The first day he violated him.· He put him in his

14· room.· He thought he was in a separate room.· It's -- your story

15· is so -- it's one -- those of you in the chat, I know it's like,

16· oh my God, I can't believe it.· But for me and probably for

17· Duane too, we know so many people with the same story.

18· · · · · · MR. YOUNGBLOOD:· Oh, my.

19· · · · · · MR. REID:· And he got him in his room.· He didn't know

20· him to be in the room.· He did make it on the first time --

21· the -- the first time was two beds.· The next time it was the

22· same bed, one king.· And that time they woke up to him on top of

23· him, grinding, peeing tip to peeing tip.· And came on him and

24· just left him there and went back in the bed.

25· · · · · · The next night called him up in the pool pit with him


                U.S. Legal Support | www.uslegalsupport.com                  78
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 80 of 132
                           10.28.24 - Larry Reid Live


·1· and made him read.

·2· · · · · · (YouTube ads played.)

·3· · · · · · MR. REID:· When he preach.· When he opened the Bible

·4· to read, there was a note saying, I'm sorry for what happened

·5· last night, but we all aren't perfect in -- in the kingdom and

·6· dah, dah, dah, I'm sorry.

·7· · · · · · And that young boy had to read that.· Can you imagine

·8· psychological status of this young boy?· He was a church boy.

·9· · · · · · MR. YOUNGBLOOD:· That's right.

10· · · · · · MR. REID:· Growing up in the church and -- and this

11· powerful prophet comes and --

12· · · · · · MR. YOUNGBLOOD:· That's right.· That's right.

13· · · · · · MR. REID:· And so, he's looking at him like oh my God,

14· you know.

15· · · · · · MR. YOUNGBLOOD:· Yeah.· Yeah.

16· · · · · · MR. REID:· And then this happened.· And to this day,

17· will not -- when I tell you he -- he chose the right one because

18· this person don't talk and will never talk probably.· And I've

19· told them about the other ones.· I don't -- I'm pretty sure he

20· haven't connected with them.· But there are other ones and

21· Brian Corn confront brought it before a prophetic counsel here

22· in Atlanta in 2018 where they were trying to reprimand him, you

23· know, called the wick stuff and the other girls stuff, you know,

24· go Brian (indiscernible) community like his friend Jamal.

25· · · · · · But, you know, and you all know I love corn and I


                U.S. Legal Support | www.uslegalsupport.com                  79
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 81 of 132
                           10.28.24 - Larry Reid Live


·1· don't hate Jamal.· People think I do.· I -- I don't.· I just

·2· tell the story.· He confronted the prophetic counsel and said,

·3· you all at me, but how come you all don't get the prophet whose

·4· name I just sent you.· My --

·5· · · · · · (Simultaneous speaking.)

·6· · · · · · MR. REID:· -- friend.· And he's -- he's talking about

·7· this boy that he had traveled and took him with him everywhere.

·8· I just heard that one of his pieces and I heard this from one of

·9· his friends.· I ain't going to say their name.· That the boy

10· wiped out all his -- the last boy he had took all the money out

11· of the account and left with a -- left (indiscernible.)· I said,

12· good.· There's --

13· · · · · · MR. YOUNGBLOOD:· Nobody gets away.

14· · · · · · MR. REID:· And you say that.

15· · · · · · MR. YOUNGBLOOD:· Nobody gets away.

16· · · · · · MR. REID:· You're saying that.· You -- you don't --

17· you -- nobody gets away.

18· · · · · · MR. YOUNGBLOOD:· Nobody gets away.

19· · · · · · MR. REID:· So, how did you feel when this time last

20· year when there was so much talk about Jakes?

21· · · · · · MR. YOUNGBLOOD:· Well, listen, I --

22· · · · · · MR. REID:· You and Jakes --

23· · · · · · (Simultaneous speaking.)

24· · · · · · MR. YOUNGBLOOD:· I would have probably not said

25· anything about all of this.· I wouldn't have probably felt as


                U.S. Legal Support | www.uslegalsupport.com                  80
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 82 of 132
                           10.28.24 - Larry Reid Live


·1· passionate if I hadn't heard it and watched some of those

·2· videos.· Because I -- I -- I'd be honest with you.· I can

·3· consider TD Jakes.· I consider his humanity.· And I got a lot of

·4· room for his humanity.· My problem is that at some point in your

·5· life you've got to look yourself in the mirror and look at what

·6· you are doing.

·7· · · · · · Listen, this is something that I've watched because

·8· being in Higher Ground, I -- I was a part of planning a lot of

·9· things.· And I met a lot of preachers and talked to a lot of

10· bishops.· Well, let me tell you some of the stuff that I've

11· understood about bishops.

12· · · · · · Depending upon where you are connected, you know how

13· to deal with certain individuals.· So, for instance, if you're

14· Hollywood connected, you understand NDA agreements.

15· · · · · · MR. REID:· Yeah.

16· · · · · · MR. YOUNGBLOOD:· A lot of preachers don't understand

17· that.· And so their stuff gets all out and it'd be everywhere.

18· But I have so much sad information and stories after stories and

19· personal things and emails from individuals who have been around

20· Bishop Jakes or Bishop Watkins and -- and Bishop Wilson and have

21· had these same experiences.· And yet, there has not been a

22· moment where you say, all right, let me go get some therapy, get

23· some help for myself.

24· · · · · · I recall -- and I won't share my -- my brother's

25· story, but my brother has his own story.· But my brother put a


                U.S. Legal Support | www.uslegalsupport.com                  81
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 83 of 132
                           10.28.24 - Larry Reid Live


·1· post out years ago regarding his story and related to TD Jakes

·2· and TD Jakes' whoever, somebody copied the story of my arrest

·3· and hooked it to the story my brother wrote.· And said, it's not

·4· TD Jakes, it's your family.

·5· · · · · · And so, when we get protection -- and I want people to

·6· hear this.· If people keep protecting you, they are setting you

·7· up and you're allowing them to set you up for what always comes.

·8· There's going to be a harvest for every seed.· There's going to

·9· be a cause for every effect.· There's going to be some karma in

10· your life.

11· · · · · · MR. REID:· Yeah.

12· · · · · · MR. YOUNGBLOOD:· It's coming.· And so, I -- I feel

13· horrible listening to some of these stories and just it's --

14· it's so damaging and people to be like, well, what about the

15· church and the -- look, God can handle what God's going to

16· handle.

17· · · · · · MR. REID:· Yeah.

18· · · · · · MR. YOUNGBLOOD:· And none of this going to hurt what

19· God is doing.· But the reality is, this stuff needs to stop.

20· · · · · · MR. REID:· I love.

21· · · · · · MR. YOUNGBLOOD:· This stuff --

22· · · · · · MR. REID:· I'm sorry.· I love the way you said, I have

23· a lot of room for TD Jakes' humanity.· I have a lot of room for

24· his humanity and anybody I've ever discussed in my own.· I don't

25· expect perfection.


                 U.S. Legal Support | www.uslegalsupport.com                 82
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 84 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. YOUNGBLOOD:· No.

·2· · · · · · MR. REID:· I understand how he can end up sleeping

·3· with the secretary.· I understand how she can end up sleeping

·4· with the pastor.

·5· · · · · · MR. YOUNGBLOOD:· Yeah.

·6· · · · · · MR. REID:· And it ain't always somebody's trying to --

·7· somebody is a whore and cheating on their wife.· Things happen.

·8· · · · · · MR. YOUNGBLOOD:· Yes.

·9· · · · · · MR. REID:· And -- and if you're not in that position

10· of the power, influence.

11· · · · · · (YouTube ads played.)

12· · · · · · MR. REID:· You don't understand how that world is.

13· · · · · · MR. YOUNGBLOOD:· No, you don't.

14· · · · · · MR. REID:· And you don't know how people trying to

15· setting you up.

16· · · · · · MR. YOUNGBLOOD:· Yeah.

17· · · · · · MR. REID:· And get you to frock them.

18· · · · · · MR. YOUNGBLOOD:· Yeah.

19· · · · · · MR. REID:· And then turn on you to my -- you fronting

20· me.· Well, hell, you were sending me pictures.· You was --

21· you're doing this, you were doing that.· You know -- you know

22· and I have a pain and it gets hard.· I -- I mean, I -- you know,

23· this is what it is.· And I had a moment or ten.

24· · · · · · MR. YOUNGBLOOD:· Yeah.

25· · · · · · MR. REID:· You know.· So -- but I get that.· I got a


                U.S. Legal Support | www.uslegalsupport.com                  83
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 85 of 132
                           10.28.24 - Larry Reid Live


·1· lot of grace for that.· But what the -- the issue I got, is how

·2· you handled --

·3· · · · · · MR. YOUNGBLOOD:· That's right.

·4· · · · · · MR. REID:· -- when that kind of stuff happens in those

·5· situations, how you move around that.

·6· · · · · · MR. YOUNGBLOOD:· Yeah.

·7· · · · · · MR. REID:· And that is the problem.· And I said this

·8· before.· That's why I was asking how you felt when I started

·9· doing the TD Jakes comp -- coverage, because that's the problem

10· I had with TD Jakes, is how he has successfully buried every

11· story that has ever came out with him because of the brown paper

12· bag filled with the cash and because of him using mega fast

13· potter's house, Potter House North, Potter House formally that

14· was in Denver and every other influence he has and other

15· churches that are mega around the world.· How he's used those

16· stages to pay off those that he sexually violated or those that

17· are coming out talking about him.· He's done it through money.

18· He's done it through cash payments.· He's done it through other

19· pastors, you don't even know it was him, that got you on that

20· stage, but he done that.· And you only know it's him when you

21· try to come at him again, then he's going to say, okay, you

22· remember with that door you went through, that with me.

23· · · · · · That -- that's -- that kind of stuff that makes people

24· like, okay.· You -- and calling you a demon.· But you moving

25· like one.


                U.S. Legal Support | www.uslegalsupport.com                  84
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 86 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. YOUNGBLOOD:· Yeah.· It's very unfortunate because

·2· in my personal story, the news, the -- my -- the way I've dealt

·3· with local, I've chosen to not be pastoring and preaching.· I've

·4· chosen to not do it.

·5· · · · · · MR. REID:· Mm-hm.

·6· · · · · · MR. YOUNGBLOOD:· I felt in my heart of heart, it's a

·7· disservice to people to know that you've got this poison and

·8· things in your heart and in your life and you choose to not deal

·9· with that and instead, you want to go out there and do something

10· for somebody else.

11· · · · · · But when I see people who consistently go through

12· everything possible to cover it up, I -- I really don't feel

13· saddened nor sorry --

14· · · · · · MR. REID:· Yeah.

15· · · · · · MR. YOUNGBLOOD:· -- concerning whatever comes out of

16· all that, because unfortunately, I know -- I know too many

17· stories and too many casualties.· I'm talking about I know.

18· Per -- casualties to that ministry.· And --

19· · · · · · MR. REID:· Yes.

20· · · · · · MR. YOUNGBLOOD:· -- it's unfortunate that it exists

21· like it does exist.· But let me tell you something, not forever.

22· It won't go on forever.

23· · · · · · MR. REID:· Your story of him coming around the desk

24· and kissing you is the exact -- it's -- I wish it was not this

25· way, but there's a pastor, actually, when he tells his story.            I


                U.S. Legal Support | www.uslegalsupport.com                  85
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 87 of 132
                           10.28.24 - Larry Reid Live


·1· don't know if he ever going to tell it publicly.· He might,

·2· because his story is about TD Jakes and Creflo Dollar, because

·3· he was with Creflo Dollar first.· Then he went with TD Jakes.

·4· And he was shocked to find out what he's telling on Creflo, TD,

·5· TD's giving all this love and he's crying.· He get stuff from

·6· the desk and bam.

·7· · · · · · And so, the exact same thing he -- you're alleging he

·8· did to you, this other guy alleges done to him.· And he too,

·9· stopped pastoring for a while and just said, basically F the

10· church for a while.· Now, he's starting to find a way through

11· podcast and some other things to come back.· And he suffered

12· horribly with -- with suicide, depression.· In fact, we're in a

13· pact right now.· If he sent a certain code to me, I answer my

14· phone and I'm there for him.· So that he doesn't, you know, go

15· too dark as he does sometimes.

16· · · · · · And a lot of people -- my people know I do that kind

17· of work behind the scene.· But the people that watch out here

18· don't know that.· Because it's not about saying, oh, this person

19· has done this or this person has done that.· Let me tell you

20· this.· Because there's a fine line as a content creator and as a

21· person that has been abused, but you can sort of start trying to

22· get into this thing the way you ended up turning to your

23· predator and to the person that violated you, because now you're

24· trying to use your story to -- for clicks, likes, money, power.

25· It's the --


                  U.S. Legal Support | www.uslegalsupport.com                86
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 88 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. YOUNGBLOOD:· Yeah.

·2· · · · · · MR. REID:· -- same thing.· It's the same -- you're

·3· turning to your -- your -- the person that violated you.

·4· · · · · · MR. YOUNGBLOOD:· Yes.

·5· · · · · · MR. REID:· So, the fact that you waited all these

·6· years, although you did confront every last one of these

·7· people --

·8· · · · · · (Simultaneous speaking.)

·9· · · · · · MR. REID:· -- but they turned it on you.

10· · · · · · MR. YOUNGBLOOD:· Absolutely.

11· · · · · · MR. REID:· Yeah.

12· · · · · · MR. YOUNGBLOOD:· Yeah.· Turn it on me.· Sent me

13· emails.· Said how shocked they were.· Couldn't believe it.· And

14· in the climate that I was in at the time, again, I -- I was not

15· so different than them.

16· · · · · · (YouTube ads played.)

17· · · · · · MR. YOUNGBLOOD:· So, one of the things that I

18· recognize is that at some point you got to decide there's people

19· listening to us tonight, Larry, who are not so different.

20· · · · · · MR. REID:· Yes.

21· · · · · · MR. YOUNGBLOOD:· But the thing is, you get a chance.

22· I don't think there's no accident that you're hearing this.

23· Somebody's listening to us.· Somebody may hear this on a replay

24· later, a clip of something.· There's no accident because God

25· loves you, the person, you're human.· But I'm telling you, some


                U.S. Legal Support | www.uslegalsupport.com                  87
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 89 of 132
                           10.28.24 - Larry Reid Live


·1· of this stuff that's going on in our churches is because men and

·2· women are taking the place of our parents.· We're divorcing our

·3· families because we're a new creation.· We're divorcing our

·4· families.· We're being taught and told to not eat with them

·5· because they're sinners.· And we're spending all of our time

·6· with the saints and the church.· And we're developing an

·7· unhealthy way of relating.

·8· · · · · · And vulnerable people now are in the church looking

·9· for titles and positions for acceptance.· And what greater

10· acceptance than to sit across the table from a -- a Bishop, a

11· pastor, an elder or whoever --

12· · · · · · MR. REID:· Yes.

13· · · · · · MR. YOUNGBLOOD:· Who can spot that weakness in you and

14· unfortunately use it for a nefarious purpose that's going to

15· take you further down the hill to damage.

16· · · · · · I'm telling you, Larry, I am so thankful to God that

17· I'm able to be here tonight.· Because I know with my story there

18· are people who've committed suicide.· I know people who are

19· locked away for life because they tried to kill somebody or they

20· killed themselves or they killed somebody else or they hurt

21· some -- I -- so many things that happened.· But here, I get to

22· sit and share with you on your platform, such a great

23· opportunity because I was not a good pastor.· I had great things

24· that I did.· I wonderfully wanted to see this church be

25· successful and strong and all that good stuff, but I was not the


                U.S. Legal Support | www.uslegalsupport.com                  88
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 90 of 132
                           10.28.24 - Larry Reid Live


·1· man to do it the way I was.

·2· · · · · · There -- there are people who served me in that

·3· ministry.· I hurt them and I let them down.· And God gives me

·4· the strength every day to get up and say, you know what, I can't

·5· go back and fix all that, but what I can do is make a difference

·6· in somebody's life today.· So it is easy to come on here and

·7· talk about this tonight and to not ever say that any human's

·8· behavior was any worse than mine.

·9· · · · · · MR. REID:· Right.

10· · · · · · MR. YOUNGBLOOD:· But what are you going to do about

11· what you're doing?· And if your trauma is causing you to repeat

12· trauma --

13· · · · · · MR. REID:· Jesus.

14· · · · · · MR. YOUNGBLOOD:· -- stop for a moment.· Consider, get

15· a book -- get the book.· It -- it didn't -- I got this, you

16· know, this book, It Didn't Start With You by Mark.· We'll get

17· something in your life.· So --

18· · · · · · MR. REID:· Okay.· Hold on.· We need to -- It Didn't

19· Start With You by who?

20· · · · · · MR. YOUNGBLOOD:· It Didn't Start With You by Mark

21· Wolynn, W-O-L-Y-N-N.· How inherited family trauma shapes who we

22· are and how to end the cycle.· And he doesn't say -- in his

23· book, he talks about how many times you are living out somebody

24· else's trauma.· It ain't even yours.

25· · · · · · MR. REID:· Yeah.


                U.S. Legal Support | www.uslegalsupport.com                  89
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 91 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. YOUNGBLOOD:· You're just carrying on with -- with

·2· somebody else's.

·3· · · · · · MR. REID:· They were kind of --

·4· · · · · · MR. YOUNGBLOOD:· I'm adding to that.· God was sending

·5· you something through that family.

·6· · · · · · MR. REID:· Yeah.

·7· · · · · · MR. YOUNGBLOOD:· And you don't have to hate them.

·8· You'll pass them to God.· And he will connect you with what good

·9· stuff --

10· · · · · · MR. REID:· Yeah.

11· · · · · · MR. YOUNGBLOOD:· -- is in you.· And I believe that.

12· · · · · · MR. REID:· Listen, so we got that.· Put that book

13· title up.· And then what is the title of your book?· Did you

14· write about all of this?

15· · · · · · MR. YOUNGBLOOD:· Oh, I've written a book, but I

16· haven't released it.

17· · · · · · MR. REID:· Oh, okay.

18· · · · · · MR. YOUNGBLOOD:· I haven't released it because there

19· -- there's a lot in that book.

20· · · · · · MR. REID:· Yeah.

21· · · · · · MR. YOUNGBLOOD:· And I just have -- I haven't decided

22· yet how I wanted to do it, but it's written.· And it's --

23· it's -- it's prepared to go to publisher, but I just haven't

24· decided yet how I wanted to do that.· I'll be very honest with

25· you, Larry, you -- you may -- you don't know this, but I'll say


                U.S. Legal Support | www.uslegalsupport.com                  90
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 92 of 132
                           10.28.24 - Larry Reid Live


·1· this to you.· God shared with me privately that I was emerging

·2· out of a tunnel and that the way to come to my next was to share

·3· my story.

·4· · · · · · You are a person who have made that possible.· I feel

·5· a 1,000 pounds lighter --

·6· · · · · · MR. REID:· Wow.

·7· · · · · · MR. YOUNGBLOOD:· -- tonight.· And this is exactly what

·8· my therapist said would happened.· My mother, McCaskill, she

·9· told me when I got arrested, she said that thing is going all

10· over the country.· But when God brings you out, it's going to be

11· bigger than this story was about you getting arrested.

12· · · · · · MR. REID:· Yeah.

13· · · · · · MR. YOUNGBLOOD:· And -- and I can see it.· I can see

14· it happening.· And I -- I just hope somebody tonight is

15· encouraged to get up when you -- you -- don't die.· Get up.

16· · · · · · MR. REID:· We want to help somebody tonight.· For

17· those are you that need some assistance and you don't have any

18· money.· I want everybody to put this in the chat so nobody

19· misses this.· And this is coming from one of the contractors of

20· the MBN network, who is also a therapist.· It's called Open

21· Path.· And put this link in there, openpathcollective.org.· This

22· is an organization for those who may struggle financially to get

23· services.

24· · · · · · (YouTube ads played.)

25· · · · · · MR. REID:· So you can go to this website and you can


                U.S. Legal Support | www.uslegalsupport.com                  91
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 93 of 132
                           10.28.24 - Larry Reid Live


·1· begin to look for some help.· And it will help you find help in

·2· your area either online, openpathcollective.org.· And that's

·3· for -- that's from the National Institute of Mental Health.

·4· · · · · · Then, the -- well, no, that's from the Open Path

·5· Collective.· Then the National Institute of Mental Health, put

·6· this website in there.· Nimh.nih.gov.· You can go there for

·7· resources as well.· I'm going to give you another one.· Those of

·8· you who are substance abuse and mental health services

·9· administration, here's a website, samh, as you -- come on, you

10· slow.· Samhsa.gov.

11· · · · · · I got three more to give you because I want you to

12· leave here with some resources.· I -- I want you to just think

13· this is just a conversation and there was a little T drop, but

14· it's not the -- the meaning of this T is -- is -- is not just

15· for you to just enjoy.· The Loveland Foundation is a therapy

16· fund.· This is thelovelandfoundation.org.

17· Thelovelandfoundation.org.

18· · · · · · And then, I'm going to give you two more.· One is for

19· Black women and one is for Black men.· The one for Black girls

20· is therapyforblackgirls.com.· Therapyforblackgirls.com.

21· Therapyforblackgirls.com.

22· · · · · · And then the last one is therapyforblackmen.org.

23· Therapyforblackmen.org.

24· · · · · · Now, these are -- all of these resources that you guys

25· can use that could help.· And this is what I'm going to ask you


                U.S. Legal Support | www.uslegalsupport.com                  92
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 94 of 132
                           10.28.24 - Larry Reid Live


·1· to do.· Those of you who are intercessors, I'm going to ask that

·2· you will pray for Duane Youngblood, because this is a very

·3· unique ministry that he has you -- you -- from abused, abuser to

·4· advocate.· Please pray for him.

·5· · · · · · And let me say this, because Bishop TD Jakes name was

·6· mentioned.· It's going to be something I haven't shared, but

·7· because I just talked about while it's public, there -- there's

·8· been some things now they never really did nothing because they

·9· know I can fight back.· And it wasn't my story.· So it was

10· somebody else stories.· And once I tell the story and talk about

11· it, you might get two, three lies, maybe five and that's pushing

12· it.· But you might -- you -- you're going to get at least one

13· lie.

14· · · · · · And I don't know what happens in these -- with these

15· people after they leave me.· I believe some of them paid off.            I

16· believe some of them are given something.· Maybe it's an

17· apology, I don't know.· But often what happens is it's no longer

18· a conversation.· And if it's no longer a conversation for them,

19· it's no longer a conver -- conversation for me, unless, I mean

20· because I got a few thing.· There's a few people sitting in the

21· wings waiting to tell their TD Jakes story, from sexual stuff

22· like this to financial and intellectual property stuff, where he

23· allegedly has stolen some of the -- one of the greatest books

24· he's released.· And Sarah, according to what was said to me and

25· shown to me.· But they're going through the legal route.


                U.S. Legal Support | www.uslegalsupport.com                  93
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 95 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · And once their lawyers say that they can talk to me, I

·2· will bring them up here.· And this is White folk.· So, you know,

·3· it's a whole another ball game.· That's -- that's -- I want

·4· to -- I want to say thank you, Duane, for trusting this platform

·5· with you story.

·6· · · · · · MR. YOUNGBLOOD:· Absolutely.

·7· · · · · · MR. REID:· And knowing that I'm going to handle it

·8· right.· And man -- and you all pray for me too.· I forgot to add

·9· that part.

10· · · · · · And in fact, you can -- I'm going to show you how to

11· pray for me.· You pray for me with $8.88.· That's how you pray

12· for me.· That's your prayer.· Let me -- let me show you how to

13· pray for me.

14· · · · · · And then, Duane, any -- anytime I have a guest,

15· although you want in the studio, I always want to give them some

16· kind of something to get you some -- a sandwich or something,

17· you know.· But just for coming -- coming on.· And so, what I

18· want you to do, and this is tax deductible, whatever you want to

19· donate to this platform, keep us going with stuff like this.

20· You know, sometimes we have to fight back.· And your donations

21· help us do that.· Please put your phone number in the memo

22· section, whatever way you're giving $8.88, if that's too cheap

23· for you, throw a ten, a 20 in front of that $8.88, if you want

24· to.

25· · · · · · But the way you can do it is go into the


                 U.S. Legal Support | www.uslegalsupport.com                 94
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 96 of 132
                           10.28.24 - Larry Reid Live


·1· mbnnetwork.org.· And this is tax deductible.· This is not a sea.

·2· This is a donation tonight.· Just put -- put your phone number

·3· and put LRL behind it, so what -- we'll know what it is.

·4· · · · · · We're going to give you a phone call, pray with you

·5· and the prophet's going to give you a prophetic word.· This is

·6· our way of saying thank you for supporting this ministry.· Venmo

·7· @mbnnetwork.· Pay attention.· Make sure you get the letters

·8· right, because they're -- there are copycats out there.· Cash

·9· App, $mbnnetwork.· Text the word give to 404-800-4530.· You can

10· also Zelle it.· Our email address is info@thembnnetwork.org, not

11· dot com.

12· · · · · · If you download the MBN network, you can process

13· your -- all your donations all the time through Pushpay or you

14· can just go to the link pushpay.com/gforgiven/thembnnetwork.

15· And of course, you can go to the mbnnetwork.org.· Or you can

16· mail it in, 780 Morosgo Drive NE, Suite Number 244 -- 224,

17· Atlanta, Georgia 30324.· Our donation ways never changed.· You

18· can screen shot that.· It's always the same.

19· · · · · · Duane Youngblood --

20· · · · · · MR. YOUNGBLOOD:· Yes.

21· · · · · · MR. REID:· -- we're not going to forget your name.

22· · · · · · MR. YOUNGBLOOD:· Yes.

23· · · · · · MR. REID:· The -- I think I heard your name years ago,

24· but I'm so glad to get to meet you now.

25· · · · · · (YouTube ads played.)


                U.S. Legal Support | www.uslegalsupport.com                  95
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 97 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. YOUNGBLOOD:· Likewise.

·2· · · · · · MR. REID:· And meeting you like this.

·3· · · · · · MR. YOUNGBLOOD:· Yes.

·4· · · · · · MR. REID:· You are an amazing person.

·5· · · · · · MR. YOUNGBLOOD:· Thank you, sir.

·6· · · · · · MR. REID:· You are an amazing person.· And -- and I --

·7· you don't look like what you've been through neither.

·8· · · · · · Now, there's some folks that I know that look like

·9· every drop of what they've been through.· But you -- you

10· don't -- you don't -- you don't look like it.· And you're 57

11· now?

12· · · · · · MR. YOUNGBLOOD:· Yes, sir.

13· · · · · · MR. REID:· And -- and that makes Jakes 67?

14· · · · · · MR. YOUNGBLOOD:· Yes, he is.

15· · · · · · MR. REID:· Right.· Okay.· So -- yeah, because my

16· mentor's 65.· And I think he's two years older than him.· He's a

17· Gemini like my mentor and my dad is.· And Trump.

18· · · · · · So you see all the different types of Gemini's.· Some

19· work with their twin and mature and some get swallowed up by the

20· twin, you know.· Oh, my God.· But -- and this -- and it makes

21· sense.· I mean, it -- it -- it makes sense.· Sometimes you're

22· hidden for a time and then you're released at the right time.            I

23· just believe this is the right time.

24· · · · · · MR. YOUNGBLOOD:· I do too.

25· · · · · · MR. REID:· I'm interested in anything you got to say.


                U.S. Legal Support | www.uslegalsupport.com                  96
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 98 of 132
                           10.28.24 - Larry Reid Live


·1· I -- I -- because you're so honest and you told the truth about

·2· you.· You started the conversation, telling them about what you

·3· did.· I mean, you're one of the good ones for me.

·4· · · · · · MR. YOUNGBLOOD:· Thank you.· I appreciate --

·5· appreciate the platform and the opportunity to share.· I really

·6· do.

·7· · · · · · MR. REID:· Yeah.· All right.· Thank you so very much.

·8· The -- this -- by when we wake up in the morning, they're going

·9· to be tens of thousands of you on Facebook and YouTube.

10· · · · · · Of course, people come to just hear certain people

11· names.· But if they watch the whole thing, they're going to walk

12· away, man, I came for tea and I left ministered to because --

13· · · · · · MR. YOUNGBLOOD:· Yes.

14· · · · · · MR. REID:· -- you really, really touched us on today.

15· · · · · · MR. YOUNGBLOOD:· I'm glad.

16· · · · · · MR. REID:· Let's -- we're going to close out with

17· prayer.· I don't never -- I ain't never done it on my platform.

18· I always do that with my people.· But let's pray.

19· · · · · · Father, in this moment, there's so many people that

20· are here with us, hearing and feeling things that they haven't

21· felt before, haven't felt in a long time.· It's all coming up.

22· And it's the result of Duane Youngblood.

23· · · · · · I ask that the same grace that has been upon him to

24· work through it all and to come through it better will come upon

25· each and every person that is listening to us in this moment.


                U.S. Legal Support | www.uslegalsupport.com                  97
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 99 of 132
                           10.28.24 - Larry Reid Live


·1· That they will be able to walk away from this moment with the

·2· tools and the courage, the energy spirit that they need in order

·3· to work through their it.

·4· · · · · · I thank you that they are growing.· That they are

·5· healing from the trauma and from the fracture.· And that they're

·6· coming into the knowledge and understanding of their most

·7· elevated self and that they're able to take the unresolved

·8· unhealed and deal with it and come forth in their divinity.· And

·9· I thank you that this dynamic, amazing spiritual recovery has

10· happened in the life of the hero.

11· · · · · · MR. YOUNGBLOOD:· Yes.

12· · · · · · MR. REID:· In Jesus name we pray.· Amen.

13· · · · · · MR. YOUNGBLOOD:· Amen.

14· · · · · · MR. REID:· All right.· All right.· So we're going to

15· see you all later.

16· · · · · · Now tomorrow night in patreon, we got Bishop Carlton

17· Pearson's only White begotten son.· And we're going to be

18· discussing healing from harmful theology.· Only in patreon.

19· · · · · · Then on Wednesday, I'm in patreon and we are teaching

20· you how to rewire your brain and your thinking.· I want to see

21· you there hacking your programming and conditioning.· And then

22· understanding rewiring and reconditioning your -- your mind.

23· Okay.· So meet us Wednesday night in patreon.

24· · · · · · And I think what we're going to do, Duane

25· Youngblood --


                U.S. Legal Support | www.uslegalsupport.com                  98
                                                                                  YVer1f
  Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 100 of 132
                           10.28.24 - Larry Reid Live


·1· · · · · · MR. YOUNGBLOOD:· Yes.

·2· · · · · · MR. REID:· I'm going to -- well, text me your Zelle,

·3· but I -- I want to invite you over to patreon to have a more

·4· candid conversation about the whole aspect of the evolution of

·5· your own sexuality and really dealing with your -- your -- all

·6· of the things that people deal with that they can't say --

·7· · · · · · MR. YOUNGBLOOD:· Yes.

·8· · · · · · MR. REID:· -- publicly.

·9· · · · · · MR. YOUNGBLOOD:· Yes.

10· · · · · · MR. REID:· I think -- I think you'll be very good in

11· that conversation.

12· · · · · · MR. YOUNGBLOOD:· I'd be glad.

13· · · · · · MR. REID:· Yeah.· And I think it'll be impactful.

14· There's so many things you said tonight that are like just bam,

15· they're going to be about ten clips going to be on the IG in --

16· in the next week from this conversation, because so -- it was

17· just amazing.· Amazing.· Amazing.

18· · · · · · All right.· Before you all go to bed, make sure you

19· say a little prayer for both of us and stream.· God don't play

20· about me.· You hear what I said?

21· · · · · · MR. YOUNGBLOOD:· He don't play.

22· · · · · · MR. REID:· All right.· I'll see you later.· Stay right

23· there --

24· · · · · · MR. YOUNGBLOOD:· All right.

25· · · · · · MR. REID:· -- Duane.· I'm just going to sign right


                U.S. Legal Support | www.uslegalsupport.com                  99
                                                                                  YVer1f
     Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 101 of 132
                              10.28.24 - Larry Reid Live


·1· off.

·2· · · · · · See you all later.· I love you.· Bye.

·3· · · · · · (End of recording.)

·4

·5

·6

·7

·8

·9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25


                   U.S. Legal Support | www.uslegalsupport.com                  100
     Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 102 of 132
                              10.28.24 - Larry Reid Live


·1· · · · · · · · · · ·CERTIFICATE OF TRANSCRIBER

·2

·3

·4· · · · I, Sarah Albaladejo, do hereby certify that I was

·5· authorized to transcribe the foregoing recorded proceeding; and

·6· that the transcript is a true and accurate transcription, to the

·7· best of my ability, taken while listening to the provide

·8· recording.

·9

10· · · · · I FURTHER CERTIFY that I am not of counsel or attorney

11· for either or any of the parties to said proceedings, nor in any

12· way interested in the events of this cause, and that I am not

13· related to any of the parties thereto.

14

15

16· · · Dated this 17th day of December 2024.

17

18

19· · · · · · · · ___________________________

20· · · · · · · · Sarah Albaladejo

21

22

23

24

25


                   U.S. Legal Support | www.uslegalsupport.com                  101
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 103 of 132
                         10.28.24 - Larry Reid Live

                      58:17               52:12
         $           1997                                            8
                      24:6                        3
 $8,888.88                                                  8/17/18
  11:22                       2         30                   46:7
 $8.88                                   33:7 45:16,        800,000
  11:21 94:11,       20                  17,18 64:8          6:14
  22,23               94:23             30324               8:00
 $mbnnetwork         2002                95:17               9:16
  95:9                18:6,7,15,16      31
                      19:9,11            18:7                        9
         1            21:16 22:16,      36
                      23 24:11           33:7,8,9           9th
 1,000                32:25 65:16        39:18               55:12
  91:5                72:11
 1000                2004
                                                  4                  @
  30:2,4              72:21
 11                  2005               404-800-4530        @mbnnetwork
  33:20 37:15         72:12              95:9                95:7
 12                  2006               404-999-7527
  10:21 49:9          18:5,17            5:5,6
  50:15 53:10,        72:12 73:9                                     A
  12                 2007
                      65:17                       5         a.m.
 13                                                          9:16
  38:8               2014               57                  ability
 14                   19:6               33:4 96:10          4:20 19:3
  39:3,16 40:4       2018
                      79:22                                  48:23 61:23,
 15                                                          24 62:17
  18:10,12           2019                         6
                      10:9                                  Abraham
  19:10,14                                                   43:18,24,25
                     2024               65
  53:17 69:14                                                44:16 75:9
                      58:11,17           96:16
 15-minute                                                  Absalom
                      59:15 74:21       67
  18:14                                                      66:9
                     20s                 96:13
 15-year-old                                                abso-dern-
  18:13 65:17         29:17
                                                            lutely
 16                  22                           7
                                                             12:9
  47:9 48:12          33:2
                                        70                  absolute
  50:3 53:13,        224                                     30:8 58:8
  18                  95:16              64:13
                                        71                   62:21 69:18
 17                  24                                      77:8
  4:20 19:1           58:5               63:25
                                        780                 absolutely
 18                  244                                     4:21 11:13
  54:1 56:9           95:16              95:16
                                                             17:25 20:11
  58:17 73:18        25                                      26:1 35:25
 19                   64:14                                  53:11 59:1
  54:1 56:9          2:00                                    62:25 65:13,


              U.S. Legal Support | www.uslegalsupport.com                  ·1
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 104 of 132
                         10.28.24 - Larry Reid Live

  14 68:24           activity            64:14 74:19         25
  70:1,10              32:9              77:8               answers
  75:22 87:10        actor              agreed               57:12
  94:6                 3:3               48:4 68:25         antennas
 abuse               add                agreements           68:5,6
  5:18,19 13:9         94:8              81:14              anymore
  14:23 16:1         adding             ah-huh               6:25 52:22
  37:21 40:18          67:23 90:4        25:20 33:3         anytime
  50:3 59:10,        address             45:8                94:14
  22 64:8              95:10            ahead               apology
  74:17 92:8         adjoining           12:16 13:24         93:17
 abused                51:17             17:14 26:6         apostle
  14:3,5,13,         administratio      AI                   47:25 62:4
  14,21,23           n                   6:23 9:22           66:7
  15:11,12,25          92:9              10:4               app
  16:1,12                               alerts
  58:19 59:17,       admit                                   5:9 95:9
                       28:4              7:2,3              apparently
  18 64:9,14
  75:11 86:21        ads                aligning             54:15
                       4:23 5:10         9:13               applauding
  93:3
                       9:4 12:2         alike                26:18
 abuser
  14:4,5,12,21         15:1 17:22        23:11              approach
                       21:17 25:5       allegedly            3:22
  15:4,10,25
  16:12 59:10          29:11 33:17       93:23              approximately
                       37:14 40:24      alleges              64:8
  74:17 93:3
                       44:13 48:1        86:8               area
 abusers               51:10 55:15
  14:14                                 alleging             67:15 92:2
                       58:15 62:9        86:7
 abuses                66:5 70:15                           Armando
  26:11                                 allowed              10:1,2
                       75:21 79:2        63:2
 abusing               83:11 87:16                          arms
  39:4 64:10                            allowing             34:23 57:3
                       91:24 95:25
 accept                                  51:19 82:7         array
                     advocate
  4:21                 15:25 16:1,      Almighty             3:21
 acceptance                              27:25              arrest
                       13 22:9
  88:9,10              59:11 93:4       amazing              18:18,19
 access                                  9:14 31:23          82:2
                     affect
  3:15 10:14           40:4              59:8 96:4,6        arrested
                                         98:9 99:17          12:25 13:5
 accident            African
  87:22,24                              Amen                 18:5,17
                       26:10
 account                                 98:12,13            72:12 91:9,
                     age
  80:11                18:8,12,23       American             11
                                         3:7 26:10          arrogance
 accused               33:19 37:23
  13:13 59:17          38:5 39:15       angle                62:21
 acknowledged          47:9 48:12        69:17              articulated
  20:7                 50:3,15          angry                34:11,17
                       53:10,12,13       66:12               35:7
 actions
  45:9                 54:1 56:10       anointed            articulating
                                         34:6 58:24,         40:22


              U.S. Legal Support | www.uslegalsupport.com                  ·2
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 105 of 132
                         10.28.24 - Larry Reid Live

 artist              Awards             bam                  40:16 47:1
  3:2                 50:16              86:6 99:14          53:7 68:6
 asleep              aware              based               begin
  49:12,13            24:22              3:4,9               5:22 6:6
  69:5,6             awesomely          basically            92:1
 aspect               45:21              86:9               begins
  16:17 99:4                            basket               71:19
 Assemblies                  B           61:12              begotten
  67:8                                  bathroom             98:17
 assistance          baby                23:19,20           behavior
  91:17               11:8               57:11               27:22 89:8
 assistant           back               bathtub             behaviors
  41:20 46:14         7:6 10:6,7,        26:23 57:15         26:12
  68:17               11 12:17           62:21              belief
 Athens               13:1,5 18:16      Baton                24:5
  11:7                20:9,10            11:10              believable
 Atlanta              24:22 28:16       beach                61:21
  3:4,5,10            31:7 33:5          71:24              believing
  11:8 79:22          36:12,17          bear                 61:25 62:7
  95:17               39:8,11 42:1       14:11              bell
 Atlantic             46:22 47:6,       beard                5:5
  52:7                16,17 48:2,        67:4               bend
 attention            5,6 49:14,        beautiful            60:13
  22:19 29:21         15,22,23           48:7               beneath
  46:15 95:7          50:10,11          bed                  38:10
 attract              52:16,20           29:20 38:22
                      56:3,7,8,22                           benefit
  35:16                                  39:4,6              74:2
 attracted            58:11,23           48:11,16,24
                      63:16 64:23                           bet
  33:16,18                               57:8 69:5           3:6 70:13
  45:25               70:23 72:1         71:19,24
                      73:16,19,21,                          bet.plus.
 attraction                              78:22,24            3:8
                      22 74:23           99:18
  35:12               78:24 86:11                           bi
 attractive           89:5 93:9         bedroom              23:19
  72:22               94:20              38:9,10,11,        bible
 August                                  25 48:10            12:5,6 19:25
                     bad                 52:20
  69:21               7:4 13:20                              20:2 79:3
 author               19:16 42:22       bedrooms            bibles
  3:3 10:2                               48:10               28:18
                     bag
  42:8                48:15 84:12       beds                big
 authority                               78:21               48:7,10,11
                     Bahamas
  41:18 74:5,         71:1 72:5         befriended          bigger
  11                                     55:9                91:11
                     ball
 auto                 94:3              began               biggest
  22:16,22                               8:19 9:24           39:15 48:11
                     Baltimore           10:1 12:22
 awakened             11:8 51:9,11                          birthday
  49:3                                   13:8,20 19:6
                                                             55:11,12,22
                                         34:21 37:19


              U.S. Legal Support | www.uslegalsupport.com                  ·3
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 106 of 132
                         10.28.24 - Larry Reid Live

 birthing            board              Brimar              Bye
  44:21               17:4,5             50:16               100:2
 bisexual            body               bring
  22:3                34:15              94:2                        C
 bishop              body's             bringing
  8:11,12             78:12              45:2,6             California
  10:13 26:18        bold               brings               11:7
  37:2,4,25           15:8 16:9          91:10              call
  38:1 42:2          book               broad                3:17,18 6:4
  47:5,10             26:8,21 42:9       50:1                13:24 26:12
  48:13,18            65:8 89:15,       broader              40:10 46:11
  49:19,21            16,23 90:12,       41:10               51:2 60:1,24
  53:16,23            13,15,19          broke                62:21 67:17
  54:9,10,15,        books               75:13               76:6 77:1,3
  17,21 55:1,         93:23                                  95:4
                                        broken
  4,5,10 56:23       boxes                                  called
  58:3,7 60:24                           4:6 38:17
                      64:12             brother              6:3 7:16
  61:8,10 62:4                                               11:21 26:8
  63:7 66:8,         boy                 8:13 38:6
                      33:25 39:14        45:10 46:10,        34:25 50:16
  11,15,25                                                   51:21 66:3,
  67:11,17            40:18 62:23        11,19 63:7
                      79:7,8 80:7,       81:25 82:3          15 70:23
  68:8,12,13,                                                71:15 78:25
  14,15,20            9,10              brother's
                     boys                81:24               79:23 91:20
  69:13,16,21
                      33:25 73:2        brought             calling
  70:2 71:5
                     brain               15:3 19:20          9:10 26:18
  72:14 75:3
                      64:15,17           28:16 54:10,        69:20 76:23
  77:9 81:20
                      69:8 98:20         12 79:21            84:24
  88:10 93:5
  98:16              Brazil             brown               Canada
                      73:1               84:11               11:11
 bishops
  65:21 81:10,       bread              BRYANT              cancer
  11                  61:11              4:16                27:25
 bit                 break              build               candid
  14:19 49:16         59:7               62:15               99:4
  50:11 67:21        breakdown          building            car
 Bitcoin              3:23               11:20 62:16         48:3 49:20
  9:23               breath              74:20               55:23,25
                      28:1,2 50:7       bulletproof          56:22
 black
  12:23 13:6         breathe             11:17              care
  15:16 27:2          37:9              buried               32:13 35:16
  43:21 61:17        Brian               53:3 84:10          39:21 40:13
  76:24 92:19         49:18,19                               56:5 57:20
                                        Business             62:22 69:2
 blank                54:2,3,5,13        3:7
  45:5,6              61:10 77:9                            careful
                                        busy                 76:22
 blessed              79:21,24           63:20
  12:8 15:23         bridge                                 cares
                                        buy                  59:2
  74:25               40:7               29:20



              U.S. Legal Support | www.uslegalsupport.com                  ·4
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 107 of 132
                         10.28.24 - Larry Reid Live

 Carlton             charm               32:4 41:17,        climate
  8:12 10:12          37:3,4             21 43:21            76:16 87:14
  98:16              chat                45:22,24           climbed
 Carltons             7:11,12            46:1,3 47:3,        48:24 69:5
  8:11                14:17 45:1,        10 49:23           clip
 carry                11 46:10           52:11 54:10,        25:17 77:11
  27:20               54:2 61:10         11,12,19,21,        87:24
 carrying             78:15 91:18        23 55:1,18         clips
  19:23 25:3         Chattanooga         56:5 58:1,2         99:15
  90:1                11:6               63:8,12            close
 cash                cheap               65:24,25            55:10,17
  84:12,18            94:22              66:3,14             77:10 97:16
  95:8               cheating            68:15,24
                                                            clothes
                      83:7               69:1 76:24
 casualties                              79:8,10             38:25 48:15,
  85:17,18           checks                                  18,24 71:19,
                                         82:15 86:10
 catapulted           64:12              88:6,8,24           24
  44:5               chest              churches            cloudiness
 catch                34:22                                  64:23
                                         52:8 84:15
  3:6,19             Chicago             88:1               club
 causing              11:16,17          circle               23:17,19
  89:11              chief               28:16              clue
 celebrated           47:25 62:4                             24:14
                                        citizens
  4:16 46:20          66:7               12:10              coaches
 celebrating         child              city                 3:24
  32:3                37:24                                 coaching
                                         10:18,19
 Center              children            11:23 24:25         3:17
  63:24               43:5 64:9          50:16 52:7         coast
 chance              chills              54:9                11:9
  9:2 87:21           25:7              CJ                  code
 change              choose              12:9                86:13
  14:5,15,22          4:18 7:7          claim               Collective
  15:7,25             21:24 85:8         27:4                92:5
  24:13 59:11        chose              claiming            Columbia
  75:10,13,14         4:8 79:17          75:2                11:15
 changed             chosen             clapping            Columbus
  11:13 24:10,        85:3,4             26:18               11:25 47:16,
  14 48:24           Christine                               17 48:5
                                        class
  95:17               51:2               19:25               66:25 71:2
 changing            church                                 comedic
                                        clear
  75:11,12            3:5 4:24           33:14 60:9          3:1
 Chapman              12:24 13:5         77:4               comfortable
  7:20                20:1 22:5                              26:16,17
                                        clicks
 charge               23:10,11,12        86:24               70:4
  8:7 13:8            24:18 25:22                           comforting
                      26:10 27:2,       cliff
  18:6,17                                                    68:2
                      25 28:5,7          58:21
 charged                                                    commentator
  12:25 18:20         29:23 30:13                            3:2


              U.S. Legal Support | www.uslegalsupport.com                  ·5
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 108 of 132
                         10.28.24 - Larry Reid Live

 committed           connected           18:21,24           country
  72:11 88:18         5:3,9,24           19:2,21 20:3        91:10
 common               69:19 74:24        22:12,15           couple
  38:10               79:20 81:12,       24:3 25:19          30:11
 communicating        14                 32:22 47:14        courage
  17:23              conquering          64:22 92:13         98:2
 communication        36:9               93:18,19           Courtney
  17:10              considered          97:2 99:4,          7:20
 community            21:20 70:16        11,16              courts
  9:20 15:16         consistently       conversations        27:17
  44:15 79:24         76:10 85:11        13:18,25           cousin
 comp                contacted           20:22 21:4          9:18 11:19
  84:9                68:12,14           24:2 72:4
                                                            cover
 competition         content            convicted            25:11 27:24
  50:16,18,20,        7:9 10:25          13:14 14:18         32:8 85:12
  21                  86:20              17:4 18:4
                                                            coverage
 complete            continuation       convince             84:9
  19:16               74:18              55:23
                                                            craft
 complex             continue           coordinator          63:5
  25:2 37:20          16:16              51:14,19
                                                            crash
 concern             continuously       copied               60:20
  69:18               67:23              82:2
                                                            craziness
 concluded           contract           copy                 26:16
  39:16               30:25              5:1
                                                            crazy
 conditioning        contractors        copycats             6:12 19:25
  9:8 98:21           91:19              95:8                27:20 40:16
 conditions          control            corn                 57:7
  17:15               72:3               79:21,25           create
 conference          controlled         corner               46:15
  32:3 51:9           6:22               66:10              creation
 conference's        controversial      correct              88:3
  51:15               3:21               16:18 43:7         creator
                     conver              67:9                86:20
 conferences
  68:18               93:19             corruption          Creflo
                     conver-dern         18:21               86:2,3,4
 confront
  79:21 87:6          36:25 37:6        could've            crime
                     conver-dern-        75:4                13:13,14
 confronted
  80:2               sation             counsel              14:19 18:3
                      36:21,22           29:19 79:21         20:12
 confused                                80:2
  49:23              conversation                           Cristal
                      5:17,20,22,       counseling           14:25
 congregation
                      24 6:1,8           18:7               Critic
  18:8 19:17
  21:7 24:24          8:16 9:13,        counselors           4:24
                      14,25 10:18        3:24               critical
 connect
  32:10 47:2          12:14 14:8        count                24:9
  68:11 90:8          15:10,23           64:5               cross
                      16:2 17:10                             40:6 74:15


              U.S. Legal Support | www.uslegalsupport.com                  ·6
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 109 of 132
                         10.28.24 - Larry Reid Live

 crossed             darkness           decorated           Detroit
  18:12,13            70:3               67:25               11:9
 crying              darn               deductible          devastating
  38:13 56:13         36:24 37:5         94:18 95:1          53:19
  86:5               day                deep                devastation
 crypto               19:24 24:17,       22:20 26:11         62:25
  9:23                18 31:11          degree              developing
 currencies           38:18 47:7         34:19               88:6
  9:23                57:5,21           delivered           devil's
 current              78:13 79:16        21:1                22:9
  10:10               89:4              demon               diamonds
 curtains            days                84:24               44:9
  75:4                8:8 9:15          Denver              die
 cuss                 38:21 39:6         84:14               26:23 91:15
  35:4                47:11             Depending           died
 cussing             dead                81:12               26:22 57:4
  12:16               73:12,17,19       deposit              60:23,24
 cut                 deafening           60:17               61:3,4,14,15
  67:25               41:13             depression          dies
 cycle               deal                86:12               62:5
  64:8 89:22          41:18 67:13       Derek               difference
                      74:15 81:13        7:20                34:6 89:5
                      85:8 98:8                             digital
         D            99:6              dern
                                         36:24 37:7,8        3:19 5:13
                     dealing                                dining
 dad                                    describe
                      99:5                                   56:12
  38:8,24                                38:16 41:13
                     dealt               51:4               direct
  39:7,13
                      34:12 85:2                             77:14
  41:12,20                              deserve
  42:14 46:13,       dearly              47:22              direction
  17 47:12,14,        38:3                                   21:19
                                        desire
  18 49:7 53:2       death               73:20              discourse
  62:3 63:4,8         51:4                                   56:21 68:7
                                        desires
  66:7,11,15         decades             64:18              discuss
  69:20 96:17         44:24 77:5                             8:19
                                        desk
 dah                 decide              85:23 86:6         discussed
  42:2 79:6           87:18                                  9:24 82:24
                                        destroyed
 damage              decided             73:22 74:7         discusses
  26:20 58:8          55:10 56:1                             3:20
                                        destroys
  88:15               67:17 70:24
                      90:21,24           58:22 60:21        discussing
 damaged                                destructive          8:14,19 9:5,
  49:24              decision                                6,7 35:10
                                         18:14 41:14,
 damaging             17:5 20:4                              98:18
                      40:6 57:22         17 58:8
  50:6 58:9                             detail              dislike
  82:14               65:24 72:12
                                         14:11               35:24
 dark                decisions
                                        detriment           disqualifying
  70:3 86:15          63:1
                                         67:10               26:12



              U.S. Legal Support | www.uslegalsupport.com                  ·7
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 110 of 132
                         10.28.24 - Larry Reid Live

 disservice          driver             earshot             encounter
  85:7                77:16              47:13               60:20
 divine              driver's           Easton              encourage
  9:13                47:9 53:17         11:12               58:22
 divinity            driving            easy                encouraged
  98:8                48:6 57:6          76:16 89:6          91:15
 divorcing            61:20             eat                 end
  30:23 88:2,3       drop                55:22,25            12:21 30:24
 DNA                  75:19 92:13        56:1,2,7            48:11 64:9
  43:23 44:2          96:9               88:4                67:12 83:2,3
 document            dropped            Edna                 89:22 100:3
  7:16                48:20 75:13        69:22              ended
 documentary         dropping           educational          46:23 86:22
  6:2,4,5 7:14        34:14              10:8               endorsement
 Dollar              drove              effect               54:16
  86:2,3              48:5 49:16,        27:17 82:9         ends
 donate               23 56:6           elbowing             52:19
  94:19               66:17 71:2         66:11              enemy
 donation            drugged            elder                44:11
  95:2,17             4:19               49:18 54:25        energized
 donations           drugs               57:13 88:11         47:6
  94:20 95:13         27:19             electric            energy
 door                Duane               9:12,25             10:4 98:2
  48:17 84:22         16:5,7,25         Elena               engage
 dot                  28:12 34:7         12:11               6:16,17 7:9
  95:11               44:8 46:16        elevated            enjoy
 download             57:13 65:1         98:7                92:15
  5:8 95:12           73:24 77:19       Ellis               enjoyed
                      78:17 93:2         13:21               15:12,14
 downstairs           94:4,14           else's              entered
  52:3,4              95:19 97:22
 drama                                   14:3 89:24          38:17
                      98:24 99:25        90:2
  42:14 44:20                                               Enterprises
                     Dubai              email                3:4
  58:5                9:25               12:21 95:10
 draping                                                    entertainers
                     ductwork           emails               3:12
  75:4                38:10
 drawn                                   81:19 87:13        entertainment
                     dwell              emerging             3:20 5:13
  34:5 35:13          63:17              91:1
 dreams                                                     entire
                     dynamic            Emmanuel             17:3,19
  61:3                98:9
 drink                                   38:2 47:4           24:13 73:9
  13:24                                  54:11 66:1,        entrepreneurs
 drive                       E           23 67:1             3:12
  39:7 47:13,                           empowering          equal
  18 55:23,25        early               10:9                34:4
  76:24 78:3,         19:24 29:17       emulate             erected
  10 95:16           earning             67:5                36:14
                      45:18


              U.S. Legal Support | www.uslegalsupport.com                  ·8
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 111 of 132
                         10.28.24 - Larry Reid Live

 error               exerting           face                fathers
  77:9                46:23              56:18               43:22
 essence             exhausted          Facebook            favor
  66:12               45:14              5:4 6:12,15         10:15
 estate              exhausting          7:7,24 8:1,        favorite
  9:24                65:10              9,10 97:9           5:13 11:5
 etched              exist              facility            favorites
  69:8                85:21              50:17               71:4
 Ethereum            exists             fact                fear
  9:23                85:20              29:21 34:2          38:16,19
 eulogy              exit                50:5 64:5           39:4,5
  38:3                56:25              86:12 87:5          48:20,22
 Europe              expect              94:10               68:1,5
  71:22               82:25             factor              fearful
 evangelist          experience          64:13               46:14
  51:2,3 52:1         18:15 21:5        failed              fears
 evenings             23:7 49:7          39:16 40:11         40:15
  3:19                59:11             failure             February
 events              experienced         27:9 40:14          73:9
  50:18               53:10 60:12       Fairview            feel
 eventually           64:20              11:12               4:11 5:24
  38:20 57:23        experiences        fall                 7:23 9:1
  69:12 71:18,        16:19 81:21        49:13               21:23 22:8
  21 72:16           experts            families             26:16,17
 everybody's          10:12              88:3,4              30:19 31:9
  15:5 26:20         explain            family               35:2,4 40:19
 evolution            12:22              4:2,11 23:16        42:21 50:8
  99:4               explained           24:18 44:12,        59:14,16
                      68:13 72:17        21 45:3,5,6         76:1,9,19
 evolved                                                     80:19 82:12
  31:19              explore             52:10 58:7
                                         82:4 89:21          85:12 91:4
 exact                34:24 53:7
                                         90:5               feeling
  26:4 52:24         exploring                               49:25 63:10
  77:16 85:24         21:1              fashion
                                         4:13                70:7 74:7
  86:7               express                                 97:20
 examination          22:18             fast
                                         34:13 35:13        feels
  4:25               extremely                               40:13 59:9
 exchange             53:18 58:9         84:12
                                        father              Felicia
  23:5               eye
                                         37:25 38:2          7:21
 exchanges            66:10
                                         42:6,14            fell
  65:18              eyes                                    69:5
                                         43:23 46:14
 excited              23:20              47:12,21           felt
  12:11 31:18                            48:21 56:14         22:24 33:22
  70:25 75:15,                           66:13,18            48:21,22
                             F
  23                                     67:6 72:19          51:24 56:9
 exciting            f-ing               74:5 75:1           65:25 73:19
  47:24 48:4          35:4               97:19               80:25 84:8


              U.S. Legal Support | www.uslegalsupport.com                  ·9
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 112 of 132
                         10.28.24 - Larry Reid Live

  85:6 97:21         fog                Fountaineblea       funny
 female               64:23             u                    11:3,4,6
  50:20              folk                 71:3              future
 fight                94:2              fracture             9:10,12
  93:9 94:20         folks                42:14 98:5         31:24 39:24
 figure               73:4 96:8         free                 43:4 63:18
  21:2               follow               21:1,4,8          futurist
 filled               6:15              freedom              9:12
  40:17 84:12        fond                 75:25
 filth                54:4,5            Fresno                       G
  76:18              fondled              11:7
 finally              4:12              Friday              gain
  56:15,21           fool                 3:19 9:18          3:15
  57:8                23:9              Fridays             game
 financial           foot                 4:1 39:2           21:9 94:3
  4:1 93:22           39:6              friend              Gangster
 financially         forever              23:16 30:8         3:7
  91:22               85:21,22            55:16 79:24       garage
 find                forget               80:6               67:24
  7:17 24:7           95:21             friends             garbage
  32:10 42:12        forgive              5:16 13:25         58:24
  86:4,10 92:1        42:13               30:1,4,10,21      Gastonia
 fine                forgot               77:24 80:9         11:6
  68:23 86:20         31:8 94:8         friendship          gave
 finish              form                 62:16              19:2 51:7
  8:20                4:12 21:19        frock                54:15 71:10
 finished            formally             83:17             Gemini
  64:15               84:13             front                96:17
 firsthand           forming              49:21 94:23       Gemini's
  23:15               64:15             fronting             96:18
 fit                 forms                83:19             gender
  4:22 9:9,11         64:17             frustrating          20:25 21:7
 fits                forward              58:13              22:2 23:10,
  22:6                31:18,19          frustration          12 34:1,18
 five/six             40:20 63:1          32:8,9            genealogy
  13:4                69:14             frustrations         43:24 44:9
 fix                 found                40:8              genitalia
  89:5                8:1 12:24         full                 49:3
 fixed                15:14 26:9          54:22             genitals
  43:8                31:19 43:10       fully                71:23
 flew                 52:17 56:15         64:7              gentlemen
  71:2               Foundation         function             16:4
 flipped              92:15               32:6,8            Georgia
  73:6               founder            fund                 3:4,10 11:7,
 Florida              3:3                 92:16              8,12 95:17
  11:10,16                              funded              get along
                                          3:11


              U.S. Legal Support | www.uslegalsupport.com                  ·10
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 113 of 132
                         10.28.24 - Larry Reid Live

  68:22               27:25 30:20       gray                  77:10 92:24
 gift                 32:20 41:25        67:4
  25:21 26:13         43:12,17,24       great                        H
  30:23 60:19         44:4,16,18,        10:5 30:8
  63:2                20 45:2,5,20       40:9 68:1          hacking
 gifted               50:9 58:19         88:22,23            9:7 98:21
  34:6                59:2 60:19        greater             Hacode
 gifting              73:13 74:12,       38:1 47:4           7:21
  26:3                13,14 75:5,        54:11 66:1,
                      9,19 78:16                            half
 gifts                                   23 67:1 88:9        20:1 27:5
  25:18               79:13 82:15,      greatest
                      19 87:24                              halfway
 Giles                                   93:23               61:20
                      88:16 89:3        green
  56:4                                                      hall
                      90:4,8 91:1,       12:13 16:8
 girls                10 96:20                               48:11 50:17
  79:23 92:19                           grew                Halloween
                      99:19
 Giselle                                 38:1                72:16
                     God's
  11:14               58:25 73:14       grievous            hallway
 give                                    17:12               38:12
                      82:15
  9:2 15:21                             grinding            hand
                     gold
  24:21 29:20         44:10              78:23               15:11 68:17
  34:16 57:19        good               gripped              75:9
  59:7 62:12,                            40:11              handle
                      6:9 16:5
  24 64:18            24:24 30:21       grips                82:15,16
  70:13 71:16,                           74:22               94:7
                      51:25 69:10,
  20 92:7,11,         13 70:24          Ground              handled
  18 94:15                               67:8,12
                      80:12 88:23,                           84:2
  95:4,5,9            25 90:8 97:3       69:15,16           hands
 giving               99:10              72:13 81:8          15:16 49:3
  7:25 12:8                             group
                     goodness                               happen
  43:12 44:19         56:22              77:8
  65:11 68:12                                                23:23 41:8
                     grace              growing              50:23 53:22
  69:15 71:9                             60:19 79:10
  86:5 94:22          84:1 97:23                             62:8 64:15
                     graduation          98:4                73:3 83:7
 glad                                   guarantee
  43:7 47:23          54:3,6                                happened
                     grandfather         27:9                4:20 5:23
  49:21 73:23                           guest
  95:24 97:15         46:13,24                               12:20 18:6
                      63:5               12:13 94:14         19:9,14 24:4
  99:12
                     grandma            guideline            29:25 30:15
 gladly                                  19:5
                      36:5                                   32:24 39:19
  16:20
                     grandmother        guy                  41:16 46:21
 global                                  13:19 40:12         51:1 52:6,13
  12:9,10             46:16
                     grandparents        70:1 86:8           53:2,15 54:2
 gloss                                  guys                 58:2 60:24
  35:12               46:15
                                         7:3,9 10:19         66:22 72:2
 god                 grateful
                                         12:15 13:23         79:4,16
  4:14 16:15          17:18 30:11
                                         34:10 50:4          88:21 91:8
  24:6 26:19                             53:6 76:25          98:10


              U.S. Legal Support | www.uslegalsupport.com                  ·11
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 114 of 132
                         10.28.24 - Larry Reid Live

 happening           healthy             11:8,19             54:19 56:7,8
  8:6 20:1            21:19              12:4,11             57:6,8,12
  38:23 41:13        hear                51:22               61:20 66:17
  45:8 53:7           13:21,22          hidden               67:19,20,22
  74:4,24             14:3 15:3          73:13,14           homosexual
  91:14               37:4 38:12,        96:22               20:4,5,8
 happenings           20 47:8,23        hide                honest
  70:4                51:12 57:14        73:14               13:11,14,19
 happy                58:20 73:20       higher               14:1 24:19
  46:19 48:25         82:6 87:23         25:24 64:3          81:2 90:24
 hard                 97:10 99:20        67:8,12             97:1
  23:14 24:23        heard               69:14,16           honestly
  36:15 83:22         13:13 14:16,       72:13 81:8          13:14 22:14
 harm                 17 16:8           highlight           honored
  44:18,21            34:11 38:13        7:14 59:17          77:12
  45:2,6 58:24        47:24 58:12,      highly              honors
 harmful              13 68:22           29:9 47:6           77:15
  8:13,16             80:8 81:1         hilarious           hooked
  98:18               95:23              11:5                82:3
 harms               hearing            hill                hooking
  43:1                39:2 47:13         88:15               23:13
 harvest              87:22 97:20
                                        history             hope
  82:8               heart               21:3                21:22 61:3
 Harvey               8:8 42:7,11,                           62:7 91:14
                      12,18 48:20       hit
  55:19,20                               5:5 6:10,13,       horrible
                      56:13 85:6,8
 hate                                    14,16,17,19         46:5 82:13
  36:2,4,5           heightened          8:10 11:23         horribly
  51:23 80:1          40:1               12:15,16,17,        86:12
  90:7               held                18
                      25:24 50:17                           host
 he'll                                  hitting              5:12 66:3
  44:12              hell                6:11               hosting
 head                 12:7,9 83:20      hold                 50:18
  8:8 31:7           helped              8:7 58:23
                      31:23,25                              hot
  49:10,15                               89:18               70:8
  72:5 73:12         helping            Hollywood           hotel
 heal                 14:4 24:20         81:14
                      25:15 68:19                            51:15,16
  8:16                                  holy                 69:2,4 71:3,
 healed              Henderson           70:1                10
  63:12               12:5,6            home                hour
 healing             hero                19:24 38:6,         20:2 48:17
  8:14 14:2           98:10              7,17 40:17          49:2
  42:8 43:20         hesitation          41:8,19            hours
  44:5 45:7           57:16              48:3,7,8            10:21 34:20
  98:5,18            heterosexual        49:11,23,24         56:13 58:5
 health               35:17 36:1         52:9,11,16,        house
  92:3,5,8           hey                 18,19,21            12:16 18:19
                      10:20,25           53:13,18            40:17 41:4


              U.S. Legal Support | www.uslegalsupport.com                  ·12
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 115 of 132
                         10.28.24 - Larry Reid Live

  56:4 57:8,25       identify            19                 intercessory
  61:20 84:13         8:15              influence            9:17 10:24
 Houston             identity            14:22 83:10        interest
  12:4 26:21          21:20              84:14               40:1
 hover               IG                 info@               interested
  7:6                 99:15             thembnnetwork        13:16 28:25
 HUCKS               ignorance          .org                 96:25
  4:17                63:2               95:10              interesting
 huge                imaginable         information          13:11 15:20
  42:4                58:2               19:16 22:10         33:12,13
 human               imagination         45:15 81:18         46:10
  29:12 31:17         41:16             informed            internal
  40:17 44:6,        imagine             3:22                24:5 53:4
  7,8 73:22           40:12 56:9        inherited           interpreting
  87:25               58:20 79:7         89:21               39:12
 human's             immediately        initial             intrigued
  89:7                51:22,24           46:20               13:12 14:9
 humanity             68:1              initially           introduced
  38:4 42:1          impactful           38:16               16:4
  81:3,4              99:13             insecurities        invest
  82:23,24           important           26:11               11:20
 humans               12:22 13:7        inside              investigated
  6:23 27:4,5,        29:14,15           4:1 8:11            72:15
  6 44:4              35:10 44:17        12:24 66:2         investment
 humiliating         improperly         inspirational        9:24 10:21
  58:2                4:8                10:9                11:23
 humorous            inability          inspire             investments
  3:21                27:13              14:4,14             9:25 10:4
 hurry               inappropriate      inspired            investors
  31:21               19:19              3:22                12:10
 hurt                incident           instance            invite
  49:1,23             28:24 32:24        81:13               99:3
  66:18 73:21        including          instances           invited
  82:18 88:20         59:18              65:21               51:14 54:6
  89:3               independent        Institute            67:19
 hurtful              67:16              92:3,5             involved
  58:18              Indianapolis       intellectual         28:21 50:24
 hurting              11:6               93:22              inwardly
  74:9               indiscernible      intending            19:20 22:2
 hurts                12:3 55:3          44:4                40:13 41:14
  26:11               70:1 79:24        intentional          56:15 63:10
                      80:11              64:10               67:14 71:16
         I           individual         interactions         74:6
                      18:8,14,22         53:6               Isaac
 idea                individuals        intercessors         43:18,24
  66:19,20,21         17:10 30:9         93:1                44:16 75:9
                      64:9 81:13,


              U.S. Legal Support | www.uslegalsupport.com                  ·13
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 116 of 132
                         10.28.24 - Larry Reid Live

 issue               Jesera's           Keith               knew
  84:1                34:12              49:18,20            4:9 19:21
 issues              Jesus               54:2,3,5,13         21:10 39:19
  44:20               12:17 72:7,9       61:10 77:9          50:4 52:6
                      89:13 98:12       Kendall              56:15 66:23,
                     join                8:20                24 67:12,14
          J                                                  72:1,23 73:3
                      3:17 9:13         kick
 jacked               10:6,7 67:18       42:10              knowing
  43:25              joined             kicked               21:5 94:7
 Jacksonville         67:12              42:6,7,18          knowledge
  11:16              Jones              kicks                67:15 98:6
 Jacob                54:11 55:3,        27:13
  43:18,25            5,6 66:8,11,      kid                          L
  44:17 75:10         15                 31:20 39:11
 jacuzzi             Jones'             kidding             Ladies
  67:21,24            54:21 55:1         35:5                16:4
  68:1               journal            kids                lady
 jail                 19:18,20           29:21               19:17 51:5
  16:18               22:11             kill                 56:4
 Jake                journey             26:24 56:23        laid
  67:4                14:3,20            73:11 88:19         39:4 49:12
 Jakes                39:20 45:15       killed              Lancaster
  54:9,10,17          46:5 48:2          37:8 62:20          11:15
  55:10,21           Joy                 88:20              lap
  57:13 58:3,7        10:13,20          killing              51:23,24
  60:24 61:8         judge               32:11 56:10        large
  62:13 65:15,        15:9 19:3         kind                 50:17
  20 67:11           jumped              5:18 11:5          Larry
  68:8,12,14,         71:24              14:8 33:22          3:3,6,20
  20,24 69:13        June                39:5,9 46:15        4:18,24,25
  75:3 76:17          55:12              49:25 55:10         5:3,11,12,13
  77:9 80:20,        jurisdiction        72:23 74:4          7:17 13:11
  22 81:3,20          73:7,8             84:4,23             27:15 37:6
  82:1,4 84:9,                           86:16 90:3          44:17 58:10
  10 86:2,3                              94:16               62:13 87:19
  93:5,21                    K
                                        kinds                88:16 90:25
  96:13                                  32:12 57:6         larryreidlive
                     Karen
 Jakes'               11:19,22           60:2               .com.
  82:2,23                               king                 5:1,2
                     karma
 jam                  82:9               29:20 78:22        late
  54:23                                 kingdom              8:22,24 9:1
                     Kaskel
 Jamal                59:21 61:9         3:6 47:6            29:17 48:5,
  79:24 80:1                             79:5                8,14
                     keeping
 January              17:14 21:11       kiss                Latina
  40:6                                   57:3                11:24,25
                     Keion
 Jersey               12:5,6            kissing             Latrice
  11:6                                   85:24               9:18


              U.S. Legal Support | www.uslegalsupport.com                  ·14
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 117 of 132
                         10.28.24 - Larry Reid Live

 laundry             leg                 68:22 73:22         11:15 27:10
  42:2                75:13              75:5 81:5           37:10 54:18
 lawyers             legal               82:10 85:8          63:22
  94:1                93:25              88:19 89:6,        lived
 lay                 legs                17 98:10            47:16
  71:19               34:23             lifetime            lives
 LDR                 lens                75:17               27:22
  3:4                 47:21             light               living
 leader              lessons             67:3                89:23
  3:2,5 24:16         40:25             lighter             local
  32:15 44:16        letter              91:5                85:3
 leaders              72:16             lights              locations
  25:8 26:11         letters             67:25               52:9
  27:4 50:5           66:21 95:7        likes               locked
  75:18              letting             86:24               23:20 88:19
 leading              40:3              Likewise            Log
  20:5 40:12,        level               96:1                5:7
  16 46:22            22:3 33:15,       lines               logging
  53:11 62:5          22 67:13           21:5 74:16          4:3 5:1
  77:6               liar               link                Lola
 leak                 77:19 78:2         91:21 95:14         14:24
  13:2               license            list                long
 learn                47:10,15           42:3 59:6           5:25 13:17
  28:12               53:17             listen               17:11 35:15
 learned             lie                 10:6,7 28:1         44:21,23
  22:18 42:8          77:21 78:1         31:10 80:21         56:12,20
  45:19               93:13              81:7 90:12          71:25 97:21
 learning            lies               listened            longer
  45:17               93:11              17:12,13            6:22 93:17,
 leave               life               listening            18,19
  38:6 52:5           11:13 12:23        27:11 35:11        looked
  66:19 72:13,        14:14,22           58:20 60:9          24:20 25:15
  17 92:12            15:7,22            77:18 82:13         26:22 37:15
  93:15               18:15 21:21        87:19,23            43:11 47:18
 leaving              22:16,21           97:25               61:2 69:6
  72:24               23:10 24:9,       lit                  71:15 73:12
 led                  13,15 25:2,        52:4               Lord
  20:8 26:12          10 26:15,16,      literally            36:20
  47:4                25 27:16           6:14 27:3          lost
 left                 29:24,25           39:5 46:25          48:22 61:23,
  38:7 52:6           30:8 31:23         57:4 64:17,         24
  66:14,16            37:19 40:18,       22                 lot
  67:1 72:4           19 42:5           live                 6:7 16:12
  73:5,6,12           45:17 47:25        3:20 4:25           19:14 22:17,
  78:24 80:11         57:20 58:22        5:4,7,11,13         22 23:1
  97:12               62:14,22           6:16,17 7:8         26:10 27:11
                      64:1 65:9,16       8:2,3,9,11          28:2,4 29:21


              U.S. Legal Support | www.uslegalsupport.com                  ·15
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 118 of 132
                         10.28.24 - Larry Reid Live

  32:5,7 36:1         57:22 68:21        94:8 97:12         meantime
  41:24 47:7          72:12 75:2        managed              51:1
  53:14 63:19         77:9 79:1          51:12 62:15        measured
  64:12 71:13         91:4              mark                 34:22
  77:15,24           mail                42:9 59:19,        media
  81:3,8,9,16         95:16              20 89:16,20         5:14 6:20,21
  82:23 84:1         Mainone            marketing            7:11
  86:16 90:19         9:23               10:4               meditation
 loud                maintain           marriage             3:18
  67:4                26:25              30:24 33:15        meet
 Louisiana           major              married              13:22 51:8
  11:10               40:18 72:14        29:1,3,5,6,         95:24 98:23
 love                make                18,22 30:16        meeting
  10:23,25            10:21,22          Maryland             20:1 21:6
  11:14 12:6          14:15 17:5         11:15               23:13 49:19
  21:12 22:18         22:1 33:1         massage              96:2
  28:5,7,15           38:23 40:10        71:6,9,13,         mega
  38:3 39:24          42:6 43:15         16,20               84:12,15
  45:11 47:17         44:12 60:21,                          member
  51:3,4 79:25                          massaged
                      22 63:2            72:21               3:14 4:3 5:7
  82:20,22            65:24 77:4                             18:8
  86:5 100:2                            massages
                      78:20 89:5         71:5,11,22         members
 loved                95:7 99:18                             3:17,23,25
  5:16 71:5                             master
                     makes               54:11               52:10
 Loveland             34:6 36:14                            memo
  92:15               70:11 84:23       master's
                                         34:20               94:21
 loves                96:13,20,21                           Memphis
  43:22 87:25                           matched
                     making                                  11:18
 loving               4:7 11:8           34:4
                                        matter              men
  20:25 21:8          20:4                                   13:6 23:12
  22:3 23:10,                            75:18
                     male                                    27:11 34:20,
  12 34:1,18          18:13 22:18,      mature
                                         96:19               21 35:25
 LR                   19 50:19                               36:1 45:25
  13:21               52:11             MBN
                                         3:3,9,15            46:3 49:6,25
 LRL                 malice                                  62:17 63:25
  5:5,6 95:3          76:2               91:20 95:12
                                                             64:4,7
 lying               man                mbnnetwork.          73:11,15
  77:22,25            11:14 12:23       org.                 75:4 88:1
                      25:20 26:19        95:1,15
 Lynbrook                                                    92:19
  11:9                34:21,25          Mccaskill           mental
                      39:12,23,24        51:2 52:1           77:15 92:3,
                      42:17 44:19        91:8
         M                                                   5,8
                      45:11 47:21       Mcdaniels           mentioned
                      48:12 49:10        55:19               93:6
 made                                   meaning
                      51:4,23                               mentor
  26:16 27:2                             45:14 92:14
                      56:18 62:4                             96:17
  33:13 39:15
                      67:4 71:13        means
  40:6 42:4
                      72:6 89:1          73:14


              U.S. Legal Support | www.uslegalsupport.com                  ·16
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 119 of 132
                         10.28.24 - Larry Reid Live

 mentor's             42:1 46:2          25 98:1            moved
  96:16              minutes            moments              28:25 31:19
 mess                 19:14 23:18        45:8 62:6           63:1
  30:18 37:3          62:19             momma               moving
 message             mirror              42:14               25:18,21
  46:20               81:5              Monday               34:13 37:11
 messed              Mis                 3:19                40:20 69:14
  75:12               6:3               Mondays              84:24
 messing             miserable           41:7               Multimedia
  31:2                27:18             money                3:1
 met                 misfit              71:14 80:10        multimilliona
  34:18 81:9          4:21 6:3,4         84:17 86:24        ire
 Miami                7:16               91:18               10:3
  71:1,3             Misfits            months              mutual
 mic                  4:20               16:22,23            20:11
  26:17              missed              38:8               Mystic
 microphone           7:15 9:22         morning              6:4 7:17
  58:3               misses              3:18 8:19
 middle               91:19              9:6,7,16                    N
  46:21              missing             38:9,13
 Millionaire          31:25              43:11 46:21        named
  10:3               Mississippi         48:21 49:13         56:4 66:25
 mind                 11:18              51:13 52:12         77:19
  9:9 33:11          mistake             57:10,11           names
  75:10,11,12,        39:15 42:5,6       97:8                60:2 76:6
  14 77:7             75:2              mornings             97:11
  98:22              Mm-hm               39:4 41:12         National
 mine                 85:5               53:1                63:23 92:3,5
  77:14 89:8         Mm-hmm             Morosgo             nationally
 minimum              16:10 23:8         95:16               68:20
  17:6                77:13             Moses               natural
 minister            molestation         44:6 75:1,8         63:6,14
  12:24 58:4          13:9              mother              naturally
 ministered          molested            41:6 50:19          26:13 28:25
  97:12               4:12 64:6          51:2,6,7           nature
                                         52:17,21,22         18:23 20:22
 ministry            mom                 54:4 55:23          34:2 47:3
  3:10 14:7           36:5 41:5,6        56:23 57:12,
  20:18 24:24         42:13 53:3                             69:18
                                         23 59:21
  46:25 54:24         78:3,10                               navigate
                                         61:9 91:8
  63:1 65:5          moment                                  21:15,18
  85:18 89:3                            motions              29:13
                      5:4 24:9
  93:3 95:6                              74:6
                      25:20 27:12                           NDA
 minors               31:23 48:19       move                 81:14
  18:21               51:25 57:4         23:11 32:23
                                                            NE
                      61:2,4 74:24       42:22 63:8
 minute                                                      95:16
                      81:22 83:23        84:5
  19:10 29:24                                               needed
  32:10 34:16         89:14 97:19,                           4:7 29:13


              U.S. Legal Support | www.uslegalsupport.com                  ·17
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 120 of 132
                         10.28.24 - Larry Reid Live

  34:22 50:25        nonsense           older               owner
  68:14 72:17         70:5               38:6 40:8           3:4
  75:3,6             Norfolk             96:16              ownership
 needing              11:7              oldest               76:10
  52:16              norm                6:6 76:24
 nefarious            22:24 63:22       online                       P
  88:14              North               3:7 92:2
 negative             84:13             Ontario             packed
  42:11              note                11:11               54:23
 nephew               79:4              open                pact
  43:7               notification        3:18 13:14          86:13
 Nester               7:10,11,12,        38:25 91:20        paid
  7:22                20,23              92:4                93:15
 network             notifications      opened              pain
  3:4,9,10,11,        5:9 7:23           26:13 79:3          34:15 44:20
  16 91:20           notified           opening              49:22 59:10
  95:12               5:6                47:1                60:19 63:19
 news                notify             openpathcolle        83:22
  3:20 5:14           7:7,8             ctive.org.          painful
  47:24 85:2         nugget              91:21 92:2          17:12 59:13
 nice                 34:14             opens               paint
  67:22              number              48:17               69:25
 nigger               49:5 72:22        opinion             Pan
  25:17 37:3          78:5 94:21         59:14 61:7          10:2
 night                95:2,16           opportunity         Pantaleo
  3:23 8:10          numbers             22:9,10             10:2
  19:25 46:12,        8:1                30:11 88:23        Pante
  13,18 47:11                            97:5                10:1
  48:15 54:13                           order               Pantoya
  57:23 58:2                 O
                                         17:7 42:22          10:2
  60:23 62:14                            98:2
                     occupied                               paper
  71:4,5,12                             organic
                      63:19                                  84:11
  78:25 79:5                             6:22
  98:16,23           occurrences                            parent
                      28:11             organization         22:7 44:19
 Nimh.nih.gov.                           3:9 38:1
  92:6               October                                parents
                      18:7,15            49:11 65:25         37:25 42:10,
 nine-year                               66:3 67:2,18
                     offer                                   18 43:10,12
  39:11                                  68:19 73:10
                      3:16                                   54:18 88:2
 nobody's                                91:22
                     offered                                PARKS
  73:22 77:19                           original
                      72:25                                  4:11
 noise                                   3:6 19:4
                     office                                 parole
  38:23                                 overdrive
                      20:3,9,10                              16:22 17:1,
 Nola                                    39:22               4,5
  11:7               official
                                        overdue             paroled
                      46:9 47:1
 nonprofit                               5:25                17:5
  3:9                Ohio
                                        overseas            Parsley
                      11:25 67:1
                                         71:22,23


              U.S. Legal Support | www.uslegalsupport.com                  ·18
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 121 of 132
                         10.28.24 - Larry Reid Live

  12:1                 86:9             peeling             perfection
 part                pastors             64:23               82:25
  9:19,20              13:4 25:8        Pennsylvania        person
  10:23 17:13,         63:21 65:22       11:12 17:3          13:12 14:6,
  18 22:21             73:7 84:19        19:5                8,14 17:11
  50:20,25           path               Pentecost            19:19 20:2,
  52:11 54:25          20:6 32:11        66:3,22             5,17 24:11,
  55:1 63:25           40:16 91:21      people               16 27:1,3,13
  76:7 81:8            92:4              4:6 6:12,13,        29:10 40:22
  94:9               patreon             14,18,24,25         44:15 49:5,
 participant           3:14,17,25        7:1 8:2,4           19 50:6
  15:15 21:9           4:2 5:7,8         10:13 11:1,         52:10,17
 participate           8:11,18 9:20      20 13:1             54:14 55:18
  3:25 60:13           10:6,7,10,14      15:19 17:14,        56:2,10
 participated          12:11 98:16,      20 21:4,6,10        57:18 58:18
  10:24                18,19,23          23:10,14            59:2 66:25
 partners              99:3              24:21 26:18         70:2 71:9,10
  3:11               patreon.com/        27:1 29:15          77:18,19
                     larryreidlive       32:7,12             78:7 79:18
 parts                                                       86:18,19,21,
  13:22 50:24          3:15 4:3          34:1,18
                     patreon.com/        35:12 36:23         23 87:3,25
  61:9                                                       91:4 96:4,6
 pass                larryreidlive       40:13 46:2,
                     .                   23 47:2,7           97:25
  77:7 90:8
                       5:8 9:21          51:17,20           personal
 passed                                                      23:10 34:3
                     patron              53:11 58:13,
  38:2 52:15                             14,20 59:19,        65:8 81:19
  59:14,16             3:23
                                         20 61:13            85:2
  69:16,17           pause
                       34:13             64:5 66:16,        personality
 passionate                              20 68:21            3:1
  81:1               pay                 69:17 73:8
                       84:16 95:7                           personally
 past                                    74:2,3,8,9,         26:24 33:15
  31:24 34:15        paying              10,11,14
                       71:8                                 perspective
  57:2 63:18                             78:17 80:1          4:25 31:14,
  75:8               payments            82:5,6,14           15,16 47:20
 pastor                84:18             83:14 84:23        pew
  12:5,6 18:7        peace               85:7,11             25:19
  20:19 24:16          27:19 31:19,      86:16,17
  37:25 41:20          21 32:5 68:5                         phased
                                         87:7,18             69:12
  44:15 46:13,       pearls              88:8,18 89:2
  14 62:3 83:4         44:9              93:15,20           phases
  85:25 88:11,                                               15:6,7 50:21
                     Pearson             97:10,18,19
  23                   8:11              99:6               Philadelphia
 pastoral                               percent              51:8
                     Pearson's
  3:24                 8:12 10:12        30:2,4 64:8,       Philly
 pastoring             98:17             13                  11:8 51:8
  29:23 30:16        peeing             perfect             phone
  40:12 63:3           78:23             70:1 79:5           51:2 52:1,2
  65:23 85:3                                                 57:12,13,22



              U.S. Legal Support | www.uslegalsupport.com                  ·19
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 122 of 132
                         10.28.24 - Larry Reid Live

  86:14 94:21        play               positions           preachers
  95:2,4              12:15 52:17        88:9                13:6 25:8
 phonetically         99:19,21          positive             59:14 77:11
  7:21 67:5          played              69:19 73:4          81:9,16
 photo                4:23 5:10         post                preaching
  43:11               7:22 9:4           7:2 82:1            46:1,7,12,25
 pick                 12:2 15:1         posted               47:10 51:3
  37:16 49:16         17:22 21:17        10:8                52:8 54:7,8,
 picked               24:7 25:5         posts                13 62:3
  49:18 51:22         29:11 33:17        7:8                 66:7,9 85:3
 picture              37:14 40:24       Potter              predator
  43:10 45:12         44:13 48:1         84:13               86:23
  69:25               51:10 55:15                           predators
                      58:15 62:9        potter's
 pictures                                84:13               60:6
                      66:5 70:15                            predilections
  83:20               75:21 79:2        pounds
 pieces                                  91:5                64:19
                      83:11 87:16                           predispositio
  80:8                91:24 95:25       Pouring
 pilot                                   56:13              ns
                     playing                                 64:19
  22:16,22            11:2 22:9         power
 pit                                     83:10 86:24        prepare
                     podcast                                 52:16
  25:19,21,22         86:11             powerful
  66:8 78:25                             15:8 16:1,15       prepared
                     point                                   90:23
 Pittsburgh           24:11 62:13        26:22 45:9
  11:10 49:15                            79:11              presence
                      69:14 72:10                            32:19
  54:12 57:17         81:4 87:18        pray
  62:23                                  42:5 93:2,4        present
                     pointing                                32:19 63:17,
 place                41:2               94:8,11,13
  35:17 39:25                            95:4 97:18          18 74:23
                     poison                                 pretty
  47:22 56:3          19:23 20:6         98:12
  57:6 62:10                            prayer               50:1 63:6
                      25:3 60:15,                            76:14 79:19
  63:12 68:24         17 85:7            3:16,18
  73:25 88:2                             9:17,20            primarily
                     police                                  26:10 43:22
 plan                                    10:24 65:9
                      27:18
  66:18                                  94:12 97:17        prior
                     polygraph           99:19               22:16 24:2,3
 plane                17:15,16
  73:1                                  praying              40:20 66:24
                     pool                49:4               prioritizing
 planned              25:19,21,22                            17:20
  66:20               66:8 78:25        preach
 planning                                25:18 46:17,       prison
                     poor                18,25 47:8          16:21
  22:17,20            12:8
  68:17 81:8                             54:6,16,20         private
                     poplar              58:3 68:15          21:13 27:19
 plant                7:1                79:3                73:1
  28:19
                     popular            preached            privately
 platform             54:21
  6:1 11:20                              46:19 49:24         10:14 91:1
  88:22 94:4,        position            54:4,7 55:22       pro
  19 97:5,17          83:9               58:6                16:21


              U.S. Legal Support | www.uslegalsupport.com                  ·20
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 123 of 132
                         10.28.24 - Larry Reid Live

 probation           prophets             95:13
  16:21 18:18         3:24 77:6         pushpay.com/                 R
 problem             protect            gforgiven/
  26:8 50:5           59:22             thembnnetwork       radically
  81:4 84:7,9        protected          .                    14:22
 process              4:5                 95:14             radio
  16:20 17:3,        protecting         put                  3:10
  19 29:23            82:6                7:11 10:19        Raise
  30:8,9,10,12       protection           11:17 17:13        15:11
  33:13 42:8          27:14 42:7          45:3,7            rampant
  43:20 67:23         82:5                48:14,15           15:19
  74:18 95:12        protective           51:13,22
                                                            rang
 produces             69:18 70:12         52:9 68:19
                                                             52:1
  27:21              protector            70:8 78:13
                                          81:25 90:12       raped
 professional         4:5                                    4:12,19 49:9
  70:16,17                                91:18,21
                     proud                92:5 94:21         50:12 52:20
 professionals        12:11                                  63:25
  3:11                                    95:2,3
                     proven                                 rarely
 program                                putting
                      30:7                23:25              21:6
  51:18              proving                                raw
 programming          62:18                                  3:21 14:1
  9:8 98:21          psychological              Q           reach
 promise              79:8                                   40:7
  44:3               pu                 Quander
                                                            reached
 propensity           21:12              47:5 53:16
                                         61:8 66:1,7,        17:11
  25:9               public                                 read
 proper                                  9 75:3 76:17
                      3:18 93:7                              42:9 58:4,6
  8:1                                   Queens
                     publicly            3:7                 79:1,4,7
 property             33:14 58:14                           ready
  93:22               86:1 99:8         question
                                                             9:10 10:17
 prophecy                                20:14 46:5
                     publisher           53:20 60:25         16:2 47:25
  3:16                90:23                                  58:22
 prophesied                             questions
                     pull                10:5 21:23         real
  49:24               61:2 77:10                             9:24 14:2
 prophesies                              28:24
                     pulled                                  26:24 62:11
  77:7                                  quick                69:13
                      48:7 57:2          12:17,18
 prophesy            pulling                                reality
  73:10                                  23:23 24:1,8
                      25:11 27:24        37:12               26:25 27:21
 prophet              61:11                                  32:19 35:13
  58:24 77:5,                           quicker              82:19
                     Purchased           56:25
  8,12 79:11          5:1                                   realize
  80:3                                  quickly              31:25 43:21
                     purpose             24:4
 prophet's            88:14                                  46:2 48:19
  95:5               pushing                                 62:5 64:11
 prophetic            6:23 93:11                             74:10 75:1
  77:6 79:21         Pushpay                                realized
  80:2 95:5                                                  13:19 43:20


              U.S. Legal Support | www.uslegalsupport.com                  ·21
Case 2:24-cv-01608-WSS    Document 37-11 Filed 02/14/25   Page 124 of 132
                          10.28.24 - Larry Reid Live

   49:5                  9:1,3,5          13,21 77:14         8:20 9:17
 realm                   11:22 12:3       78:10,19            23:16 26:21
   26:3                  15:2 16:7,       79:3,10,13,         31:12,20
 reap                    11,15,25         16 80:6,14,         33:21 34:19
   28:18                 17:23 18:1,      16,19,22            41:9,10
 reason                  9,11,25          81:15 82:11,        55:12 57:5,
   6:17 17:17            19:8,10,13       17,20,22            6,21 58:17
   23:9 34:17            20:14,17,21,     83:2,6,9,12,        61:19,20
   44:24 74:11           24 21:22,25      14,17,19,25         62:3 84:22
 reasons                 23:1,4,9,25      84:4,7 85:5,       repass
   29:15                 25:6,14,17,      14,19,23            51:15
                         24 26:1,3,6      87:2,5,9,11,       repeat
 recall                  27:23 28:4,      20 88:12
   38:18 66:14                                                89:11
                         7,9,11,15,       89:9,13,18,        repeated
   81:24                 21,23 29:3,      25 90:3,6,
 received                                                     38:15
                         5,8,24 30:3,     10,12,17,20        replay
   19:16                 6,14,18,20,      91:6,12,16,
 recognize                                                    87:23
                         23 31:2,4,6      25 94:7
   87:18                 32:14,17,22      95:21,23           reprimand
 recommended                                                  79:22
                         33:3,6,8,10,     96:2,4,6,13,
   42:9                  18 34:7,10       15,25 97:7,        request
 reconditionin           35:2,4,7,19,     14,16 98:12,        4:7
 g                       21,25 36:4,      14 99:2,8,         Resource
   9:9 98:22             7,9,12,14,       10,13,22,25         63:24
 record                  17,20,23        reinforced          resources
   77:7                  37:2,8,15,22     39:16               92:7,12,24
 recording               40:19,25        rejected            respect
   3:2 50:22             41:22 42:13,     26:8,15             31:16
   100:3                 17,21,24        rejecting           respected
 recovery                43:1,4,7,13,     39:23               47:6
   98:9                  19 44:1,23      rejection           response
 reemerge                45:5,24 46:8     26:15 39:9          54:23 63:23
   73:15                 50:7,14                              69:7
                                         related
                         53:15,20,22                         responses
 reform                                   21:19 46:6
                         55:3,6,8,13,                         64:18
   28:9                                   58:14 82:1
                         16,20 59:1,                         rest
 Reformation             5,7,13,24       relating
   3:5                                    88:7                4:2 6:12,13
                         60:1,4,6,9,                          57:20 62:22
 regard                  12,16,23        relationship
   25:24                                  30:24 31:4         result
                         61:19 62:1
 regular                                  40:5,9 41:4         97:22
                         63:13,16,21
   11:5                  64:3,17,22       62:16 69:13        rethinking
 rehearse                65:1,4,15,20     70:17               45:9
   52:18                 67:3,8 68:9     released            return
 Reid                    70:6,11,16,      16:23 90:16,        45:15
   3:3,6,20,24           19,21 72:7,9     18 93:24           returning
   4:6,9,14,19,          74:1,13          96:22               45:16,18,19
   25 5:3,11,12          75:7,16,22,     remember            revival
   7:17 8:22,24          25 76:4,6,9,     5:22 7:22           47:11,12


              U.S. Legal Support | www.uslegalsupport.com                   ·22
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 125 of 132
                         10.28.24 - Larry Reid Live

  54:9 62:5          rule               scene                70:11 77:19
 revoke               54:18 57:25        86:17               96:21
  19:3                                  schedule            sentence
 revoked                     S           51:13               19:7
  19:4                                  scheduled           sentenced
 rewire              SA                  54:8                19:4
  98:20               18:6 19:5         school              separate
 rewiring             72:11              37:3,5 38:7,        78:14
  9:8 98:22          sad                 13 39:7            series
 Richard's            22:21 73:8        screen               3:6
  46:18               81:18              9:6 95:18          serve
 ride                saddened           script               17:4
  48:3                85:13              40:18 73:6         served
 rings               sadly              scripture            89:2
  57:12               18:14              43:17              service
 rising              sadness            sea                  46:22,23
  69:9                22:14              95:1                54:4,6,22
 robe                safety             seat                 57:23,24
  38:25               70:8               39:8 49:22          69:3
 robot               sailors            Seattle             services
  6:22                50:17              12:12               54:19 91:23
 Rod                 saints             seconds              92:8
  12:1                88:6               51:25              serving
 rode                sales              secret               19:6 20:21
  49:12               28:5               21:12,13,14        set
 rolodex             samh                22:3,10             27:6 51:24
  33:11               92:9              secretary            82:7
 room                Samhsa.gov.         17:11 19:24        setting
  12:13 16:8          92:10              83:3                82:6 83:15
  26:20 38:18,       sandwich           secretly            settled
  22 39:1             94:16              21:12 22:19         32:5
  48:9,14,19         Sarah              section             setup
  51:15,16            44:7 93:24         94:22               19:16
  52:1,3,12          sat                security            seven-year-
  56:12 69:12         49:22 56:11        70:7               old
  78:14,19,20         66:10,17          seed                 65:18
  81:4 82:23         Saturday            82:8               seventh
 rooms                41:7 51:13        seemingly            18:20
  51:16              Saturdays           24:8               sex
 Rouge                4:2               send                 27:20 33:16,
  11:10              saved               44:2 77:11          19 35:12,16
 route                72:22             sending              69:9
  93:25              savior              44:10 83:20        sexual
 row                  61:2               90:4                5:18,19 13:9
  66:6                                  sense                21:19,20
                     scenarios
 ruined                                  10:22 60:21,        52:12 53:7
                      53:10 56:15
  41:16                                  22 68:21            58:8 63:24


              U.S. Legal Support | www.uslegalsupport.com                  ·23
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 126 of 132
                         10.28.24 - Larry Reid Live

  93:21              show                39:7,16            sold
 sexuality            3:20 4:25          40:4,9 41:3,        14:15
  21:20 99:5          5:12,14 7:12       9 42:9 45:11       soldiers
 sexually             8:4 12:15          52:25 53:1          50:17
  36:17 39:3          23:22 64:8         56:4 69:22         Soler
  84:16               94:10,12          sister's             67:4
 shaken              shown               38:10,17           somebody's
  68:4                93:25              39:1                14:10 15:9
 shaking             shows              sit                  22:11 83:6
  34:15               37:12              32:9 49:20          87:23 89:6
 shame               siblings            88:10,22           someplace
  39:11               23:17,18          sitting              60:18
 shape               sick                39:8 56:17,        something's
  21:18               73:2               20 57:14            39:10,13
 shapes              side                58:10 65:9          73:3
  89:21               37:21 51:17,       66:6,8 93:20       son
 share                18 70:3           situation            8:12 19:17
  6:6,24 8:10        sigma               12:25 20:24         47:13 66:13
  9:24 31:16,         4:6                24:10 50:5          68:3 76:24
  17 43:15           sign                53:15,23            98:17
  73:25 81:24         5:8 8:3            65:16 74:3         songwriter
  88:22 91:2          10:10 15:24       situations           3:2
  97:5                99:25              84:5               sort
 shared              simply             size                 5:25 25:11
  53:12 70:2          22:23 25:3         29:20               70:7,19
  72:24 73:9          27:18             skinned              86:21
  91:1 93:6          simultaneous        67:3               sounds
 sharing              80:5,23 87:8      sleep                13:3 33:13
  6:1,7 18:22        sincerity           34:21 36:1          61:6,15,21
  31:20 41:1          41:25              49:1,2,3           sow
  74:3               sing                57:9,18             28:18
 Sherman              50:22 51:12,       62:23              space
  66:25 67:3          13 52:21          sleeping             72:5
  76:18              singing             36:9 56:3          speak
 shielding            50:15 51:7,        83:2,3              12:23 13:17
  8:2                 14 52:22          slide                15:17 20:3
 shocked             single              24:12               39:8 52:2
  86:4 87:13          23:11             slow                SPEAKER
 shoes               sinners             92:10               3:1 4:24 5:3
  24:1                88:5              smile                8:21,23,25
 shoot               sir                 78:2                9:2
  9:15                16:6 28:22        social              speaking
 short                34:13 35:6         5:14 6:19,21        49:4 77:24
  22:15 24:12         96:5,12            7:11 49:19          80:5,23 87:8
 shot                sister             software            speaks
  9:7 73:11           6:6 31:22          6:22                58:3
  95:18               36:5 38:6,8


              U.S. Legal Support | www.uslegalsupport.com                  ·24
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 127 of 132
                         10.28.24 - Larry Reid Live

 special              25 46:1           stipulation         Strategic
  47:8                48:16 62:7,        18:1 19:2           10:3
 spelling             16 74:25          stipulations        stream
  36:25               86:21 89:16,       17:6,8              7:25 99:19
 spend                19,20             stirred             streaming
  16:22 35:14        started             44:18               3:7,10 13:15
 spending             7:19 9:6,7        stock               street
  71:14 88:5          23:20 29:22        10:4 69:8           19:3
 spent                30:16 39:20,      stolen              streets
  69:14               22,24,25           93:23               5:14 17:7
 spiel                44:6,8 46:7       stone               strength
  10:7                49:4 50:8          69:8                89:4
                      53:5 54:20,
 spirit               23 57:2           stop                strengthen
  76:23 98:2                             38:14 82:19         16:16
                      63:7,12
 spiritual            65:23 66:9,        89:14              strong
  3:2,5 8:12          14 67:1           stopped              88:25
  43:22,23            71:23 84:8         35:15 61:24        struggle
  67:5 69:20          97:2               86:9                91:22
  72:19 74:5                            stories             studied
                     starting
  98:9                54:9 86:10         58:16 81:18         63:6
 spiritually         state               82:13 85:17        studies
  59:19                                  93:10               64:8
                      10:19,20
 spite                17:3              storm               studio
  44:4 75:19         states              72:14               11:24 94:15
 spitting             63:24             story               studios
  10:11              status              6:2,7 7:17          11:21
 spot                                    13:2,21,22         studious
                      79:8
  61:17 88:13                            14:13 17:11,        63:4
                     stay                12 25:7 34:3
 Stacy                5:3 17:7                              study
  7:15,18                                37:19 41:10         20:2 65:9
                      63:17 66:2,        50:11 59:9,
 stage                23 67:14                              stuff
  24:25 25:1,2                           10,13 61:9
                      99:22              64:12 72:6          6:23 8:3
  26:8,13,14,        stayed                                  10:12,14
  15,17,23,25                            73:25 74:17,
                      71:3               18 75:19            31:7 32:12
  27:2,3,12          staying                                 37:20 44:16
  42:5 84:20                             76:7,8,19
                      38:19              77:1 78:14,         50:1 52:24
 stages                                                      53:3,7 61:25
                     step                17 80:2
  84:16               20:9 38:21,                            62:2 65:7
                                         81:25 82:1,
 stairwell            22 39:6                                72:23 74:4
                                         2,3 84:11
  38:22               57:11              85:2,23,25          77:20 79:23
 stand                                                       81:10,17
                     stepped             86:2,24
  4:14                20:10 24:25        88:17 91:3,         82:19,21
 standing                                                    84:4,23 86:5
                     Sterling            11 93:9,10,
  26:20                                  21 94:5             88:1,25 90:9
                      14:24                                  93:21,22
 start               stick              straight
  15:4 20:2                                                  94:19
                      4:21               23:19 68:16
  42:10 45:19,


              U.S. Legal Support | www.uslegalsupport.com                  ·25
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 128 of 132
                         10.28.24 - Larry Reid Live

 subscribe           tag                 54:9,10            Tennessee
  5:4 6:13,19         31:6               60:24 61:8          11:6
 substance           takes               62:13 68:24        tens
  92:8                43:23              76:17 77:9          97:9
 successful          taking              81:3 82:1,2,       terribly
  24:24 88:25         17:16 28:1         4,23 84:9,10        12:22
 successfully         56:2,7 63:11       86:2,3,4           test
  84:10               88:2               93:5,21             17:16
 suffer              talent             TD's                testimony
  40:3                11:14              86:5                46:22
 suffered            talk               tea                 tests
  5:18 86:11          5:14 13:14         97:12               17:16
 suicide              15:5,18           teaching            Texas
  86:12 88:18         16:20 19:20        47:6 62:3           11:11,15
 suite                27:24 39:13        98:19               12:4
  69:4 95:16          40:10 43:22       tears               text
 suits                49:8 56:8,11       40:7 56:18          5:5 7:24
  67:4                59:15 62:11        66:17               78:4 95:9
                      64:4,24           tech                 99:2
 summer               65:5,7,22          10:4               thankful
  53:9                67:19 79:18
 Sun                                    technicians          41:25 88:16
                      80:20 89:7         3:12
  11:17               93:10 94:1                            thelovelandfo
 Sunday                                 teens               undation.org.
                     talked              29:17               92:16,17
  8:19 9:6,7          9:22 21:2
  46:21                                 telephone           theology
                      34:18 67:18        57:14
 Sundays              72:11,14                               8:13,16
  3:16 41:7                             television           98:18
                      81:9 93:7          48:16 50:22
 super                                                      therapist
                     talking            telling
  7:1                 8:13,21 11:4                           34:12 73:24
 supporting                              14:13 19:17         91:8,20
                      12:7,8 15:12       25:6 31:12
  95:6                21:6 32:14,                           therapy
                                         45:12 58:17         4:1 34:19
 supportive           15,17 35:14,       59:9 62:12
  29:9                16 37:6                                73:24 74:21
                                         63:7 66:17          81:22 92:15
 supposed             40:13 56:14,       72:4 77:1
  17:24 39:24         18 65:18                              therapyforbla
                                         86:4 87:25         ckgirls.com.
 swallowed            70:5 80:6          88:16 97:2
  96:19               84:17 85:17                            92:20,21
                                        tells               therapyforbla
 system              talks               13:12 85:25
  27:6,9              89:23                                 ckmen.org.
                                        ten                  92:22,23
                     Tallahassee         19:5,6 33:20
                      11:10                                 there'd
         T                               37:15 64:5          62:10
                     taught              74:19 83:23
                      41:17 88:4                            thing
 table                                   94:23 99:15         18:16 20:12,
  56:12,17,24        tax                ten-year-old
                      94:18 95:1                             19 24:13,15
  62:18 88:10                            39:11               27:21 32:4
                     TD
                                                             36:14 37:2


              U.S. Legal Support | www.uslegalsupport.com                  ·26
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 129 of 132
                         10.28.24 - Larry Reid Live

  53:2 57:15         thoughts            88:5 95:13          88:17 89:7
  58:2,8 59:8         41:14 45:9         96:22,23            91:7,14,16
  60:20 62:20         57:7               97:21               95:2 99:14
  63:14 65:15        thousands          times               tools
  66:24 69:1          34:20 97:9         25:10 55:11         98:2
  71:7 72:19         threw               61:6 89:23         top
  76:10 77:16         71:24             tip                  78:22
  78:13 86:7,        thrived             78:23              topics
  22 87:2,21          26:14             title                3:21
  91:9 93:20         throw               90:13              Toronto
  97:11               94:23             titles               11:11
 things              Thursday            88:9               total
  17:20 18:22,        9:19              today                72:5
  23 19:14,19                            3:14 4:3
                     Thursdays                              totally
  21:14 24:7                             5:1,9 8:5,9
  26:9 28:9           4:1                                    24:8 25:1
                     Tice                24:11 33:4          30:12 42:1
  32:3 33:21                             46:24 73:20
  34:1 37:13          10:25                                  47:22 50:3
                     Tier                76:25 89:6          62:19
  40:21 41:2                             97:14
  42:11 43:9,         3:22,23,25                            touch
                     tiers              told                 58:24
  15 44:24
  47:3 52:13          4:1                4:9 19:21          touched
                     tight               20:17 22:7          97:14
  53:7 57:16
  58:11,12,13         78:12              39:17 41:15        touching
                                         52:6,13             20:11 49:11
  64:24 68:16        time
  72:18 73:9                             57:23 58:1          71:23
                      7:2,7,8            65:16,17
  76:11,12            13:13,23                              tour
  77:7 81:9,19                           66:15 68:7,         11:24 50:23
                      16:3 17:4          10,14 70:7
  83:7 85:8           18:12,17                               52:17,18,19
  86:11 87:17                            72:15 73:2,8
                      19:1,3 20:23       77:18 79:19        towel
  88:21,23            22:21,23,24,                           71:19
  93:8 97:20                             88:4 91:9
                      25 24:9,25         97:1               toxic
  99:6,14             27:5 29:19                             23:12
                      35:14 38:5        tolerated
 thinking                                                   tragedy
  15:24 22:17         39:3,23            4:16
                                                             27:7 43:21
  25:8 49:7           41:20 44:22,      tomorrow
                                         8:10 35:11         tragic
  98:20               23 47:4                                59:3
 thirdly              50:18 51:19,       98:16
                                        tongues             trained
  57:20               20 52:18,24                            21:13
                      53:5 54:12         49:4
 thou                                                       transpired
  11:21               56:3,17 64:1      tonight
                                         12:4 27:8,          19:15
 thought              65:6 66:2,12
                      67:15,23           10,11,23           Trap
  4:7 7:5 23:1                                               3:7
                      68:7,16            41:1 42:6
  34:4 38:16                                                trash
  62:10,15            69:9,20            43:16 46:11,
                      71:4,25            17 47:15            58:23
  71:13 73:12
                      78:20,21,22        57:24 58:20,       trauma
  75:2 78:14
                      80:19 87:14        23 65:6             27:7,8 29:21
                                         75:15 87:19         42:14 63:23


              U.S. Legal Support | www.uslegalsupport.com                  ·27
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 130 of 132
                         10.28.24 - Larry Reid Live

  64:18,20           tune                71:17,18           vehicle
  89:11,12,21,        3:16              understand           48:5 49:15,
  24 98:5            tunnel              15:2 20:15          16 55:24
 traumatic            91:2               21:25 22:1         Venmo
  61:16              turn                23:6,23             95:6
 travel               5:9 7:2            24:1,8 39:10       verified
  49:14 51:3,6        14:20 16:13        41:25 42:19         61:10
 traveled             63:8 71:21         47:20 50:2         verify
  71:8 80:7           83:19 87:12        52:23 62:6          61:13
 traveling           turned              70:6 81:14,        versus
  71:7                7:3 11:1           16 83:2,3,12        4:16
 treasures            36:17 66:13       understanding       vest
  44:9                87:9               9:8 38:3            11:17,18
 treated             turning             98:6,22            vice
  75:18               14:4 86:22        understood           38:1 67:11
 trick                87:3               26:23 56:16,        68:20
  76:24              TV                  19 81:11           victim
 trigger              13:15 48:11       unfortunate          5:19
  15:21              twin                85:1,20            video
 triggered            96:19,20          unhealed             27:10
  5:22 19:2          Tyese               98:8               videos
 trip                 37:10             unhealthy            81:2
  72:20 73:1         type                88:7               views
 trouble              14:6,7 20:22      UNIDENTIFIED         8:2
  7:4,5               23:4 40:17         3:1 4:24 5:3       violate
                      71:9               8:21,23,25          17:1 59:22
 true                                    9:2
  26:9 61:15         types                                   60:2 70:9
                      33:24 59:20       unique              violated
 Trump
                      96:18              93:3                53:11 62:19
  96:17
                     Typically          universe             64:6 78:13
 trust                                   28:17
  58:25 62:17,        14:18                                  84:16 86:23
  18 72:8                               unresolved           87:3
                                         44:20 98:7         violating
 trusted                     U
  70:19,21                              upbringing           60:14
                     Ultimately          17:13              violation
 trusting
  94:4                20:7              update               16:21,25
                     unable              8:6                 17:17,23
 truth
  31:9,12,15,         24:23             upstairs            violators
  20 61:12           unbeknown           38:11 48:8          60:6
  75:25 97:1          51:18                                 Violence
 tub                 Unbeknownst                V            63:24
  70:8                68:11                                 Virginia
 Tuesday             unbelievable       vacation             11:7
  9:17,19 41:7        31:22 54:23        69:22,23           virtual
 Tuesdays             56:13             Vegas                3:24
  3:22 39:2          uncomfortable       72:20              vocalist
                      49:7 66:10                             50:19,20


              U.S. Legal Support | www.uslegalsupport.com                  ·28
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 131 of 132
                         10.28.24 - Larry Reid Live

 voice               Washington         whatnot              78:22
  65:4                12:12              21:5               Wollen
 voices              watch              white                42:9
  77:6                6:2 7:16           8:12 15:17         Wolynn
 vulnerable           27:10 56:21        36:23 48:8          89:21
  88:8                86:17 97:11        94:2 98:17         woman
                     watched            Whitney              25:20 29:5
                      81:1,7             26:21               30:5 36:9,18
         W
                     watching           who've              women
 W-O-L-Y-N-N          6:10 8:3           88:18               23:11 36:1,
  89:21               10:19,25          whore                2,4,10 59:15
 Wade                 25:9 42:5,17       83:7                63:25 64:4,7
  54:10 55:5,6        48:16 58:11       wick                 88:2 92:19
  66:8                66:11              79:23              won
 wait                water              wife                 50:15,20
  29:24 34:7,8        57:14              29:9,16            wonderful
  42:1 46:2          WATERS              57:19 62:24         25:2 42:8
 waited               4:4                68:25 69:3,        wonderfully
  87:5               Watkins             4,16 83:7           88:24
 waiting              66:25 67:3,       Williams            wondering
  93:21               17 68:8,12,        14:25 49:18,        40:8
                      13,15 70:2         20 54:2,3,5,       word
 wake
                      71:5 72:14         13,15 61:10         51:23 95:5,9
  97:8
                      75:3 76:18         77:9               words
 walk                 81:20
  26:19 27:12                           Wilson               5:6 21:12
                     Watkins'            47:5,10             33:24 54:17
  30:9,11 57:2
                      69:16              48:18 53:16,        69:8
  63:18 65:8
  97:11 98:1         ways                23 61:8 62:4       work
                      28:18 95:17        63:7 66:1,7,        14:6 41:11
 walked
                     weak                9 75:3 76:17        86:17 96:19
  28:12 40:22
                      40:1,2,15          81:20               97:24 98:3
  48:14 56:25
  65:9 71:25         weakness           Wilson's            working
                      88:13              47:5                41:6 46:1
 walking
  16:16              wear               window               60:19 63:19
                      11:16 67:4         24:12              works
 wanted
  13:18 15:21        website            wings                7:13
  20:4,25             91:25 92:6,9       93:21              world
  21:1,4,8,11        Wednesday          winning              3:13 8:6
  33:10 56:4          3:23 8:18          50:21               13:9 22:5
  68:15 72:13,        9:5,13,15,        wipe                 23:21 30:5
  17 75:5             16,18,22           60:21               57:7 64:5
  88:24 90:22,        98:19,23          wiped                83:12 84:15
  24                 week                80:10              worldwide
 wanting              71:1 99:16        wisdom               68:21
  67:18              weeks               41:1 65:10         worry
 warning              52:8 69:21        woke                 48:25 68:3
  15:21                                  49:4 52:12


              U.S. Legal Support | www.uslegalsupport.com                  ·29
Case 2:24-cv-01608-WSS   Document 37-11 Filed 02/14/25   Page 132 of 132
                         10.28.24 - Larry Reid Live

 worse               years                20 34:9            18,21 91:7,
  24:15 27:2          4:20 6:21           35:1,3,6,8,        13 93:2 94:6
  89:8                13:4,15             20,22 36:3,        95:19,20,22
 wounds               18:12,16,18         6,8,11,13,         96:1,3,5,12,
  26:11               19:5 20:21          16,19,22,25        14,24 97:4,
 wow                  33:2,9 37:23        37:7,18,23         13,15,22
  19:8 41:2,22        38:2,5 39:18        41:6,23            98:11,13,25
  43:13 62:1          41:9,10             42:16,20,23,       99:1,7,9,12,
  63:13 75:1          45:16,17,18,        25 43:3,6,9,       21,24
  91:6                19 47:9             14,20 44:2,       younger
 wrap                 48:12,21            6,7,8,14           38:7,8,10
  71:19               50:3 52:21          45:4,23            40:9
 wrapped              53:10,12,13         46:4,9 48:2       yous
  57:3                54:1 56:9           50:13,15           78:2
                      58:18 66:24         51:11,22          youth
 write                67:22 69:14,        53:17,21,24        51:9
  45:1 90:14          15 73:18            55:4,7,9,14,
 writing                                                    youtube
                      74:19,20            18,21 58:4,        4:23 5:5,10
  19:18 26:21         82:1 87:6           16 59:2,6,
 written                                                     6:11,15 7:7,
                      95:23 96:16         12,23,25           18,24 8:9
  19:17 40:18        yesterday            60:3,5,8,11,
  66:20 90:15,                                               9:4 12:2
                      55:12               15,17 61:18,       15:1 17:22
  22                 York                 23 62:2,10
 wrong                                                       21:17 25:5
                      11:9 23:17          63:14,20           29:11 33:17
  4:17,18                                 64:2,16,21,
                     young                                   37:14 40:24
  20:12 39:9,         29:16 58:4          25 65:2,3,
  10,12,13                                                   44:13 48:1
                      66:16 78:11         13,19,23           51:10 55:15
  42:21 67:16         79:7,8              66:6 67:7,9
  72:18,20                                                   58:15 62:9
                     Youngblood           68:10 70:10,       65:5 66:5
 wrote                                    18,20,22
                      16:5,6,10,                             70:15 75:21
  26:8 72:16          14,19 17:2,         72:8,10            79:2 83:11
  82:3                                    74:2,14
                      25 18:5,10,                            87:16 91:24
                      12 19:1,9,          75:8,17,23         95:25 97:9
         Y            12,15 20:16,        76:3,5,8,12,
                      20,23 21:3,         20 77:13
 yadda                                    78:9,18                    Z
                      18,24 22:14
  76:18               23:3,8,24           79:9,12,15
                                          80:13,15,18,      Zelle
 yard                 24:3 25:13,                            95:10 99:2
  7:25                16,23,25            21,24 81:16
                      26:2,5,7            82:12,18,21
 year                                     83:1,5,8,13,
  12:21 18:19,        28:3,6,8,10,
                      12,14,20,22         16,18,24
  20 19:6                                 84:3,6 85:1,
  29:22 30:16         29:2,4,7,9,
                      12 30:2,4,7,        6,15,20
  40:5 54:20                              87:1,4,10,
  69:21 70:23         17,19,22
                      31:1,3,5,10         12,17,21
  73:10 74:21                             88:13 89:10,
  80:20               32:16,21
                      33:1,4,7,9,         14,20 90:1,
                                          4,7,11,15,


              U.S. Legal Support | www.uslegalsupport.com                  ·30
